Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further1 Confidentiality
                                                       of 79. PageID #: 470118
                                                                            Review

     1              IN THE UNITED STATES DISTRICT COURT

     2               FOR THE NORTHERN DISTRICT OF OHIO

     3                         EASTERN DIVISION

     4

     5

     6   **********************************

     7   IN RE:

     8   NATIONAL PRESCRIPTION OPIATE           MDL No. 2804

         LITIGATION                             Case No. 17-md-2804

     9                                          Hon. Dan A. Polster

         This document relates to:

   10

         All cases

   11

         **********************************

   12

   13         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

   14                    CONFIDENTIALITY REVIEW

   15                    VIDEOTAPED DEPOSITION OF:

   16                           AMY PROPATIER

   17                            MOTLEY RICE

   18                          55 Cedar Street

   19                    Providence, Rhode Island

   20                 November 29, 2018         9:15 a.m.

   21

   22                         Darlene M. Coppola

   23                    Registered Merit Reporter

   24                   Certified Realtime Reporter

  Golkow Litigation Services                                          Page 1 (1)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further2 Confidentiality
                                                       of 79. PageID #: 470119
                                                                            Review
                                       Page 2                                                         Page 4
    1   APPEARANCES:                                      1   APPEARANCES (Continued)
    2   Representing the Plaintiffs:                      2   Representing the Defendant Discount Drug Mart:
    3     LEVIN PAPANTONIO THOMAS MITCHELL                3   (Via telephone)
    4     RAFFERTY PROCTOR PA                             4      CAVITCH FAMILO & DURKIN, CO., L.P.A.
    5     316 Baylen Street                               5      1300 East Ninth Street
    6     Pensacola, FL 32502                             6      Twentieth Floor
    7     BY: WILLIAM BAKER, ESQUIRE                      7      Cleveland, OH 44114
    8        STEPHANIE HACKMAN, PARALEGAL                 8      BY: L. WILLIAM "CHIP" ERB, ESQUIRE
    9     T 850.485.4160                                  9      E LWErb@cavitch.com
   10                                                    10
   11   Representing the Plaintiffs:                     11   Representing the Defendants Endo Health
   12     WEISMAN, KENNEDY & BERRIS CO., L.P.A.          12   Solutions Inc., Endo Pharmaceuticals Inc.,
   13     101 West Prospect Avenue                       13   Par Pharmaceutical, Inc.; Par Pharmaceutical
   14     Midland Building                               14   Companies, Inc. (FKA Par Pharmaceutical
   15     Suite 1600                                     15   Holdings, Inc.):
   16     Cleveland, OH 44115                            16   (Via telephone)
   17     BY: DANIEL P. GOETZ, ESQUIRE                   17      ARNOLD & PORTER KAYE SCHOLER, LLP
   18        JAMES A. DE ROCHE, ESQUIRE                  18      777 South Figueroa Street
   19        (via telephone)                             19      44th Floor
   20     T 216.781.1111                                 20      Los Angeles, CA 90017-5844
   21     E dgoetz@weismanlaw.com                        21      BY: ERIC SHAPLAND, ESQUIRE
   22      Jderoche@weismanlaw.com                       22         ANDREW BERGMAN, ESQUIRE
   23                                                    23      T 213.243.4238
   24   (Continued on the next page)                     24      E Eric.Shapland@arnoldporter.com
                                                Page 3                                                Page 5
    1   APPEARANCES (Continued):                          1   APPEARANCES (Continued):
    2   Representing the Plaintiffs:                      2   Representing the Defendants Defendants
    3   (Via telephone)                                   3   AmerisourceBergen Drug Corporation,
    4      MOTLEY RICE, LLC                               4   AmerisourceBergen Corporation:
    5      28 Bridgeside Boulevard                        5   (Via telephone)
    6      Mount Pleasant, SC 29464                       6      REED SMITH LLP
    7      BY: MICHAEL E. ELSNER, ESQUIRE                 7      1301 K Street, N.W.
    8      T 843.216.9000                                 8      Suite 1000 East Tower
    9      E Melsner@motleyrice.com                       9      Washington, DC 20005
   10                                                    10      BY: MOLLY Q. CAMPBELL, ESQUIRE
   11   Representing the Defendant CVS Indiana, CVS RX   11      T 202.414.9200
   12   Services and the Witness, Amy Propatier:         12      E mqcampbell@reedsmith.com
   13      ZUCKERMAN SPAEDER LLP                         13
   14      1800 M Street NW                              14   Representing the Defendant Prescription
   15      Suite 1000                                    15   Supply, Inc:
   16      Washington, DC 20036                          16     PELINI, CAMPBELL & WILLIAMS, LLC
   17      BY GRAEME W. BUSH, ESQUIRE                    17     Bretton Commons
   18      T 202.778.1800                                18     Suite 400
   19      E gbush@zuckerman.com                         19     8040 Cleveland Avenue NW
   20                                                    20     North Canton, OH 44720
   21                                                    21     BY: NICOLE H. RICHARD, ESQUIRE
   22                                                    22     T 330.305.6400
   23   (Continued on the next page)                     23     E mrichard@pelini-law.com
   24                                                    24   (Continued on next page)

  Golkow Litigation Services                                                          Page 2 (2 - 5)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further3 Confidentiality
                                                       of 79. PageID #: 470120
                                                                            Review
                                           Page 6                                                         Page 8
    1   Appearances (Continued):                     1   APPEARANCES (Continued):
    2   Representing the Defendant Rite Aid of       2   Representing the Defendant Cardinal Health:
    3   Maryland:                                    3   (Via telephone)
    4   (Via telephone)                              4      WILLIAMS & CONNOLLY LLP
    5      MORGAN LEWIS & BOCKIUS, LLP               5      725 Twelfth Street, NW
    6      1000 Louisiana Street                     6      Washington, DC 20005
    7      Suite 4000                                7      BY: MIRANDA PETERSEN, ESQUIRE
    8      Houston, TX 77002                         8      T 202.434.5686
    9      BY: JAMES NORTEY, ESQUIRE                 9      E mpetersen@wc.com
   10      T 713.890.5472                           10
   11      e james.nortey@morganlewis.com           11
   12                                               12   Also Present:
   13   Representing the Defendant Walmart:         13   Gina Veldman, Trial Services
   14   (Via telephone)                             14   Robert Martignetti, CLVS
   15      JONES DAY                                15
   16      325 John H. McConnell Boulevard          16
   17      Suite 600                                17
   18      Columbus, OH 43215                       18
   19      BY: EDWARD M. CARTER, ESQUIRE            19
   20      T 614.469.3939                           20
   21      E emcarter@jonesday.com                  21
   22                                               22
   23   (Continued on the next page)                23
   24                                               24

                                           Page 7                                                         Page 9
    1   APPEARANCES (Continued):                     1                     INDEX
    2   Representing the Defendant HBC Company:
                                                     2                    EXAMINATION
                                                     3   Witness Name                                       Page
    3   (Via telephone)                              4   AMY PROPATIER
    4      MARCUS & SHAPIRA LLP                      5    Direct By Mr. Baker ................................ 14
    5      One Oxford Centre
                                                     6    Continued Direct By Mr. Baker ...................... 201
                                                     7    Cross By Mr. Goetz ................................. 299
    6      35th Floor                                8
    7      Pittsburgh, PA 15219                      9                  EXHIBITS
    8      BY: PAUL M. MANNIX, ESQUIRE
                                                    10   Propatier-CVS Description                     Page
                                                    11   No. 2       Diversion Control                19
    9      T 412.471.3490                                          Division Document
   10      E mannix@marcus-shapira.com              12
   11                                                    No. 1         Subchapter 1, Control      21
                                                    13              and Enforcement, Part
   12   Representing the Defendant McKesson:                        C, Section 823, of 21
   13   (Via telephone)                             14              U.S. Code
   14      COVINGTON & BURLING LLP
                                                    15   No. 3         United States Drug        23
                                                                    Enforcement
   15      1999 Avenue of the Stars                 16              Administration Office
   16      Los Angeles, CA 90067                                    of Diversion Control
   17      BY: MICHAEL LANOSA, ESQUIRE
                                                    17              Chart
                                                    18   No. 19        Press Release,          40
   18      T 424.332.4780                                           CVS-MDLT1-000003070
   19      E mlanosa@cov.com                        19              through 3071
   20                                               20   No. 23        E-mail,               43
                                                                    CVS-MDLT1-000003749
   21                                               21              through 3777
   22                                               22   No. 25        Track One,              56
   23   (Continued on next page)                                    CVS-MDLT1-000007362
                                                    23              through 364
   24                                               24

  Golkow Litigation Services                                                           Page 3 (6 - 9)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further4 Confidentiality
                                                       of 79. PageID #: 470121
                                                                            Review
                                             Page 10                                                Page 12
    1                   INDEX                            1                    INDEX
    2                  EXHIBITS                          2                  EXHIBITS
    3   Propatier-CVS Description                Page
    4
                                                         3   Propatier-CVS Description               Page
        No. 100       CVS SOP,                  58       4   No. 34       Copies of DOJ Business       257
    5
                  CVS-MDLT1-000034375                                  Cards,
    6
                  through 378                            5             CVS-MDLT1-000010525
        No. 37       E-mail dated 1/14/2014        61                  and 530
    7
                  and Attached Letter                    6
                  dated December 27,
                  2007                                       No. 33        Inventory,       260
    8                                                    7              CVS-MDLT1-000010522
    9
        No. 61       E-mail,                68                          and 558
                  CVS-MDLT1-000055266                    8
   10
                  through 269                                No. 92        E-mail,          267
        No. 12       SOM Program,                72
                                                         9              CVS-MDLT1-000083855
   11             CVS-MDLT1-000002188
                                                        10   No. 101       E-mail,          275
   12   No. 98       E-mail,                83                          CVS-MDLT1-000090581
                  CVS-MDLT1-000089188                   11              with attachment
   13                                                   12   No. 99        E-mail,          278
        No. 97       E-mail,                87                          CVS-MDLT1-000089768
   14             CVS-MDLT1-000088956                   13
   15
                  through 89025                              No. 78        Settlement Agreements,       281
                                                        14              CVS-MDLT!-0000805,
   16
        No. 94       E-mail,                93                          856, 872, 907, 847,
                  CVS-MDLT1-000087889                   15              839
   17
                  through 890                           16   No. 223        E-mail,               301
        No. 81       E-mail,                97                          CVS-MDLT1-000066963
   18             CVS-MDLT1-000075299                   17              through 966
                  through 5312                          18   No. 224        Shared P&Ps,             305
   19                                                                   CVS-MDLT1-000066969
   20
        No. 36       E-mail,                105         19              through 976
   21
                  CVS-MDLT1-000012286                   20   No. 62        E-mail,              309
        No. 17       Memoranduml,                109                    CVS-MDLT1-000013534
   22
                  CVS-MDLT1-000024539                   21              through 536
   23
                  through 552                           22
        No. 67       E-mail,                114         23
   24
                  CVS-MDLT1-000055834                   24

                                             Page 11                                                Page 13
    1                  INDEX                             1             INDEX
    2                 EXHIBITS                           2 PREVIOUSLY MARKED EXHIBITS -- REFERRED TO
    3   Propatier-CVS Description         Page
    4                                                    3 Exhibit  Description         Page
        No. 82      E-mail,           118                4 No. 204  SOP Manual Excerpt,      75
                  CVS-MDLT1-000075542
    5                                                                  CVS-MDLT1-000008506
        No. 55       Business Idea      122              5             through 8571
    6             Description,                           6
                  CVS-MDLT1-000034175
    7             through 177                                No. 205      E-mail,          163
    8   No. 54       E-mail,          134                7             CVS-MDLT1-000066574
                  CVS-MDLT1-000034168                                  and 575
    9             through 171
   10                                                    8
        No. 53       E-mail,          203                    No. 203       SOP Manual,        168
   11             CVS-MDLT1-000033579                    9             CVS-MDLT1-000066576
                  through 581                                          through 6641
   12
        No. 45       E-mail,          210               10
   13             CVS-MDLT1-000022896                   11
                  through 22900                         12
   14
                                                        13
        No. 104       E-mail,         212
   15             CVS-MDLT1-000103329                   14
   16   No. 76       E-mail,          225               15
                  CVS-MDLT1-000059258                   16
   17             through 260
   18                                                   17
        No. 102       E-mail,         231
                  CVS-MDLT1-000091508                   18
   19             through 518                           19
   20   No. 68       E-mail,          239               20
                  CVS-MDLT1-000057736                   21
   21             and 737
   22   No. 103       E-mail,         251               22
                  CVS-MDLT1-000093961                   23
   23
   24                                                   24

  Golkow Litigation Services                                                      Page 4 (10 - 13)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further5 Confidentiality
                                                       of 79. PageID #: 470122
                                                                            Review
                                                     Page 14                                             Page 16
    1             THE VIDEOGRAPHER: We are now on 1                for the distribution centers, so I was support
    2   the record. My name is Robert Martignetti.            2    between the distribution centers and the
    3   I'm a videographer for Golkow Litigation              3    corporate office, just helping them contact
    4   Services. Today's date is November 29, 2018           4    people in the corporate office for support for
    5   and the time is 9:15 a.m. This is this video          5    store ordering, standard operating procedures.
    6   deposition is being held in Providence, Rhode         6       Q. Where did you move to in 2006?
    7   Island. In re: National Prescription Opiate           7       A. In 2006?
    8   Litigation. The deponent is Amy Propatier.            8       Q. What was your position in 2006?
    9   Counsel will be noted on the stenographic             9       A. Oh, it was still -- it was called
   10   record. The court reporter is Darlene Coppola        10    hazardous material and logistics liaison.
   11   and will now swear in the witness.                   11       Q. What did you do in 2007?
   12                                                         12      A. The same position.
   13                AMY PROPATIER,                           13      Q. What did you do in 2008?
   14          witness, having first been                     14      A. My position changed to logistics Rx
   15   satisfactorily identified and duly sworn,             15   services manager.
   16   testifies and states as follows:                      16      Q. What is an Rx services manager?
   17                                                         17      A. It was a similar position. I was a
   18              DIRECT EXAMINATION                         18   liaison between the distribution center and
   19   BY MR. BAKER:                                         19   the corporate office. I was doing ARCOS
   20     Q. Good morning. My name's William                  20   reporting, state drug reporting, SOP
   21   Baker. Today's date is November 29, 2018 and          21   consolidation and maintenance, coding
   22   we are here with Ms. Amy Propatier; is that           22   hazardous materials that came into the
   23   correct?                                              23   distribution centers.
   24     A. Propatier.                                       24      Q. What did you do in 2009?
                                                    Page 15                                              Page 17
    1      Q. Propatier. Could you please tell us              1      A. The same position.
    2   who your employer is?                                  2      Q. What about 2010?
    3      A. CVS Pharmacy.                                    3      A. Same position.
    4      Q. How long have you been employed with             4      Q. Have you maintained that same position
    5   CVS Pharmacy?                                          5   since 2008?
    6      A. Since May of 1999.                               6      A. No. I changed positions in February
    7      Q. What was your position when you first            7   of 2014.
    8   came onboard in May of 1999?                           8      Q. To what?
    9      A. I was the customer service rep for               9      A. A pharmacy inventory manager.
   10   store services.                                       10      Q. So if we were to describe what your
   11      Q. Was that in retail?                             11   position was from 2006 through 2014, begin
   12      A. It was at the corporate office, yes,            12   with 2006, and then tell us what it was.
   13   for retail stores.                                    13      A. My position?
   14      Q. Did that include pharmaceutical                 14      Q. Yes, ma'am.
   15   products?                                             15      A. Oh. I was hazardous materials
   16      A. No.                                             16   specialist and logistics liaison.
   17      Q. When did you change positions?                  17      Q. And then in 2008 is when you switched?
   18      A. I changed positions in 2003 to                  18      A. The position evolved, yes, to the
   19   transportation and in 2005 that position moved        19   logistics Rx services manager.
   20   to logistics planning where I started getting         20      Q. So physically where were you located
   21   involved in pharmaceuticals.                          21   from 2008 forward?
   22      Q. What is was your job in                         22      A. One CVS Drive in Woonsocket, Rhode
   23   pharmaceuticals in 2005?                              23   Island.
   24      A. 2005, I was called a logistics liaison          24      Q. That's near Providence, correct?

  Golkow Litigation Services                                                          Page 5 (14 - 17)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further6 Confidentiality
                                                       of 79. PageID #: 470123
                                                                            Review
                                             Page 18                                                   Page 20
    1      A. Yes.                                       1      Q. Are you familiar with that?
    2      Q. Are you familiar with the term             2         Let me read it to you. It says, "The
    3   "narcotics"?                                     3   registrant shall design and operate a system
    4      A. Yes.                                       4   to disclose to the registrant suspicious
    5      Q. Do you agree that opioids are              5   orders of controlled substances. The
    6   narcotics?                                       6   registrant shall inform the field division
    7      A. Yes.                                       7   office of the administration in his area of
    8      Q. Do you agree that hydrocodone and          8   suspicious orders when discovered by the
    9   hydrocodone combination products are             9   registrant. Suspicious orders include orders
   10   narcotics?                                      10   of unusual size, orders deviating
   11      A. Yes.                                      11   substantially from a normal pattern, and
   12      Q. Do you agree that OxyContin is            12   orders of unusual frequency."
   13   narcotics?                                      13         Did I read that correctly?
   14      A. Yes.                                      14      A. Yes.
   15      Q. Do you agree that a oxymorphone is        15      Q. Are you familiar with that law?
   16   narcotics?                                      16      A. Yes.
   17      A. Yes.                                      17      Q. Is that law part of what guides you in
   18      Q. Do you agree that narcotics are drugs     18   your job?
   19   that are controlled under the federal law of    19      A. In my job today?
   20   the Controlled Substances Act?                  20      Q. Yes, ma'am, in your job between 2008
   21      A. Yes.                                      21   and 2014.
   22      Q. Could you pull up Exhibit No. 2,          22         It's a yes or no.
   23   please?                                         23      A. Yes.
   24                                                   24      Q. Were you guided by that law in your
                                             Page 19                                                   Page 21
    1          (Exhibit No. 2 marked for                 1   job between 2008 and 2014?
    2   identification.)                                 2     A. Yes.
    3                                                    3     Q. Let's go to exhibit -- let's go to
    4   BY MR. BAKER:                                    4   Exhibit 1, please.
    5      Q. And could you highlight Section            5
    6   1301.74B?                                        6         (Exhibit No. 1 marked for
    7              MR. BUSH: Could you give us the       7   identification.)
    8   copy?                                            8
    9              MR. BAKER: I'm sorry, sir.            9                MR. BAKER: Exhibit 1 is
   10              VOICE: If you could read into        10   Subchapter 1, Control and Enforcement, Part C,
   11   the record what Exhibit 2 is, that would be     11   Section 823, of 21 U.S. Code.
   12   much appreciated.                               12   BY MR. BAKER:
   13              MR. BAKER: Okay. Exhibit 2 is        13       Q. Could you highlight, at the bottom,
   14   a copy of Title 21, Code of Federal             14   Subsection E, Parentheticals 1 and 2?
   15   Regulation, Part 1301, specifically directing   15           Let me read this to you. It's titled
   16   you to Part 1301.74, Subparagraph B.            16   21 U.S. Code, Section 823, Subsection E,
   17              MR. BUSH: This was Exhibit 2;        17   Parenthetical 1 and 2.
   18   is that correct?                                18           It says, "The attorney general" --
   19              MR. BAKER: Yes, yes.                 19   it's talking about distributors of controlled
   20   BY MR. BAKER:                                   20   substances in Schedules III, IV, or V.
   21      Q. Do you see that?                          21           "The attorney general shall register
   22      A. Uh-huh.                                   22   an applicant to distribute controlled
   23      Q. Yes, ma'am?                               23   substances in Schedule III, IV, V unless he
   24      A. Yes.                                      24   determines that the issuance of such

  Golkow Litigation Services                                                     Page 6 (18 - 21)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further7 Confidentiality
                                                       of 79. PageID #: 470124
                                                                            Review
                                                Page 22                                             Page 24
    1   registration is inconsistent with the public       1         THE VIDEOGRAPHER: The time is 9:28
    2   interest. In determining the public interest,      2   a.m. On the record.
    3   the following factors shall be considered:         3   BY MR. BAKER:
    4   No. 1, maintenance of effective controls           4      Q. Could you pull up Exhibit 3, please?
    5   against diversion of particular controlled         5   Exhibit 3 is a United States Drug Enforcement
    6   substances into other than legitimate medical      6   Administration Office of Diversion Control
    7   scientific and industrial channels;                7   chart depicting a bar graph of drug-poisoning
    8   Subparagraph 2, compliance with applicable         8   deaths involving opioid analgesics or heroin
    9   state and local law."                              9   in the United States from 1999 through 2013.
   10          Did I read that correctly?                 10         Ma'am, my question is have you ever
   11      A. Yes.                                        11   seen this chart before?
   12      Q. Have you seen this law before?              12      A. No.
   13      A. I can't say that I've read it directly      13      Q. Ma'am?
   14   from here, no.                                    14      A. No.
   15      Q. Have you been tutored in this law           15      Q. As part of your job, you are
   16   within your job or trained in this law within     16   responsible for DEA compliance of CVS with
   17   your job?                                         17   respect to their suspicious order monitoring
   18      A. Yes.                                        18   programming; am I correct?
   19      Q. Between the period of 2008 through          19      A. No.
   20   2014, who trained you in this law within your     20      Q. As part of your job, what do you do to
   21   job?                                              21   reference the DEA website, if anything?
   22      A. I can't recall a particular person          22      A. I didn't need to reference the website
   23   that trained me in this law.                      23   for my job.
   24      Q. Were you guided by this law in your         24      Q. Let me ask you, are you familiar with
                                                Page 23                                             Page 25
    1   job between 2008 and 2014?                         1   who the DEA is?
    2      A. Yes.                                         2      A. Yes.
    3      Q. Do you agree that you had a duty to          3      Q. Okay. That's the Drug Enforcement
    4   follow this law between 2008 and 2014 in your      4   Administration, which is an arm of the
    5   position with CVS?                                 5   Department of Justice of the United States.
    6      A. Yes.                                         6   You understand that, correct?
    7      Q. Would you agree that this country has        7      A. Yes.
    8   been in the midst of an opioid crisis for the      8      Q. And you understand that the DEA is who
    9   past ten years?                                    9   CVS would report suspicious orders to in the
   10      A. Yes.                                        10   event that their suspicious order monitoring
   11      Q. Could you pull up Exhibit 3, please?        11   program showed a suspicious order to exist?
   12                                                     12      A. Yes.
   13         (Exhibit No. 3 marked for                   13      Q. And do you do that as part of your
   14   identification.)                                  14   job? Do you help do that?
   15                                                     15      A. No.
   16             MR. BAKER: It's composite               16      Q. Are you familiar with the statistics
   17   Exhibit 3. Off record while that's being          17   depicted in this chart that I'm showing in
   18   pulled up.                                        18   front of you? Do you see the statistics
   19             THE VIDEOGRAPHER: The time is           19   there?
   20   9:25 a.m. We're off the record.                   20      A. Yes.
   21                                                     21      Q. Are you familiar with those
   22            (Recess taken from 9:25 a.m.             22   statistics?
   23            to 9:28 a.m.)                            23      A. Familiar as in knowing them offhand,
   24                                                     24   no.

  Golkow Litigation Services                                                     Page 7 (22 - 25)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further8 Confidentiality
                                                       of 79. PageID #: 470125
                                                                            Review
                                              Page 26                                              Page 28
    1      Q. Are you familiar with them in general       1      Q. That's all part of your knowledge of
    2   knowing that there has been a steady increase     2   the fact there's an opioid epidemic in the
    3   in the number of thousands of deaths that have    3   United States that's been going on for over
    4   occurred as a result of drug-poisoning deaths     4   ten years; is that correct?
    5   involving opioid and analgesics or heroin in      5              MR. BUSH: Objection.
    6   the United States from 1999 to 2013?              6   BY MR. BAKER:
    7      A. No.                                         7      Q. Is that correct, ma'am?
    8      Q. You didn't know that?                       8      A. Can you say that again?
    9      A. Not these numbers, no.                      9      Q. This helps with your knowledge of the
   10      Q. But you knew in general that --            10   fact that there's been an opioid epidemic in
   11      A. Oh, in general --                          11   the United States for at least the past ten
   12      Q. That there was --                          12   years?
   13      A. -- yes.                                    13              MR. BUSH: Objection.
   14      Q. You knew in general that there was an      14              MR. BAKER: I'll withdraw the
   15   increase in the thousands of drug-poisoning      15   question.
   16   deaths involving opioid analgesics or heroin     16   BY MR. BAKER:
   17   in the United States from 1999 to 2013,          17      Q. Could you move on to the next chart,
   18   correct?                                         18   please? Go to the U.S. rate of opioid
   19      A. Yes.                                       19   overdose death sales and treatment admissions
   20      Q. And you see that that number reached,      20   from 1999 to 2010.
   21   from 1999, a figure of 4,000 all the way up to   21              MR. BUSH: Hold on, could you
   22   16.9 thousand in 2011 and it stayed at about     22   show me that chart because this is not in the
   23   that 16,000 level all the way through 2013       23   same order?
   24   and -- 2012 and 2013. Do you see that?           24              MR. BAKER: Right here.
                                              Page 27                                              Page 29
    1     A. Yes.                                         1              MR. BUSH: This one?
    2     Q. Do you see what that comparison is to        2              MR. BAKER: This one right here.
    3   the deaths of heroin?                             3   BY MR. BAKER:
    4     A. Yes.                                         4      Q. Have you ever seen this chart that's
    5     Q. For instance, in 2013, heroin deaths         5   published by the United States Drug
    6   accounted for 8.3 million deaths whereas          6   Enforcement Administration?
    7   opioid analgesic deaths were at 16.2 million,     7      A. No.
    8   correct?                                          8      Q. I'd like you to look at that chart for
    9     A. Yes.                                         9   the period between 1999 and 2010. And it
   10             MR. BUSH: Objection.                   10   graphs the correlation between opioid sales,
   11   BY MR. BAKER:                                    11   opioid deaths, and opioid treatment
   12     Q. Is that what the chart indicates?           12   admissions; is that correct?
   13     A. Yes.                                        13      A. Yes.
   14     Q. Does the chart indicate, according to       14      Q. Okay. Do you see the top line, opioid
   15   DEA statistics, that there were 8.3 million      15   sales -- the increase in opioid sales from
   16   heroin deaths in the year 2013 and 16.2          16   1999 to 2000. Do you see that, the rate of
   17   million opioid analgesics deaths? Does the       17   increase?
   18   chart indicate that?                             18      A. Yes.
   19     A. No. It says thousands.                      19      Q. Okay. And do you see the rate of
   20     Q. 8.3 thousand, I'm sorry. And 16.2           20   increase in opioid deaths correlate with that
   21   thousand opioid deaths?                          21   in the red line right below it?
   22     A. Yes.                                        22      A. Yes.
   23     Q. Is that correct?                            23              MR. BUSH: Objection.
   24     A. (Witness nodding.)                          24   BY MR. BAKER:

  Golkow Litigation Services                                                    Page 8 (26 - 29)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-8 Filed:
                                          to 12/19/19
                                              Further9 Confidentiality
                                                       of 79. PageID #: 470126
                                                                            Review
                                             Page 30                                               Page 32
    1      Q. Do you see that, ma'am?                    1     Q. Would you agree there's a correlation
    2      A. Yes.                                       2   between opioid treatment, opioid deaths, and
    3      Q. Would you agree that those two lines       3   opioid sales as depicted by this graph of
    4   correlate, meaning that the number of opioid     4   reporting information through the United
    5   sales, as opioid sales have increased over       5   States Drug Enforcement Administration?
    6   that same period of time, between 1999 and       6              MR. BUSH: Objection.
    7   2010, so have opioid deaths correspondingly      7     A. I can't say what the correlation is.
    8   increased?                                       8   BY MR. BAKER:
    9              MR. BUSH: Objection.                  9     Q. You can't say that looking at this
   10   BY MR. BAKER:                                   10   graph? Honestly, look at this graph and tell
   11      Q. Would you agree with that?                11   me whether you think you could or couldn't say
   12              MR. BUSH: I'm sorry, objection.      12   that.
   13   BY MR. BAKER:                                   13              MR. BUSH: Objection.
   14      Q. Ma'am?                                    14     A. I can't say what the correlation is.
   15      A. I can't say I agree.                      15   BY MR. BAKER:
   16      Q. Would you agree that those lines run      16     Q. Can you say that those lines do
   17   parallel to each other upward on the graph?     17   correlate?
   18              MR. BUSH: Objection.                 18     A. I can say the line increased.
   19   BY MR. BAKER:                                   19     Q. That they do correlate?
   20      Q. Just look at the red line and look at     20              MR. BUSH: Objection.
   21   the green line. Would you agree that those      21     A. I can say it increased.
   22   lines --                                        22   BY MR. BAKER:
   23      A. Uh-huh.                                   23     Q. That they increased correspondingly?
   24      Q. -- correlate and run parallel to each     24              MR. BUSH: Objection.
                                             Page 31                                               Page 33
    1   other increasingly between 1999 and 2010; yes    1      A. I don't know.
    2   or no?                                           2   BY MR. BAKER:
    3              MR. BUSH: Objection.                  3      Q. You don't know from looking at this
    4   BY MR. BAKER:                                    4   chart? Look at this chart, ma'am. Look at
    5      Q. Ma'am?                                     5   those three lines.
    6      A. Yes, they're parallel.                     6      A. Yeah.
    7      Q. Okay. That would show correlation          7      Q. Using common sense, would you say that
    8   between those two; is that correct?              8   those three lines run parallel to each other
    9              MR. BUSH: Objection.                  9   correlate; yes or no?
   10   BY MR. BAKER:                                   10              MR. BUSH: Objection.
   11      Q. Opioid sales and opioid deaths,           11      A. I can say they run parallel. I don't
   12   correct?                                        12   know how they correlate. I can't say how they
   13              MR. BUSH: Objection.                 13   correlate.
   14   BY MR. BAKER:                                   14   BY MR. BAKER:
   15      Q. Yes?                                      15      Q. Could you pull up the top ten list,
   16      A. I can't say what the correlation is.      16   please, as the next chart? It's the United
   17      Q. Would you look at the -- at the next      17   States Drug Enforcement Administration top ten
   18   line, opioid treatment admissions? Does that    18   list of consumers in kilograms of opioid
   19   line also run parallel to the lines above it,   19   analgesics.
   20   which is opioid deaths and opioid sales?        20              MR. BUSH: Objection. Actually,
   21              MR. BUSH: Objection.                 21   my objection is I don't really see where it
   22   BY MR. BAKER:                                   22   says that.
   23      Q. Yes or no?                                23              MR. BAKER: Narcotic drugs in
   24      A. Yes.                                      24   grams. We'll just go with narcotic drugs in

  Golkow Litigation Services                                                    Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further10Confidentiality
                                                       of 79. PageID #: 470127
                                                                           Review
                                             Page 34                                               Page 36
    1   grams. The source                                1   opioid -- "Opioids, prescription or heroin,
    2   BY MR. BAKER:                                    2   remain the driving factor behind the
    3      Q. Let's do it this way. Let's go to          3   unintentional drug overdose epidemic in Ohio.
    4   this chart right here.                           4   Approximately two-thirds or 1,272 or 66.5
    5         Have you ever seen this chart?             5   percent of the drug overdoses involved any
    6      A. No.                                        6   opioid in 2012 similar to 2011."
    7      Q. Are you familiar with the statistics       7         Do you see that?
    8   reported by the United States DEA that the       8     A. Uh-huh.
    9   U.S. was the country, in 2012, with the          9     Q. Is that yes?
   10   highest consumption of hydrocodone, which is    10     A. Yes.
   11   approximately 45.5 tons or 99 percent of        11     Q. Is that all part of a crisis that you
   12   global consumption? Were you familiar with      12   have been aware of that's been going on in the
   13   that?                                           13   United States for the past several years?
   14      A. No.                                       14              MR. BUSH: Objection.
   15      Q. Would you agree that this chart           15   BY MR. BAKER:
   16   indicates that?                                 16     Q. When I asked you initially in your
   17      A. The chart -- yeah.                        17   deposition if you were familiar with the
   18      Q. Yes?                                      18   opioid crisis that was going on in the United
   19      A. Yes, the statement indicates it.          19   States for the past ten years, your answer was
   20      Q. Would you go to the next chart, which     20   yes; is that correct?
   21   is the Ohio -- 2012 Ohio drug overdose deaths   21              MR. BUSH: Objection.
   22   chart. Do you see that chart? Do you have       22     A. Yes.
   23   that chart in front of you, ma'am?              23   BY MR. BAKER:
   24      A. Yes.                                      24     Q. Okay. Is this part of what you're
                                             Page 35                                               Page 37
    1      Q. Do you see at the bottom where the         1   talking about, the increased opioid deaths in
    2   source of this information is the Ohio           2   Ohio as depicted in this chart?
    3   Department of Health Office of Vital             3              MR. BUSH: Objection.
    4   Statistics Analysis Conducted by Injury          4   BY MR. BAKER:
    5   Prevention Program? Do you see that?             5      Q. Is this what you're talking about?
    6      A. Yes.                                       6      A. I can't say specifically.
    7      Q. So this is a publication by the Ohio       7      Q. Can you say generally that's what
    8   Department of Health. Are you familiar with      8   you're talking about?
    9   the Ohio Department of Health?                   9              MR. BUSH: Objection.
   10              MR. BUSH: Objection.                 10      A. Generally, yes.
   11      A. Familiar with it?                         11   BY MR. BAKER:
   12   BY MR. BAKER:                                   12      Q. Okay. Do you see where it says, right
   13      Q. Yes, ma'am.                               13   below that, "Prescription opioids are involved
   14      A. I've heard of it. I can't say how         14   in most of the unintentional drug overdoses
   15   familiar I am.                                  15   and have largely driven the rise in deaths
   16      Q. Do you see what's reported in there?      16   over the past decade."
   17   At the top of that chart, it says, "Drug        17         Do you see that?
   18   overdose deaths continued to be a public        18      A. Yes.
   19   crisis in Ohio with a 366 percent increase in   19      Q. Would you agree with that statement?
   20   the number of deaths from 2000 to 2012."        20              MR. BUSH: Objection.
   21   And it references that chart at the bottom.     21      A. I -- I don't have enough information.
   22          Do you see it?                           22   BY MR. BAKER:
   23      A. Yes.                                      23      Q. Would you disagree with that
   24      Q. Do you see there where it says that       24   statement?

   Golkow Litigation Services                                                 Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further11Confidentiality
                                                       of 79. PageID #: 470128
                                                                           Review
                                             Page 38                                               Page 40
    1              MR. BUSH: Objection.                  1
    2      A. I can't agree or disagree.                 2         (Exhibit No. 19 marked for
    3   BY MR. BAKER:                                    3   identification.)
    4      Q. Could you pull up the next chart,          4
    5   which is the drug diversion migration out of     5               MR. BUSH: Can I have a copy of
    6   Florida? Have you seen this chart before?        6   that? Thank you.
    7      A. No.                                        7   BY MR. BAKER:
    8      Q. You have not?                              8      Q. Now, this is a CVS document that's
    9      A. No.                                        9   Bates Numbered 3070 and 3071. Do you see that
   10      Q. Are you familiar with what's called       10   at the bottom?
   11   the opioid express?                             11      A. Yes.
   12              MR. BUSH: Can I just make a          12      Q. Any time you see that in the context
   13   statement, Bill, on the record? This, at        13   of this litigation, that means that's a
   14   least the version of this I'm seeing on the     14   document that's been produced to plaintiff's
   15   screen and in our copy, is largely              15   counsel by CVS as part of a request for
   16   illegible.                                      16   production in this case. So you'll know that
   17              MR. BAKER: This is how it was        17   this is a CVS document. Fair enough?
   18   presented to us in the CVS documentation.       18      A. Yes.
   19              MR. BUSH: Okay.                      19      Q. Do you see at the top where this is an
   20              MR. BAKER: Okay. So we just          20   e-mail from the United States Drug Enforcement
   21   have to live with it.                           21   Administration to Judy Hughes of CVS on
   22              MR. BUSH: It does say McKesson       22   8/21/2014?
   23   at the top. This is a CVS document.             23      A. Yes.
   24              MR. BAKER: This is a CVS             24      Q. Do you know who Judy Hughes is?

                                             Page 39                                               Page 41
    1   document. I'll show you, but it is a CVS         1      A. Yes.
    2   document.                                        2      Q. Who is she?
    3              MR. BUSH: Okay. I accept your         3      A. She works in loss prevention.
    4   representation.                                  4      Q. She works in loss prevention?
    5              MR. BAKER: Okay.                      5      A. (Witness nodding.)
    6   BY MR. BAKER:                                    6      Q. Do you see that this was a press
    7      Q. Have you seen this document before?        7   release that was published and given to Ms.
    8      A. No.                                        8   Hughes at CVS? Do you see that?
    9      Q. Are you familiar with the Oxy Express?     9      A. Uh-huh.
   10   Are you familiar with that?                     10      Q. Yes?
   11      A. No.                                       11      A. Yes.
   12      Q. Are you familiar with the way drugs       12      Q. Were you provided this information as
   13   are diverted out of Florida up through states   13   well?
   14   north of Florida into Ohio?                     14      A. Not that I recall.
   15      A. No.                                       15      Q. Go to the second page of that document
   16      Q. You're not familiar with that?            16   at the top. Do you see the second sentence
   17      A. No.                                       17   there?
   18      Q. Let's move on. Could you pull up          18         Highlight that, the current analysis.
   19   Exhibit 103, please. Strike that.               19   Keep going. It says, "The current analysis of
   20         Let's pull up Exhibit No. 19, please,     20   HCP" Now stop.
   21   and go to page 2.                               21         HCP, you know to be hydrocodone
   22              MR. BAKER: We'll mark that as        22   combination products, correct?
   23   the next number.                                23      A. I did not know that was --
   24                                                   24      Q. For instance, hydrocodone

   Golkow Litigation Services                                                  Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further12Confidentiality
                                                       of 79. PageID #: 470129
                                                                           Review
                                              Page 42                                                  Page 44
    1   acetaminophen, or Lortab, is an HCP. Did you      1       Q. Who is Dean Vanelli?
    2   know that?                                        2       A. He's the Director of Logistics
    3      A. I did not know that.                        3   Planning.
    4      Q. Did you know that Vicodin is an HCP, a      4       Q. And are you familiar with --
    5   hydrocodone combination product?                  5              VOICE: Could you read into
    6      A. No.                                         6   the record what Exhibit 19 is? Is that a
    7      Q. Okay. Any time you see HCP, do you          7   Bates number?
    8   now understand that's what we're talking          8              MR. BAKER: I will get there.
    9   about?                                            9   It's Exhibit 19?
   10      A. Yes.                                       10              MR. BUSH: 23.
   11      Q. So the current analysis of HCPs by         11   BY MR. BAKER:
   12   Health and Human Services, which is HHS, and     12       Q. Exhibit 23 starts with Bates Number
   13   DEA, which is the Drug Enforcement Agency,       13   3749 and runs through Bates Number 3777. It
   14   shows they had "a high potential for abuse and   14   is an e-mail from Mr. Vanelli and -- it's
   15   abuse may lead to severe psychological or        15   actually a string of e-mails from Mr. Vanelli
   16   physical depends. Adding non-narcotic like       16   to various people and from Nicole Harrington
   17   acetaminophen to a hydrocodone does not          17   to Mr. Vanelli, from Donald Walker to various
   18   diminish its abuse potential. The many           18   people.
   19   findings by the DEA and HAS (sic) and the data   19         Do you see that --
   20   that support these findings are presented in     20       A. Yes.
   21   detail in the final rule on the website."        21       Q. -- on the front page?
   22         Did I read that correctly?                 22       A. Yes.
   23      A. Yes.                                       23       Q. Do you see that?
   24      Q. And is this, according to the              24       A. Yes.
                                              Page 43                                                    Page 45
    1   documentation, a press release that was sent      1      Q. Ma'am?
    2   to Judy Hughes at CVS --                          2      A. Yes.
    3             MR. BUSH: Objection.                    3      Q. And do you see that the attachment to
    4   BY MR. BAKER:                                     4   it starts with something that says "McKesson"
    5      Q. -- on 8/21/2014?                            5   at the top.
    6      A. (Witness reviews document.)                 6          Do you see that?
    7         Yes.                                        7      A. Yes.
    8             MR. BUSH: Excuse me, what               8      Q. Now, McKesson is one of the outside
    9   number was that? Was that --                      9   vendors from whom CVS does business; is that
   10             MR. BAKER: That's all part of          10   correct?
   11   Exhibit No. 19.                                  11      A. Yes.
   12             MR. BUSH: Exhibit 19, okay.            12      Q. And sometimes a company like McKesson
   13   Thank you.                                       13   will provide information like you're seeing to
   14   BY MR. BAKER:                                    14   CVS, which it has done in this instance,
   15      Q. Could you go to Exhibit No. 23,            15   according to this e-mail; is that correct?
   16   please?                                          16               MR. BUSH: Objection.
   17                                                    17      A. I can't say that I know that.
   18         (Exhibit No. 23 marked for                 18   BY MR. BAKER:
   19   identification.)                                 19      Q. At the bottom of the front page, it
   20                                                    20   says, "Nicole, attached at three files for
   21   BY MR. BAKER:                                    21   your use," probably a typo, probably should
   22     Q. Are you familiar with a person by the       22   have said "all three files for your use."
   23   name of Dean Vanelli?                            23          Do you see that?
   24     A. Yes.                                        24      A. Yes.

   Golkow Litigation Services                                                    Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further13Confidentiality
                                                       of 79. PageID #: 470130
                                                                           Review
                                                   Page 46                                                  Page 48
    1      Q. And it talks about, "Our Rx drug abuse          1   one death every 19 minutes," that
    2   materials in which we have compiled                   2   "prescription drug abuse is the
    3   information on the global issue."                     3   fastest-growing drug problem in the United
    4         Do you see that?                                4   States."
    5      A. Yes.                                            5         Did you see that?
    6      Q. Okay. So turn to those materials, if            6      A. Yes.
    7   you would, on page 1, which was Bates Number          7      Q. This is -- this is right before you
    8   3750, all part of Exhibit 23 we're referring          8   assumed your new position in 2008, correct?
    9   to here today.                                        9              MR. BUSH: Objection.
   10         Do you see that first page there?              10   BY MR. BAKER:
   11      A. Yes.                                           11      Q. 2007 would be before you assumed your
   12      Q. Do you see there where it says,                12   new position in 2008, correct?
   13   "According to the DEA's 2012 ARCOS data, the         13      A. Yes.
   14   following are a few commonly abused drugs with       14      Q. And when you assumed your new position
   15   the annual averages, number of dosage units          15   in 2008, did you study up on the existence of
   16   purchased by retail pharmacy for each of the         16   the opioid epidemic?
   17   following drugs: hydrocodone, 131,381;               17      A. No.
   18   oxycodone, 75,584." And then it goes down to         18      Q. You did no study at all on that?
   19   discuss, "hydromorphone, 5,903; oxymorphone,         19      A. No.
   20   2,190."                                              20      Q. Did you try to do any reading on it?
   21         Did I read that correctly?                     21      A. No, not that I recall.
   22      A. Yes.                                           22      Q. It just didn't concern you at all?
   23      Q. At the bottom it says, "These numbers          23      A. I can't recall.
   24   are not guidelines for appropriate dispensing.       24      Q. Turn to Bates Number 3755 at the

                                                 Page 47                                                   Page 49
    1   They are simply national averages derived from        1   bottom. Do you see it?
    2   the DEA ARCOS data. Diversion can occur in            2      A. Uh-huh.
    3   purchases below the DEA national averages."           3      Q. Yes?
    4         Did I read that correctly?                      4      A. Yes.
    5      A. Yes.                                            5      Q. You see where it talks about the
    6      Q. Go two more pages to where you get to           6   prescription drug abuse is an epidemic in the
    7   Bates No. 3752. It's entitled, "Prescription          7   United States, that prescription drugs cause
    8   drug abuse."                                          8   more deaths than heroin or cocaine combined.
    9         Do you see that?                                9          Do you see that?
   10      A. Uh-huh, yes.                                   10      A. Yes.
   11      Q. This is all part of the materials that         11      Q. At the bottom it says "The U.S.
   12   were attached to that e-mail that were sent to       12   consumes 83 percent of the world's oxycodone
   13   CVS, according to the document I presented to        13   and 99 percent of the world's hydrocodone, two
   14   you, correct?                                        14   highly prescribed opioid drugs for pain."
   15             MR. BUSH: Objection.                       15         Do you see that?
   16   BY MR. BAKER:                                        16      A. Yes.
   17      Q. Let's move on. Do you see the next             17      Q. As part of your job, do you know that
   18   document? It says 3753 at the bottom. It's           18   hydrocodone is a highly prescribed opioid drug
   19   CVS Bates Number 3753.                               19   for pain?
   20         Do you see that?                               20             MR. BUSH: Objection.
   21      A. Yes.                                           21      A. No, I don't know that.
   22      Q. Do you see that it said "In 2007,              22   BY MR. BAKER:
   23   approximately 27,000 unintentional drug              23      Q. You don't know that.
   24   overdose deaths occurred in the United States,       24         Go to Bates Number 3761, all part of

   Golkow Litigation Services                                                       Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further14Confidentiality
                                                       of 79. PageID #: 470131
                                                                           Review
                                                    Page 50                                              Page 52
    1   Exhibit No. 23. Could you highlight in the             1   Bates Number 3766, which means that it was
    2   first -- every portion that deals with Ohio            2   produced to us by CVS in this litigation. You
    3   under oxycodone, hydrocodone, hydromorphone,           3   understand that?
    4   and oxymorphone?                                       4              MR. BUSH: Objection.
    5          Do you see the report here, that                5      A. Yes.
    6   current drug -- prescription drug diversion            6   BY MR. BAKER:
    7   trends dealing with states with the highest            7      Q. Okay. Do you see where in this chart
    8   pharmacy dispensing in 2012 shows that                 8   it delineates where drugs divert out of
    9   oxycodone -- that Ohio is the fifth                    9   Florida, up through Georgia, up through
   10   highest-rated state for oxycodone relative to         10   Tennessee, Kentucky, ultimately into Ohio? Do
   11   the states with the highest pharmacy                  11   you see that?
   12   dispensing in 2012? Do you see that?                  12              MR. BUSH: Objection.
   13               MR. BUSH: Objection.                      13   BY MR. BAKER:
   14      A. Yes, I can see that.                            14      Q. Do you see that on that? Is that
   15   BY MR. BAKER:                                         15   what's depicted on that chart?
   16      Q. Do you see that this chart indicates            16      A. I see lines, yes.
   17   that Ohio is the seventh highest state with           17      Q. And do you -- have you read about or
   18   pharmacy dispensing in 2012 with respect to           18   studied about the drug diversion migration out
   19   the drug hydrocodone? Do you see that?                19   of Florida as part of your job?
   20               MR. BUSH: Objection.                      20      A. No.
   21      A. Yes, I see that.                                21      Q. Have you been taught about that as
   22   BY MR. BAKER:                                         22   part of your job?
   23      Q. Do you see in this chart where Ohio is          23      A. No.
   24   the eighth highest pharmacy dispensing state          24      Q. Have you attended DEA conferences on
                                                  Page 51                                                Page 53
    1   in 2012 for the drug hydromorphone?                    1   drug diversion?
    2              MR. BUSH: Objection.                        2      A. No.
    3      A. Yes, I see that.                                 3      Q. Your employer does not send you to DEA
    4   BY MR. BAKER:                                          4   conferences to learn about drug diversion?
    5      Q. Do you see that Ohio is the seventh              5      A. No.
    6   highest pharmacy dispensing state in 2012 for          6      Q. And you've never attended a DEA
    7   the drug oxymorphone?                                  7   conference on drug diversion?
    8              MR. BUSH: Objection.                        8      A. I've been to a DEA conference.
    9      A. Yes, I see that.                                 9      Q. Dealing with the topic of drug
   10   BY MR. BAKER:                                         10   diversion with respect to opioids?
   11      Q. Did you know these statistics before I          11      A. I don't recall what the topics were
   12   just showed them to you?                              12   that were discussed.
   13      A. No, I did not.                                  13      Q. Which DEA conference did you attend,
   14      Q. Do you remember that chart that I               14   in what year, and what was the name of it?
   15   showed you about drug diversion migration out         15      A. I don't recall the name of it. It was
   16   of Florida that -- if you go to Bates Number          16   in October of 2013.
   17   3766. Do you remember that drug migration             17      Q. Where was it located?
   18   chart that I showed you just a few minutes ago        18      A. Outside Washington, D.C.
   19   in a prior exhibit?                                   19      Q. Was it at the Gaylord hotel?
   20      A. Uh-huh, yes.                                    20      A. Yes.
   21      Q. Yes?                                            21      Q. Now, in general, CVS has distribution
   22      A. Yes.                                            22   centers that serve or that supply opioid
   23      Q. Okay. This is where this came from.             23   medications to CVS retail stores; is that
   24   This is a document -- that's a CVS document,          24   correct?

   Golkow Litigation Services                                                       Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further15Confidentiality
                                                       of 79. PageID #: 470132
                                                                           Review
                                              Page 54                                               Page 56
    1      A. Yes.                                        1   with respect to those two distribution
    2      Q. And those are narcotic drugs,               2   centers?
    3   correct?                                          3      A. My job now or previous?
    4      A. Yes.                                        4      Q. Between 2008 and 2013.
    5      Q. And the --                                  5      A. I was a liaison for the distribution
    6      A. Some.                                       6   centers, so they would reach out to me when
    7      Q. -- the CVS distribution center              7   they needed to get assistance as far as being
    8   licensures that you know to exist are for         8   a central point of contact for the corporate
    9   Schedule III through Schedule V drugs; is that    9   office.
   10   correct?                                         10      Q. Are you familiar with whether or not
   11      A. Yes.                                       11   those two distribution centers served the CVS
   12      Q. And you know that Schedule III drugs,      12   stores that are retail pharmacies in the state
   13   up until October of 2014, included hydrocodone   13   of Ohio?
   14   and hydrocodone combination products,            14      A. I can't say off the top of my head if
   15   correct?                                         15   I knew what states they serviced.
   16      A. Yes.                                       16      Q. Let me show you what's marked as
   17      Q. And you know that Schedule II drugs,       17   Exhibit No. 25.
   18   up until October 2014 and continuing, have       18
   19   included OxyContin- and oxymorphone-related      19          (Exhibit No. 25 marked for
   20   drugs?                                           20   identification.)
   21      A. I can't say if I specifically know         21
   22   that they were Schedule II.                      22   BY MR. BAKER:
   23      Q. You know that hydrocodone combination      23      Q. It's the Track 1 CVS store
   24   products were rescheduled to Schedule II by      24   information.
                                              Page 55                                               Page 57
    1   the FDA October 6 of 2014? Do you know            1         What I've shown you is a list of CVS
    2   that?                                             2   pharmacy stores that are located in Ohio.
    3              MR. BUSH: Objection.                   3   Have you ever seen this list before?
    4      A. I didn't know that.                         4      A. No, not this list.
    5   BY MR. BAKER:                                     5      Q. And you're telling me you don't know
    6      Q. With respect to the distribution            6   one way or the other if the Chemung, New York,
    7   centers located in Indianapolis -- you're         7   distribution center or the Indianapolis
    8   familiar with that, the Indianapolis              8   distribution center served these Track 1 CVS
    9   distribution center, correct?                     9   stores in Ohio? You don't know?
   10      A. Yes.                                       10      A. I don't -- I don't recall which
   11      Q. And you're familiar with the               11   distribution center services which stores.
   12   distribution center in Chemung, New York; is     12      Q. Do they -- do any of the -- did any of
   13   that correct?                                    13   those two distribution centers or either of
   14      A. Yes.                                       14   those two distribution centers serve any of
   15      Q. What is your job in the context of         15   these stores on this list?
   16   having any contact with or review of anything    16      A. I can't say -- I don't recall which
   17   that is shipped to or shipped out of those       17   distribution center services which stores, off
   18   distribution centers?                            18   the top of my head.
   19      A. As reviewing shipments?                    19      Q. Let's move on. Let's go to the next
   20      Q. Anything. Do you have any -- does          20   one.
   21   your job have any connection to those two        21              MR. BAKER: Let's take a short
   22   distribution centers whatsoever?                 22   break off record.
   23      A. Not for reviewing shipments, no.           23              THE VIDEOGRAPHER: The time is
   24      Q. What connection does your job have         24   10:01 a.m. We're off the record.

   Golkow Litigation Services                                                  Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further16Confidentiality
                                                       of 79. PageID #: 470133
                                                                           Review
                                              Page 58                                                    Page 60
    1                                                     1      Q. Okay. All right. Do you see where it
    2            (Recess was taken from 10:01 a.m.        2   says, "Controlled Substance Act passed in
    3            to 10:08 a.m.)                           3   1971."
    4                                                     4         Do you see that?
    5             THE VIDEOGRAPHER: The time is           5      A. Uh-huh, yes.
    6   10:08 a.m. and we're on the record.               6      Q. Do you know that the Controlled
    7   BY MR. BAKER:                                     7   Substance Act has been on the books since
    8     Q. I'm going to hand you Exhibit No. 58,        8   1971?
    9   which is the CVS standard operating procedures    9      A. No, I did not know.
   10   manual. It's Bates-numbered 34375. Have you      10      Q. Did you know that the Controlled
   11   ever seen this manual before?                    11   Substance Act established the concept of
   12                                                    12   controlled substances, combined narcotics and
   13          (Exhibit No. 58 marked for                13   dangerous drugs? Did you know that?
   14   identification.)                                 14      A. No.
   15                                                    15      Q. Is that what that document
   16            MR. BUSH: Can I get a copy of           16   indicates?
   17   that?                                            17      A. The document indicates, yes.
   18      A. (Witness reviews document.)                18      Q. Did you know that it places
   19              MR. BUSH: Well, objection. I'm        19   enforcement into the Department of Justice of
   20   not sure that your statement accurately          20   those types of drugs?
   21   describes it, but go ahead. You can answer.      21      A. No, I didn't know that.
   22   BY MR. BAKER:                                    22      Q. Did you know that there are
   23      Q. What does it say on the first page,        23   established quotas with respect to those types
   24   ma'am, of the Document No. 58, Exhibit 58?       24   of drugs?
                                              Page 59                                                     Page 61
    1      A. "CVS standard operating procedures."        1      A. No, I did not know that.
    2      Q. Is that what I said it was or not?          2      Q. Did you know that it provides for a
    3      A. Yes.                                        3   closed system of distribution for those types
    4      Q. Okay. And would you turn to the             4   of drugs?
    5   last -- excuse me, to page No. 34378, at the      5      A. I did not know that.
    6   bottom, Bates number?                             6      Q. Do you know what closed system of
    7      A. Yes.                                        7   distribution even is with respect to narcotic
    8      Q. Now, this document indicates an             8   drugs?
    9   introduction to the CSA, which is the             9      A. I can't say I know the details, no.
   10   Controlled Substance Act, and DEA, which is      10      Q. So let's move on to the next exhibit,
   11   the Drug Enforcement Agency, regs, which is      11   please.
   12   regulations, correct?                            12
   13      A. Yes.                                       13         (Exhibit No. 37 marked for
   14      Q. And you understand this to be a CVS        14   identification.)
   15   document, correct? I mean, look at page 1        15
   16   where I said it shows the CVS standard           16   BY MR. BAKER:
   17   operating procedures.                            17      Q. I'm handing you Exhibit No. 37 which
   18          Do you see that?                          18   is an e-mail with an attached letter dated
   19      A. I see that.                                19   December 27, 2007 from a Mr. Joseph Rannazzisi
   20      Q. Can you say yes, that this is a CVS        20   of the United States Department of Justice
   21   document?                                        21   Drug Enforcement Administration.
   22      A. I can't say if it's a CVS -- it says       22         Have you ever seen that letter dated
   23   CVS on it, but I can't say if I know it to be    23   December 27, 2007?
   24   a CVS document, no.                              24      A. (Witness reviews document.)

   Golkow Litigation Services                                                    Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further17Confidentiality
                                                       of 79. PageID #: 470134
                                                                           Review
                                                     Page 62                                              Page 64
    1         No, I can't say that I have.                      1   inserting a suspicious order monitoring policy
    2      Q. Have you ever seen the e-mail that's              2   into the CVS system?
    3   attached or that is dated 1/14/2014 that I've           3      A. No.
    4   handed to you as Exhibit No. 37?                        4              MR. BUSH: Objection.
    5      A. I can't say that I have.                          5   BY MR. BAKER:
    6      Q. Let me read the e-mail to you. It                 6      Q. You did not?
    7   says, "Team" -- and this is an e-mail from a            7      A. No.
    8   person named Craig Schiavo to several people            8      Q. Are you familiar with that occurring
    9   within CVS, January 14, 2014, correct?                  9   8/25/2010?
   10      A. Yes.                                             10              MR. BUSH: Objection.
   11      Q. And the subject matter is SOM                    11      A. I don't recall.
   12   communications from DEA, correct?                      12   BY MR. BAKER:
   13      A. Yes.                                             13      Q. You don't know?
   14      Q. SOM is suspicious order monitoring,              14      A. (Witness nodding.)
   15   correct?                                               15      Q. We'll get to that in a minute.
   16      A. Yes.                                             16         You see where it says -- at the top of
   17      Q. All right. And it references this                17   page 2 it says, "Registrants that rely on
   18   12/27/2007 DEA letter, correct?                        18   rigid formulas to define whether an order is
   19      A. Yes.                                             19   suspicious may be failing to detect suspicious
   20      Q. It says, "Team, attached are FYIs.               20   orders."
   21   These are communications from the DEA to DEA           21         Do you see that?
   22   registrants. The 2007 letter from the DEA is           22      A. Yes.
   23   the letter that put registrants on notice that         23      Q. Do you see where the next sentence
   24   the DEA was going to start heavily enforcing           24   says, "For example, a system that identifies
                                                   Page 63                                                Page 65
    1   the SOM regulations." Correct?                          1   orders as suspicious only if the total amount
    2      A. Yes, that's what it says.                         2   of a controlled substances ordered during one
    3      Q. You stated earlier that -- I can't                3   month exceeds the amount ordered the previous
    4   remember if you said you either did not see             4   month by a certain percentage or more is
    5   this letter before or can't recall. Which one           5   insufficient."
    6   is it?                                                  6         Do you see that?
    7      A. I don't recall seeing this letter                 7      A. Yes.
    8   before.                                                 8      Q. Do you know what that means?
    9      Q. Is it possible that you've seen this              9             MR. BUSH: Objection.
   10   letter before?                                         10   BY MR. BAKER:
   11      A. I don't recall.                                  11      Q. Do you?
   12      Q. All right. Are you familiar -- well,             12             MR. BUSH: Objection.
   13   go to page 2 of the letter, if you would.              13   BY MR. BAKER:
   14          Now, you're familiar with the                   14      Q. Do you understand what that means?
   15   suspicious order monitoring system that was            15             MR. BUSH: Objection.
   16   used by CVS from 8/25/2010 forward?                    16      A. Yes.
   17               MR. BUSH: Objection.                       17   BY MR. BAKER:
   18   BY MR. BAKER:                                          18      Q. What does it mean to you?
   19      Q. Am I correct?                                    19             MR. BUSH: Objection.
   20               MR. BUSH: Objection.                       20      A. The example is saying if you are using
   21      A. I don't know what you mean by                    21   the number from the previous month to
   22   "familiar."                                            22   calculate by percentage is insufficient.
   23   BY MR. BAKER:                                          23   BY MR. BAKER:
   24      Q. Did you have anything to do with                 24      Q. You see the next sentence says, "This

   Golkow Litigation Services                                                        Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further18Confidentiality
                                                       of 79. PageID #: 470135
                                                                           Review
                                                  Page 66                                                   Page 68
    1   system fails to identify orders placed by a            1   substance, if orders never grew
    2   pharmacy if the pharmacy placed unusually              2   substantially."
    3   large orders from the beginning of its                 3         Do you see that?
    4   relationship with the distributor."                    4      A. Yes.
    5          Do you see that?                                5      Q. Do you see it says, "Nevertheless,
    6       A. Yes.                                            6   ordering one highly abused controlled
    7       Q. Let me give you an example.                     7   substance and little or nothing else deviates
    8          Suppose -- suppose you had a CVS store          8   from the normal pattern of what pharmacies
    9   that was not monitored all the way up until a          9   generally order."
   10   certain time frame and during that time frame         10         Do you see that?
   11   it reached an average purchase of say 30,000          11      A. Yes.
   12   hydrocodone combination products per month,           12      Q. To you, does that mean that if a
   13   and now we start monitoring at CVS through the        13   pharmacy orders hydrocodone combination
   14   suspicious order monitoring system whether or         14   products and little or nothing else that it
   15   not drugs ordered the following month are             15   deviates from the normal pattern of what
   16   consistent with what was ordered the prior            16   pharmacies generally order?
   17   month to determine whether or not it might be         17             MR. BUSH: Objection.
   18   more ordered the following month than the             18      A. I don't think I can say.
   19   prior month.                                          19      Q. Let's move on to the next exhibit.
   20          Do you understand that example --              20
   21              MR. BUSH: Objection.                       21         (Exhibit No. 61 marked for
   22   BY MR. BAKER:                                         22   identification.)
   23       Q. -- as a hypothetical?                          23
   24              MR. BUSH: Objection.                       24   BY MR. BAKER:
                                                    Page 67                                                  Page 69
    1   BY MR. BAKER:                                          1      Q. Let me show you Exhibit No. 61. Have
    2       Q. Do you understand what I just said?             2   you ever seen Exhibit No. 61 before? It's an
    3       A. If more are ordered the next month?             3   e-mail dated 5/8/2013 with CVS Bates Number
    4       Q. Yes, ma'am.                                     4   55266. It's from Craig Schiavo to a man named
    5       A. I understand your example.                      5   Aaron Burtner regarding an attachment of a DEA
    6       Q. If the -- if the 30,000 that had                6   letter, that same DEA letter that I just
    7   already been ordered in that hypothetical              7   discussed with you dated December 27, 2007.
    8   example had not been monitored properly before         8      A. Not that I recall.
    9   it's compared against the months subsequent to         9      Q. Do you know who Craig Schiavo is?
   10   that, then we're starting with a number to            10      A. Yes, I know who he is.
   11   compare subsequent months against -- that is          11      Q. Who is Mr. Schiavo?
   12   an unmonitored number to begin with to compare        12      A. He's -- he used to work at CVS.
   13   it against; am I correct?                             13      Q. In what capacity?
   14              MR. BUSH: Objection.                       14      A. I don't know his exact positions, but
   15   BY MR. BAKER:                                         15   I -- he was in pharmacy operations at one
   16       Q. Using that example hypothetically?             16   time.
   17              MR. BUSH: Objection.                       17      Q. And who is Aaron Burtner?
   18       A. Yeah, hypothetically, for that                 18      A. I believe Aaron -- I know the name,
   19   example, yes.                                         19   but I can't really recall what he did.
   20   BY MR. BAKER:                                         20      Q. Did his job have something to do with
   21       Q. You see where it says here -- the next         21   suspicious order monitoring within the CVS
   22   sentence it says, "Although this system would         22   companies?
   23   not identify orders as suspicious if the order        23      A. I can't recall.
   24   were solely one highly abused controlled              24      Q. Do you see where this e-mail says, "In

   Golkow Litigation Services                                                        Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further19Confidentiality
                                                       of 79. PageID #: 470136
                                                                           Review
                                              Page 70                                                   Page 72
    1   case you haven't read the letter that started     1   e-mail dated 5/18/34 (sic) between Mr. Schiavo
    2   all of this SOM stuff and the wholesalers         2   of CVS and Mr. Burtner of CVS that it, indeed,
    3   getting fined, attached is what started it        3   was this letter dated December 27, 2007 that
    4   all. Thank you. Craig."                           4   started this SOM stuff?
    5          Do you see that?                           5              MR. BUSH: Objection.
    6      A. Yes, I do.                                  6      A. I can't answer that.
    7      Q. Did anybody at CVS tell you that it         7   BY MR. BAKER:
    8   was the DEA letter of December 27, 2007 that      8      Q. Well, you're not familiar with any SOM
    9   started all of this suspicious order              9   stuff that CVS was engaging in before 2007,
   10   monitoring stuff?                                10   correct?
   11      A. Not that I can recall.                     11              MR. BUSH: Objection.
   12      Q. Do you remember the document I had         12      A. I can't recall.
   13   shown you previously earlier today that talked   13   BY MR. BAKER:
   14   about the Controlled Substance Act, which        14      Q. You can't recall. Is that what your
   15   required suspicious order monitoring has been    15   answer was?
   16   in effect since 1971? Do you remember that       16      A. Yes.
   17   document?                                        17      Q. All right. Next I'm going to show you
   18      A. Yes.                                       18   what's marked as Exhibit No. 12 and it is CVS
   19      Q. Is it true that CVS only started           19   Bates Document No. 2188.
   20   taking notice of the need to implement a         20
   21   suspicious order monitoring policy as a result   21          (Exhibit No. 12 marked for
   22   of this letter that was received December 27,    22   identification.)
   23   2007?                                            23
   24      A. I can't --                                 24   BY MR. BAKER:
                                              Page 71                                                    Page 73
    1               MR. BUSH: Objection.                  1     Q. And at the top, it says, "SOM
    2      A. I can't -- I can't answer that.             2   Program." Do you see that?
    3   BY MR. BAKER:                                     3     A. Yes, I see that.
    4      Q. Is it true that this letter dated           4     Q. Do you know what a SOM program means,
    5   December 27, 2007 was the catalyst to get CVS     5   yes or no?
    6   started on suspicious order monitoring            6     A. Yes, suspicious order monitoring.
    7   policies, yes or no?                              7     Q. As an employee of CVS, in your job do
    8               MR. BUSH: Objection.                  8   you have anything at all to do with suspicious
    9      A. I can't -- I can't answer that.             9   order monitoring programs?
   10   BY MR. BAKER:                                    10     A. No.
   11      Q. You're not familiar with CVS having        11     Q. Have you ever had anything at all to
   12   any written suspicious order monitoring policy   12   do with suspicious order monitoring programs?
   13   that became part of its SOP or standard          13     A. No. The program itself, no.
   14   operating procedures at any time in 2006, are    14     Q. Have you ever had anything to do with
   15   you?                                             15   drafting or implementation of suspicious order
   16      A. I can't recall.                            16   monitoring programs within CVS?
   17      Q. You're not familiar with there being       17     A. Not a program, no.
   18   any suspicious order monitoring policy of CVS    18     Q. Have you ever had anything to do with
   19   that is in written form and became part of a     19   drafting or inserting into the standard
   20   policy and procedure or standard operating       20   operating procedures of CVS a suspicious order
   21   procedure within CVS in 2007; am I correct?      21   monitoring policy?
   22      A. I can't recall.                            22             MR. BUSH: Objection. Compound.
   23      Q. Does it appear to you from reading         23     A. I wasn't responsible for drafting any
   24   this letter that -- I mean, from reading the     24   SOM policies.

   Golkow Litigation Services                                                    Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further20Confidentiality
                                                       of 79. PageID #: 470137
                                                                           Review
                                               Page 74                                                  Page 76
    1   BY MR. BAKER:                                     1
    2      Q. Have you ever been responsible for or       2               THE VIDEOGRAPHER: The time is
    3   participated within the process of inserting a    3   10:37 a.m. and we're on the record.
    4   suspicious order monitoring policy within the     4   BY MR. BAKER:
    5   suspicious -- within the policies and             5      Q. Ms. Propatier, I'm going to hand you
    6   procedures or standard operating procedures of    6   Plaintiff's Exhibit 204.
    7   CVS?                                              7               MR. BAKER: I'll give a copy to
    8              MR. BUSH: Objection.                   8   your counsel.
    9      A. I was responsible for updating SOPs.        9   BY MR. BAKER:
   10      Q. Are you familiar with the                  10      Q. Do you recognize this to be the
   11   know-your-customer policy of the DEA?            11   Controlled Drug DEA Standard Operating
   12      A. No.                                        12   Procedures Manual of the CVS distribution
   13      Q. You've never heard of that?                13   center, effective date 12/1/07, with revision
   14      A. Not that I recall.                         14   dates having several but last revised under
   15      Q. Let me show you this DEA policy and        15   this revision 11/8 of 2011?
   16   what it states according to this CVS document.   16         Do you see that up at the top?
   17          The policy states, "It is fundamental     17      A. Yes.
   18   for sound operations that handlers take          18      Q. You've seen these before, have you
   19   reasonable measures to identify their            19   not?
   20   customers, understand the normal and expected    20      A. Yes.
   21   transactions typically conducted by those        21      Q. Okay. Let me direct your attention to
   22   customers, and consequently identify those       22   Section X, which would be 10-8, which is going
   23   transactions conducted by their customers that   23   to be page number -- Bates Number 8559.
   24   are suspicious in nature."                       24               VOICE: Can we get a
                                               Page 75                                                   Page 77
    1         Have you ever heard of that policy          1   beginning Bates number for the document?
    2   before today?                                     2              MR. BAKER: Yes. The beginning
    3      A. I don't recall ever seeing this             3   Bates number is 8506. The ending Bates number
    4   policy.                                           4   is 8571.
    5      Q. Have you ever heard of that policy          5              MR. BUSH: 85590 (sic) is where
    6   before today?                                     6   you would like her to --
    7      A. I don't recall.                             7              MR. BAKER: Yes.
    8      Q. In your job with CVS pharmacy, you          8              MR. BUSH: -- look, right?
    9   never were instructed on this policy?             9              MR. BAKER: Yes, sir. Could we
   10      A. Instructed how?                            10   show this under the document?
   11      Q. In any manner.                             11              MR. BUSH: Take your time to be
   12      A. Not that I recall.                         12   familiar with the document. It's a long
   13      Q. Let's move on. I'm going to show           13   document.
   14   you --                                           14         (Witness reviews document.)
   15             MR. BAKER: Let's go off record         15   BY MR. BAKER:
   16   for a second.                                    16      Q. Go to X-5. The Bates is 8556.
   17             THE VIDEOGRAPHER: The time is          17         Could I get you, please, to highlight
   18   10:27 a.m. and we're off the record.             18   the last sentence of Paragraph 11, beginning
   19                                                    19   with "Amy Propatier."
   20          (Recess taken from 10:27 a.m.             20         Ms. Propatier, are you familiar with
   21         to 10:37 a.m.)                             21   this document that is now before you?
   22                                                    22      A. Yes.
   23          (Exhibit No. 204 previously marked        23              MR. BUSH: Asked and answered.
   24   for identification.)                             24   BY MR. BAKER:

   Golkow Litigation Services                                                    Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further21Confidentiality
                                                       of 79. PageID #: 470138
                                                                           Review
                                                 Page 78                                                   Page 80
    1      Q. The answer is yes?                              1   SOPs. My title -- my job position title was
    2      A. Yes.                                            2   logistics pharmacy services manager.
    3      Q. I'd like you to look at Paragraph 11            3   BY MR. BAKER:
    4   on page X-5, which is 10 -- Subsection 10-5.          4      Q. Did you ever hold the title of CVS DEA
    5         Do you see that?                                5   compliance coordinator?
    6             MR. BUSH: I would ask you to                6      A. Yes. As a title for SOP reference,
    7   make sure that you've had a chance to look            7   yes.
    8   through the documents.                                8      Q. And did you perform duties as a DEA
    9             THE WITNESS: I'm trying.                    9   coordinator or not -- DEA compliance
   10             MR. BUSH: Make sure you                    10   coordinator for CVS? Let me repeat the
   11   understand where it is.                              11   question.
   12             THE WITNESS: Yeah.                         12         Did you perform duties as a CVS DEA
   13             (Witness reviews document.)                13   compliance coordinator while under the employ
   14   BY MR. BAKER:                                        14   of CVS?
   15      Q. Ma'am, I'll hand it to you, if you             15      A. What type of duties? I don't know
   16   would like.                                          16   what you mean.
   17             MR. BUSH: She has it, don't                17      Q. Did you perform any type of DEA
   18   you?                                                 18   compliance coordinator duties while under the
   19             THE WITNESS: Yeah, I'm just                19   employ of CVS?
   20   reading. I'm just reading where I am.                20      A. I submitted ARCOS reporting, yes.
   21   BY MR. BAKER:                                        21      Q. Did you have anything at all to do
   22      Q. Ma'am, are you familiar with the               22   with suspicious order monitoring?
   23   document in front of you?                            23              MR. BUSH: Objection, but you
   24             MR. BUSH: Objection. Asked and             24   can answer.
                                                   Page 79                                                   Page 81
    1   answered.                                             1       A. No, only updating the SOP with what
    2     A. Yes.                                             2   was provided for the program.
    3   BY MR. BAKER:                                         3       Q. Let's go to the next numbered exhibit.
    4     Q. Yes?                                             4           Now, who, other than this document,
    5     A. Yes.                                             5   ever called you by the title CVS DEA
    6     Q. Okay. And would you please direct                6   compliance coordinator? Who within the
    7   your attention to page X-5, which is 10-5,            7   company ever called you that other than this
    8   Paragraph 11, last sentence?                          8   document?
    9        Do you see that?                                 9               MR. BUSH: Objection. If you
   10     A. Uh-huh.                                         10   understand, you can answer.
   11     Q. Yes?                                            11       A. I don't -- I'm not sure what you mean.
   12     A. Yes.                                            12   BY MR. BAKER:
   13     Q. Your name is Amy Propatier, correct?            13       Q. You've told me about your logistics
   14     A. Yes.                                            14   title, correct?
   15     Q. And this document says that "Amy                15       A. Yes.
   16   Propatier (CVS DEA compliance coordinator) and       16       Q. And name that title again, what it is.
   17   Frank Devlin, director of logistics loss             17       A. Logistics pharmacy services manager.
   18   prevention." Is that correct?                        18       Q. At any place within CVS, other than
   19     A. Yes.                                            19   within this document that I showed you, were
   20     Q. Were you, at the time of this                   20   you ever listed within CVS as a DEA compliance
   21   document, the CVS DEA compliance                     21   coordinator?
   22   coordinator?                                         22       A. Do you mean like in personnel, like as
   23             MR. BUSH: Well, objection.                 23   the company?
   24     A. That was a title for reference in               24       Q. Yes, ma'am.

   Golkow Litigation Services                                                        Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further22Confidentiality
                                                       of 79. PageID #: 470139
                                                                           Review
                                                 Page 82                                             Page 84
    1       A. Not in personnel records, no.                1      A. I don't recall it.
    2       Q. Okay. Do you know why CVS put you in         2      Q. Let me read the e-mail. It says,
    3   here as the CVS DEA compliance coordinator          3   "Good morning, Amy." That would be you,
    4   within their controlled drug DEA Standard           4   correct?
    5   Operating Procedures Manual?                        5      A. Yes.
    6       A. It was a title just for SOP purposes         6      Q. And this is from Mr. Mortelliti?
    7   because people change positions, that it would      7      A. Yes.
    8   be -- that would be the position they referred      8      Q. And who is Mr. Mortelliti at this
    9   to because the person in title may change. So       9   time?
   10   if they had one specific title for this point      10      A. He was the loss prevention in the
   11   of contact, it could change if the person or       11   Lumberton distribution center.
   12   position changed.                                  12      Q. It says, "I attached the PSE SOP to
   13       Q. Were you ever the CVS DEA compliance        13   this e-mail. The controlled drug SOP is being
   14   coordinator?                                       14   reviewed by counsel."
   15       A. In regards to?                              15         Do you know what the controlled drug
   16       Q. Your job at CVS.                            16   SOP means?
   17       A. My job was the pharmacy services            17      A. I can't recall --
   18   manager. This title was for SOP purposes.          18      Q. Would that --
   19       Q. Were you ever -- for personnel              19      A. -- what he's referring to.
   20   purposes ever considered the CVS DEA               20      Q. Would that be controlled drug standard
   21   compliance coordinator?                            21   operating procedure?
   22       A. No, I was not.                              22      A. I can't recall if that's what he was
   23       Q. It's just something that's listed           23   referring to.
   24   within the Controlled Drug DEA Standard            24      Q. Do you know what a controlled drug SOP
                                                 Page 83                                             Page 85
    1   Operating Procedures Manual that says that's        1   is?
    2   what you are; is that correct?                      2      A. I know what controlled drug SOPs are,
    3            MR. BUSH: Objection.                       3   yes.
    4     A. In this manual, yes.                           4      Q. What are they?
    5   BY MR. BAKER:                                       5      A. They would be our SOPs for our
    6     Q. Were you employed by CVS on 8/23/2010?         6   distribution centers.
    7     A. Yes.                                           7      Q. Which are standard operating
    8     Q. Let me show you what's marked as               8   procedures --
    9   Exhibit No. 98.                                     9      A. Yes.
   10                                                      10      Q. -- with respect to controlled drugs?
   11          (Exhibit No. 98 marked for                  11      A. Yes.
   12   identification.)                                   12      Q. Controlled drugs include narcotics
   13                                                      13   such as hydrocodone-combination products,
   14   BY MR. BAKER:                                      14   correct?
   15     Q. This is Bates Number 89188. It's an           15      A. Correct.
   16   e-mail dated 8/23/2010 from John Mortelliti to     16      Q. Controlled drugs also include
   17   Frank Devlin with a copy going to you, Amy         17   OxyContin and oxymorphone drugs, correct,
   18   Propatier, correct?                                18   although the distribution centers did not
   19     A. Yes. Yes.                                     19   handle those, correct?
   20     Q. It's actually an e-mail string,               20      A. Correct.
   21   correct?                                           21      Q. Those drugs were sold at CVS retail
   22     A. Yes.                                          22   stores though, correct, the oxymorphone and
   23     Q. Okay. Have you ever seen this e-mail          23   oxycodone?
   24   before or do you recall this e-mail?               24      A. I would assume, but I can't say for

   Golkow Litigation Services                                                    Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further23Confidentiality
                                                       of 79. PageID #: 470140
                                                                           Review
                                              Page 86                                              Page 88
    1   certain because I didn't work in retail.          1   BY MR. BAKER:
    2      Q. It then goes on to state, "I hope to        2      Q. This is Bates Number 88956 through
    3   receive it back today. I will forward it as       3   89025, correct, the first page and the last
    4   soon as I get the information, that the draft     4   page?
    5   is acceptable."                                   5      A. Yes.
    6         Do you see that?                            6      Q. This is an e-mail from you, Amy
    7      A. Yes, I see that.                            7   Propatier, to Annette Lamoureux, dated
    8      Q. Did I read that correctly?                  8   8/26/2010; is that correct?
    9      A. Yes.                                        9      A. Correct.
   10      Q. The next is -- in that string is an        10      Q. And this relates to a DEA SOP
   11   e-mail dated August 23, 2010 from Frank Devlin   11   8/25/2010, correct?
   12   to John Mortelliti copying you, Amy Propatier,   12      A. 8/26?
   13   correct?                                         13      Q. It says DEA SOP --
   14      A. Yes.                                       14      A. Oh wait, sorry.
   15      Q. And it's regarding the DEA SOP.            15      Q. -- 8/25/2010, does it not?
   16         Do you see that?                           16      A. Yes.
   17      A. Yes.                                       17      Q. And then you turn the next page and it
   18      Q. It says, "Good morning, John. Can you      18   has the effective date of the standard
   19   work with Amy to get the PSE IRR and             19   operating procedures manual, was 12/1/07,
   20   controlled drug IRR inserted into our DEA SOP    20   correct?
   21   under suspicious order monitoring? We            21      A. Correct.
   22   promised this to the DEA by Wednesday."          22      Q. That was the initial written standard
   23         Do you see that?                           23   operating procedures manual of CVS. That's
   24      A. Yes.                                       24   the first one, 12/1 of 2007, correct --
                                              Page 87                                              Page 89
    1      Q. Do you know what that is referencing        1               MR. BUSH: Objection.
    2   "We promised this to the DEA by Wednesday,"       2   BY MR. BAKER:
    3   what that's all about?                            3      Q. -- in this series?
    4      A. I don't recall.                             4      A. In this series.
    5      Q. Did you know at the time of this            5      Q. Correct? Is that correct?
    6   e-mail that there was an inspection by the DEA    6      A. For this document, yes.
    7   going on at the Indianapolis distribution         7      Q. And this revision is 8/25/2010,
    8   center?                                           8   correct?
    9      A. I can't say if I recall.                    9      A. Correct.
   10      Q. Do you recall what the reason was that     10      Q. And what was going on is that CVS, for
   11   this SOM policy -- this written SOM policy was   11   the first time, was adding a written
   12   attempting to be inserted into the standard      12   suspicious order monitoring policy within its
   13   operating procedure of CVS during that same      13   standard operating procedure manual, correct?
   14   time frame that the inspection was going on at   14      A. I can't say --
   15   the Indianapolis facility?                       15               MR. BUSH: Objection.
   16             MR. BUSH: Objection.                   16      A. -- that.
   17      A. I can't say I recall.                      17   BY MR. BAKER:
   18   BY MR. BAKER:                                    18      Q. Are you familiar with whether -- let
   19      Q. Now, let me show you what's marked as      19   me ask you this: Do you know of any
   20   Exhibit No. 97.                                  20   suspicious order monitoring written policy
   21                                                    21   that was ever made part of a standard
   22          (Exhibit No. 97 marked for                22   operating procedures manual for CVS before
   23   identification.)                                 23   this date, 8/25/2010, reflected in your
   24                                                    24   e-mail?

   Golkow Litigation Services                                                  Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further24Confidentiality
                                                       of 79. PageID #: 470141
                                                                           Review
                                              Page 90                                              Page 92
    1      A. I can't recall.                             1   before yesterday, something that you review
    2      Q. Would the answer be no, you're not          2   every week? Tell me. Tell me.
    3   familiar with any prior written standard          3      A. I don't work with this document in my
    4   operating suspicious order monitoring written     4   current role.
    5   policy being inserted within an SOP before        5      Q. Had you ever read this document before
    6   8/25/10? You're not familiar with that?           6   yesterday?
    7               MR. BUSH: Objection. Asked and        7      A. I'm sure I have, yes.
    8   answered.                                         8      Q. Do you know when that would have
    9   BY MR. BAKER:                                     9   been?
   10      Q. You say you don't recall?                  10      A. I can't remember.
   11      A. Yeah I don't recall.                       11      Q. Let me direct you to section Roman
   12      Q. Let me ask you this way: Have you          12   numeral 8, Subsection D. And it's Roman
   13   ever seen a written SOM, suspicious order        13   numeral 8-5.
   14   monitoring, policy of CVS at any time that was   14              MR. BUSH: This is Bates Number
   15   part of the standard operating procedures        15   8995; is that right?
   16   manual of CVS at any time before 8/25/2010?      16              MR. BAKER: Yes. This is going
   17               MR. BUSH: Objection. Asked and       17   to be page Number 8995. Give me just a
   18   answered.                                        18   second. Let's go off record for just a
   19      A. Yeah, I don't recall.                      19   second.
   20   BY MR. BAKER:                                    20              THE VIDEOGRAPHER: The time is
   21      Q. All right. Did you read this document      21   10:55 am. We're off the record.
   22   that's called "DEA SOP 8/25/10" that's           22
   23   attached to this e-mail before you wrote this    23           (Recess taken from 10:55 a.m.
   24   e-mail that says, "Can you please post? We       24           to 10:58 a.m.)
                                              Page 91                                              Page 93
    1   added this suspicious order monitoring"?          1
    2         Did you read the document before you        2              THE VIDEOGRAPHER: The time is
    3   asked for it to be posted?                        3   10:58 a.m. We're on the record.
    4     A. I can't remember.                            4              MR. BUSH: I'm going to object
    5     Q. At any time in your preparations for         5   in the future for going off the record to try
    6   your testimony, have you reviewed this            6   and figure out where you are in your
    7   document?                                         7   questioning. This is your time.
    8     A. I've seen --                                 8         And I understand if there were
    9             MR. BUSH: You can say yes or            9   problems with the witness answering, taking
   10   no --                                            10   too long. And I understand you've got a time
   11     A. Yes.                                        11   limit, but I don't think it's appropriate to
   12             MR. BUSH: -- but --                    12   go off the record while you try to figure out
   13     A. Yes.                                        13   where you are in your questions.
   14   BY MR. BAKER:                                    14         I'm just putting that on the record.
   15     Q. Yes?                                        15   We'll worry about that in the future.
   16     A. I've seen this document.                    16              MR. BAKER: I'll just use my
   17     Q. When did you last review this               17   time as I deem appropriate.
   18   document?                                        18              MR. BUSH: Well, I'm not
   19     A. I saw it yesterday.                         19   necessarily agreeing that you get to go off
   20     Q. And when did you last see it before         20   the record. I'm telling you that now.
   21   yesterday?                                       21   Hopefully it won't be an issue.
   22     A. I don't know. I can't recall.               22   BY MR. BAKER:
   23     Q. Is this something that you review           23      Q. Let me show you Exhibit No. 94.
   24   annually, something that you never reviewed      24


   Golkow Litigation Services                                                  Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further25Confidentiality
                                                       of 79. PageID #: 470142
                                                                           Review
                                              Page 94                                               Page 96
    1         (Exhibit No. 94 marked for                  1   e-mail?
    2   identification.)                                  2       A. Yes.
    3                                                     3       Q. Okay. Are you familiar with what the
    4   BY MR. BAKER:                                     4   big issue was with CVS and the DEA relative to
    5      Q. I would ask you if you've ever seen         5   getting a rough draft of the SOM SOP?
    6   this exhibit before. That's an e-mail dated       6              MR. BUSH: Objection. Go ahead.
    7   11/5/2009.                                        7       A. I don't know what he's referring to.
    8          Do you see that?                           8   BY MR. BAKER:
    9      A. Uh-huh, yes.                                9       Q. Other than participating with
   10      Q. Do you see where this is an e-mail         10   requesting that the suspicious order
   11   from Mr. John Mortelliti to Christopher Knight   11   monitoring policy be inserted into the SOP on
   12   dated 11/5/2009?                                 12   8/25/2010, did you have anything at all to do
   13      A. Yes.                                       13   with that policy, whether it be drafting it or
   14      Q. Who is John Mortelliti at this time of     14   implementing it, in your job at CVS?
   15   2009?                                            15       A. With the whole policy?
   16      A. He worked in loss prevention in the        16       Q. Yes, ma'am, the suspicious order
   17   Lumberton distribution center.                   17   monitoring policy.
   18      Q. And who is Christopher Knight              18       A. I worked with implementing it, the
   19   11/5/2009?                                       19   DCs, like sending it out to make sure
   20      A. I do not know.                             20   everybody had it, and updating information in
   21      Q. Let me read the e-mail. Tell me if         21   it.
   22   this is a correct reading.                       22       Q. Other than that, did you have anything
   23          It says, "Sounds good. I'm trying to      23   to do with it?
   24   get a rough draft SOM SOP to you prior to the    24       A. As far as?
                                              Page 95                                               Page 97
    1   meeting. This is a big issue with CVS and the     1       Q. You've answered the question. Other
    2   DEA."                                             2   than that, did you?
    3         Do you see that?                            3       A. Not that I recall.
    4      A. Yes.                                        4       Q. And insofar as you're implementing it,
    5      Q. Do you know what the context of that        5   the implementation of it would have been which
    6   big issue is with CVS and the DEA relative to     6   title job, the one listed in the SOM SOP or
    7   an SOM SOP being drafted?                         7   the one that you're listed in personnel?
    8      A. I do not.                                   8       A. Both titles were on my name, so I
    9               MR. BUSH: Objection.                  9   would have e-mailed it out as my -- in my
   10      Q. Okay. Let me --                            10   script line.
   11               MR. BUSH: Let me just object.        11       Q. Let me show you an exhibit that's an
   12   BY MR. BAKER:                                    12   e-mail dated 9/1/2010. And we'll mark it as
   13      Q. I'll ask the question again because he     13   Exhibit No. 81.
   14   overrode your answer.                            14
   15               MR. BUSH: No. Actually, I            15          (Exhibit No. 81 marked for
   16   think it's reflected on the record.              16   identification.)
   17   BY MR. BAKER:                                    17
   18      Q. Let me read this again. It says,           18   BY MR. BAKER:
   19   "Sounds good. I'm trying to get a rough draft    19     Q. It's Bates Number 75299 through 75312.
   20   SOM SOP to you prior to the meeting. This is     20   Have you ever seen this e-mail before or this
   21   a big issue with CVS and the DEA."               21   e-mail string?
   22         Do you see that, where I read that?        22     A. (Witness reviews document.)
   23      A. Yes.                                       23              MR. BUSH: Take your time and
   24      Q. Is that a correct reading of that          24   look through it.

   Golkow Litigation Services                                                   Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further26Confidentiality
                                                       of 79. PageID #: 470143
                                                                           Review
                                              Page 98                                                  Page 100
    1             THE WITNESS: I am.                      1   something that's just there.
    2      A. (Witness reviews document.)                 2      Q. Okay. As opposed to a tool. What's a
    3         Not that I recall.                          3   tool?
    4   BY MR. BAKER:                                     4              MR. BUSH: Objection.
    5      Q. Now, you recall that in that 8/25/10        5      A. I guess my definition of a tool is
    6   SOP and ones thereafter, you had a title that     6   something you use.
    7   was DEA compliance coordinator. Do you            7   BY MR. BAKER:
    8   remember that?                                    8      Q. Was your name being inserted into the
    9      A. Yes.                                        9   SOM portion of the policies and procedures
   10      Q. Now, let me ask you to look at the         10   manual simply a prop when you were being
   11   e-mail -- well, before I go to my next           11   described as DEA compliance coordinator?
   12   question, you remember that in personnel at no   12              MR. BUSH: Objection.
   13   time were you ever listed in that position; is   13   BY MR. BAKER:
   14   that correct?                                    14      Q. Is that what it was?
   15      A. Correct.                                   15              MR. BUSH: Objection.
   16      Q. Now, look at the e-mail on this            16      A. I don't recall my name in the SOM
   17   document dated September 1, 2010 at 10:53 a.m.   17   portion of the SOP.
   18   between John Mortelliti and various people.      18   BY MR. BAKER:
   19         Do you see that?                           19      Q. I showed you one at a later date where
   20      A. Yes.                                       20   you were put in there.
   21      Q. It talks about -- the subject is "DEA      21              MR. BUSH: Objection. That
   22   Speaking Points."                                22   misstates the record. Objection.
   23         Do you see that?                           23      A. Yeah, I don't recall that that
   24      A. Yes.                                       24   referred to me in the SOM capacity.
                                              Page 99                                                    Page 101
    1       Q. And the importance is high, correct?       1   BY MR. BAKER:
    2       A. Yes.                                       2      Q. Could you hand me Exhibit 204, please?
    3       Q. It says, "Team, these are the final        3              MR. BUSH: You want her to hand
    4   approved speaking points for the DEA agents if    4   you the one that she has or you want your own?
    5   they come out -- if they come to one of your      5              MR. BAKER: Exhibit 204.
    6   facilities and question suspicious monitoring.    6              MR. BUSH: She's going to need
    7   It is okay to share this document. Please be      7   to look at it.
    8   sure your team understands it before              8   BY MR. BAKER:
    9   presenting it so it doesn't look like a prop      9      Q. Do you remember, in Exhibit 204, I
   10   instead of a tool."                              10   asked you to look at page X-8, which is 10-8,
   11          Is that what it says?                     11   on Bates Number 8559?
   12       A. That's what it says.                      12              MR. BUSH: Okay. Hold on. Let
   13       Q. Is "prop" is something that's a false     13   me get where we are.
   14   premise; is that correct?                        14   BY MR. BAKER:
   15               MR. BUSH: Objection.                 15      Q. Do you remember that? Do you remember
   16       A. I don't know the definition off the       16   that?
   17   top of my head.                                  17      A. Yes, yes.
   18   BY MR. BAKER:                                    18      Q. Do you remember where in this
   19       Q. What is a prop? What is a prop?           19   manual -- and this is the one that's
   20               MR. BUSH: Objection.                 20   updated -- this is 12/1/07 that was updated on
   21   BY MR. BAKER:                                    21   8/25/10 where insertion of the SOM into the
   22       Q. What do you -- what is your definition    22   SOP exists. And now the most recent revision
   23   of a prop?                                       23   date in this document is 11/8/11 -- that it
   24       A. My definition of a prop? I don't --       24   lists you as CVS DEA compliance coordinator?

   Golkow Litigation Services                                                  Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further27Confidentiality
                                                       of 79. PageID #: 470144
                                                                           Review
                                             Page 102                                              Page 104
    1          Do you see that?                           1   just the SOM part.
    2               MR. BUSH: Objection. You can          2              MR. BAKER: I'll restate the
    3   answer.                                           3   question.
    4      A. Yes.                                        4   BY MR. BAKER:
    5   BY MR. BAKER:                                     5      Q. Do you recall performing any duties as
    6      Q. Do you see in this document -- because      6   a CVS DEA compliance coordinator before
    7   there's an objection. I'm not sure what the       7   8/25/10?
    8   objection is, so I'm going to keep asking the     8      A. In reference to the SOP? My title was
    9   question until I get it right.                    9   pharmacy manager, but I don't recall
   10          There is a document that I've shown       10   specifically.
   11   you on page X-8, which is Bates Number 8559,     11      Q. My question then is with you being
   12   that lists you, Amy Propatier, as CVS DEA        12   described as the CVS DEA compliance
   13   compliance coordinator, correct?                 13   coordinator on 8/25/10, was that a prop or was
   14      A. Yes.                                       14   that a tool?
   15      Q. And this is part of controlled drug        15              MR. BUSH: Objection.
   16   DEA Standard Operating Procedures Manual of      16      A. That was --
   17   CVS distribution center, effective date          17              MR. BUSH: Go ahead.
   18   12/1/07, last updated 11/8/11, correct?          18      A. That was a contact tool.
   19      A. Correct.                                   19   BY MR. BAKER:
   20      Q. Were you the CVS DEA compliance            20      Q. A contact tool?
   21   coordinator when you participated via e-mail     21      A. Yes.
   22   to have the SOM inserted into the SOP 8/25/10,   22      Q. Other than a contact tool, was there
   23   yes or no?                                       23   any reason for you to be named as a DEA
   24      A. Yes.                                       24   compliance coordinator 8/25/10, that you're
                                             Page 103                                              Page 105
    1      Q. Were you considered the CVS DEA             1   aware of?
    2   compliance coordinator as a prop or as a          2      A. Not that I recall.
    3   tool?                                             3      Q. As a contact tool, that means that if
    4              MR. BUSH: Objection.                   4   the DEA comes knocking that they're supposed
    5      A. As a tool.                                  5   to contact you; is that right?
    6   BY MR. BAKER:                                     6      A. No.
    7      Q. And your tools that you used to be CVS      7      Q. You're just a contact tool for the
    8   DEA compliance coordinator, 8/25/10, that you     8   purpose of being somebody that has a title
    9   were implementing on 8/25/10 were exactly         9   named DEA compliance coordinator to put into
   10   what?                                            10   an SOM at that time; is that correct?
   11      A. I was updating an SOP.                     11      A. No.
   12      Q. Other than updating an SOP, did you do     12      Q. Are you familiar with what an IRR is?
   13   anything in your duties as a DEA compliance      13      A. No.
   14   coordinator 8/25/10?                             14      Q. If I told you that it was an internal
   15      A. Not that I can recall.                     15   review report would that surprise you?
   16      Q. And had you been doing anything up to      16      A. No.
   17   8/25/10 as a CVS DEA compliance coordinator?     17      Q. Did you have anything to do as DEA
   18              MR. BUSH: May I ask a point of        18   compliance coordinator for CVS with either
   19   clarification?                                   19   drafting policies and procedures that dealt
   20              MR. BAKER: You can object to          20   with IRRs or implementing the IRR program?
   21   form.                                            21      A. No.
   22              MR. BUSH: Well, I object to           22      Q. Let me show you Exhibit No. 36.
   23   form. I think it's ambiguous, what you --        23
   24   whether you're asking about the whole SOP or     24        (Exhibit No. 36 marked for

   Golkow Litigation Services                                               Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further28Confidentiality
                                                       of 79. PageID #: 470145
                                                                           Review
                                                Page 106                                              Page 108
    1   identification.)                                     1   context of being named that, whether you
    2                                                        2   actually did anything or not, that the IRR's
    3   BY MR. BAKER:                                        3   mandated by the DEA; therefore, CVS had to
    4      Q. It is Bates Number 12286. It's an              4   adhere to this monitoring policy?
    5   e-mail dated 12/26/2011, subject matter, "IRR        5             MR. BUSH: Objection.
    6   bullet points revised DEA speaking points."          6      A. Can you say that again?
    7          Do you see that?                              7   BY MR. BAKER:
    8      A. Yes.                                           8      Q. In your title as DEA compliance
    9      Q. The prior e-mail I showed you that             9   coordinator, were you ever taught that the IRR
   10   discussed a prop versus a tool. That was also       10   is mandated by the DEA?
   11   a DEA speaking point e-mail, correct? We'll         11      A. Not that I recall.
   12   let it speak for itself --                          12      Q. Do you disagree with this e-mail that
   13      A. Yes.                                          13   Mr. Lawson is sending to Mr. Scholl, that the
   14      Q. -- but you recall that, right?                14   IRR is mandated by the DEA, therefore, "we,"
   15      A. Yes, I recall that.                           15   meaning CVS, have to adhere to this monitoring
   16      Q. And it was a DEA speaking point e-mail        16   policy?
   17   was it not?                                         17             MR. BUSH: Objection.
   18              MR. BUSH: Exhibit 81.                    18   BY MR. BAKER:
   19      A. Was it this one?                              19      Q. Do you disagree with that?
   20          (Witness reviews document.)                  20             MR. BUSH: Objection.
   21          That's what it refers to.                    21      A. No.
   22   BY MR. BAKER:                                       22   BY MR. BAKER:
   23      Q. And here's another DEA speaking points        23      Q. You were never told as DEA compliance
   24   e-mail dated 12/26/2011, correct?                   24   coordinator -- in your title as a DEA
                                                 Page 107                                             Page 109
    1      A. Yes.                                           1   compliance regulator that an IRR program was
    2      Q. This says -- below, at the bottom, the         2   even going on within CVS?
    3   last paragraph, this is from Paul Lawson to          3              MR. BUSH: Objection. Misstates
    4   Joseph Scholl, 12/26/2011, correct?                  4   her title.
    5      A. Yes.                                           5   BY MR. BAKER:
    6      Q. And do you know who Paul Lawson was at         6      Q. What was your title?
    7   the time of this e-mail?                             7      A. Coordinator.
    8      A. I know the name.                               8              MR. BUSH: You used the word
    9      Q. Do you know what department he was in?         9   "regulator."
   10      A. I don't remember.                             10      A. Yes, yes.
   11      Q. Do you know Joseph Scholl at the time         11   BY MR. BAKER:
   12   of this e-mail?                                     12      Q. As DEA compliance coordinator at CVS,
   13      A. I know the name.                              13   were you ever even told about the IRR program
   14      Q. Do you know what department he was in?        14   and what it meant and how it was
   15      A. I don't recall.                               15   implemented?
   16      Q. Let me read the last paragraph of this        16      A. Not that I recall.
   17   e-mail. It says, "The IRR is mandated by the        17      Q. As DEA compliance coordinator, did you
   18   DEA; therefore, we have to adhere to this           18   ever participate in conference calls relative
   19   monitoring policy."                                 19   to the controlled drug IRR implementation?
   20         Is that a correct reading of that             20      A. No, not that I recall.
   21   e-mail?                                             21      Q. Let me show you Exhibit No. 17.
   22      A. Yes.                                          22
   23      Q. And do you understand, as DEA                 23          (Exhibit No. 17 marked for
   24   compliance coordinator, at least in the             24   identification.)

   Golkow Litigation Services                                                  Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further29Confidentiality
                                                       of 79. PageID #: 470146
                                                                           Review
                                             Page 110                                              Page 112
    1                                                     1   DEA compliance coordinator for CVS at least as
    2   BY MR. BAKER:                                     2   a title put within the SOM -- written SOM, you
    3      Q. Could you pull up Exhibit 17, please?       3   were also working in logistics; is that
    4   And do you see where this is called "A            4   correct?
    5   controlled drug IRR implementation conference     5      A. Correct.
    6   call"? Do you see that? It's dated                6      Q. And logistics would include somebody
    7   9/24/2010.                                        7   that would have been briefed on the IRR
    8      A. Yes, I do.                                  8   process, according to this conference call,
    9      Q. Now, this is about a month after you        9   down at the bottom, where it says, "Friday,
   10   participated in inserting the SOM into the SOP   10   9/24, logistics will be briefed on the IRR
   11   for CVS, correct?                                11   process."
   12      A. Yes.                                       12          That would be you; is that correct?
   13      Q. When I say "inserted," you inserted        13      A. I can't --
   14   the written SOM into the written SOP for CVS;    14               MR. BUSH: Objection.
   15   is that correct?                                 15      A. I can't say if that would have been
   16      A. Yes.                                       16   me.
   17      Q. Exactly how did you perform this task      17   BY MR. BAKER:
   18   of insertion of the SOM into the SOP when you    18      Q. Let me ask you to read this with me.
   19   performed that insertion task? What did you      19   Does this document say, "Friday, 9/24,
   20   do -- what exactly did you do to physically or   20   logistics will be briefed on the IRR process."
   21   electronically insert that SOM into the SOP?     21               MR. BUSH: Objection.
   22      A. I don't recall specifically, but I can     22   BY MR. BAKER:
   23   speculate that I probably copied and pasted      23      Q. Does it say that?
   24   the document from the resource that I got it     24               MR. BUSH: Objection.
                                             Page 111                                              Page 113
    1   from.                                             1      A. It says that.
    2      Q. That's insertion?                           2   BY MR. BAKER:
    3      A. Yeah.                                       3      Q. At the time this document was
    4      Q. Copying and pasting a document into         4   generated, 9/24/2010, your title within
    5   another document makes it become part of an       5   logistics was what again?
    6   inserted policy within the SOP?                   6      A. Logistics pharmacy services manager.
    7      A. Yes.                                        7      Q. And would logistics pharmacy services
    8      Q. Other than that, did you have anything      8   managers have anything to do with the
    9   to do with the insertion process?                 9   controlled drug IRR implementation?
   10               MR. BUSH: Objection.                 10      A. Not that I can recall.
   11      A. I don't know what you mean.                11      Q. Not that you ever recall being
   12   BY MR. BAKER:                                    12   involved with?
   13      Q. Let's take a look at Exhibit No. 17.       13      A. No.
   14   Have you ever seen this before?                  14      Q. It says "All DCs have confirmed the
   15      A. Not that I recall.                         15   IRRs available."
   16      Q. Again, it's a subject controlled drug      16         Were you one of those DC people who
   17   IRR implementation conference call 9/24/2010,    17   confirmed the IRRs available?
   18   Bates Number 24559, correct?                     18      A. No.
   19               MR. BUSH: Take your time and         19      Q. It goes on to state "Monday, 9/27,
   20   look at it.                                      20   through 10/1" -- again, we're referencing 2010
   21      A. (Witness reviews document.)                21   in this document?
   22         Correct.                                   22      A. Uh-huh.
   23   BY MR. BAKER:                                    23      Q. Correct?
   24      Q. Now, at the time, in addition to being     24      A. Correct.

   Golkow Litigation Services                                               Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further30Confidentiality
                                                       of 79. PageID #: 470147
                                                                           Review
                                             Page 114                                                 Page 116
    1      Q. -- "that all DCs will begin reviewing       1      Q. Is it true that at the time this
    2   the IRRs and reporting any questions to the LP    2   e-mail was written, November 2012, that one
    3   manager or John Mortelliti. During this time,     3   person was reviewing all of the internal
    4   John Mortelliti will be updating and preparing    4   review reports for CVS instead of having it
    5   the field LP team."                               5   done in all 11 distribution centers?
    6         Do you know what that means when it         6              MR. BUSH: Objection.
    7   says, "All DCs will begin reviewing the IRRs"?    7   BY MR. BAKER:
    8      A. I do not know what it means.                8      Q. Is it true?
    9      Q. Let's go to the next document.              9              MR. BUSH: Objection.
   10                                                    10      A. I can't say if I know that to be true.
   11          (Exhibit No. 67 marked for                11   BY MR. BAKER:
   12   identification.)                                 12      Q. Is that what the document indicates,
   13                                                    13   that just one person was doing the IRR reviews
   14   BY MR. BAKER:                                    14   at the time this e-mail was written, November
   15      Q. I'm going to show you what's marked as     15   11, 2011?
   16   Exhibit No. 67.                                  16              MR. BUSH: Objection.
   17         This is an e-mail from Aaron Burtner       17      A. I can't say if that's what it
   18   to Christopher Tulley and Pamela Hinkle dated    18   indicates.
   19   11/11/2012 with Bates Number 55834.              19   BY MR. BAKER:
   20         Do you see that?                           20      Q. Do you know what it meant when the
   21      A. I do see that.                             21   answer was given above that question as to
   22      Q. Okay. It says -- this says, "Chris,        22   review consistency with just having one person
   23   Pam will be able to shed more light, but two     23   completing the reviews rather than 11 people?
   24   big reasons, review consistency with having      24   Do you know what that meant?
                                             Page 115                                                   Page 117
    1   just one person completing the reviews rather     1               MR. BUSH: Objection.
    2   than 11 people. With Pam in Knoxville, they       2      A. I can't say I know what it means.
    3   wanted the reviews completed there so she         3   BY MR. BAKER:
    4   could manage the process."                        4      Q. Do you know why CVS chose to only have
    5          Do you have any idea what that's           5   one person review all of the IRRs for CVS as
    6   talking about?                                    6   opposed to 11 people in 11 different
    7      A. I do --                                     7   distribution centers?
    8              MR. BUSH: Objection.                   8               MR. BUSH: Objection.
    9      A. I do not.                                   9      A. I can't answer that.
   10   BY MR. BAKER:                                    10   BY MR. BAKER:
   11      Q. You do not. Below that, it discusses       11      Q. As a DEA compliance coordinator, did
   12   what's going on as to why that answer's being    12   you ever take an interest in learning about
   13   given November 11, 2012 at 7:15 a.m., an         13   IRRs and how they were implemented by CVS?
   14   e-mail from Christopher Tulley to Pamela         14      A. IRR didn't fall under my
   15   Hinkle with a copy to Aaron Burtner. And it      15   responsibilities.
   16   says "Hi, guys. I met with John A. and Ellen     16   BY MR. BAKER:
   17   on Friday. They advised when this program was    17      Q. As the DEA compliance coordinator, it
   18   initially designed, it was meant for the         18   didn't fall under your responsibilities?
   19   review that Aaron does to be done in all 11      19      A. Correct.
   20   DCs. Do you know why and when it was             20      Q. Now, you saw the e-mail earlier where
   21   consolidated to just one DC doing the review?    21   it was discussed within your organization that
   22   Thanks, Chris."                                  22   these IRRs are mandated by the DEA. Do you
   23          Did I read that correctly?                23   remember me showing you that e-mail?
   24      A. You did.                                   24               MR. BUSH: Objection.

   Golkow Litigation Services                                                Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further31Confidentiality
                                                       of 79. PageID #: 470148
                                                                           Review
                                             Page 118                                              Page 120
    1      A. Yes.                                        1   at the time this was written, 10/12 of 2010?
    2             MR. BUSH: Well --                       2              MR. BUSH: Objection.
    3   BY MR. BAKER:                                     3      A. I can't say if I know that to be
    4      Q. Do you remember seeing that e-mail?         4   true.
    5      A. I remember seeing that e-mail.              5   BY MR. BAKER:
    6      Q. Okay. And something that's mandated         6      Q. As DEA compliance coordinator, were
    7   by the DEA would fall under DEA compliance,       7   you informed that John Mortelliti, on
    8   would it not?                                     8   10/12/2010, was handling the controlled drug
    9             MR. BUSH: Objection.                    9   IRR for CVS?
   10   BY MR. BAKER:                                    10              MR. BUSH: Objection.
   11      Q. Yes or no?                                 11      A. Can you say that again?
   12      A. Yes.                                       12   BY MR. BAKER:
   13      Q. And so if something's mandated by the      13      Q. As DEA compliance -- what was it, DEA
   14   DEA, why would you as the DEA compliance         14   compliance what?
   15   person not be familiar with anything having to   15      A. Coordinator.
   16   do with the IRR?                                 16      Q. As DEA compliance coordinator, were
   17      A. Because I had different areas of           17   you ever informed that one person, John
   18   responsibility.                                  18   Mortelliti, in October of 2010, was handling
   19      Q. Are you familiar with the term "active     19   the controlled drug IRRs for CVS?
   20   ingredient"?                                     20              MR. BUSH: Objection.
   21      A. Yes.                                       21      A. Not that I recall.
   22      Q. Let me show you an e-mail that's           22   BY MR. BAKER:
   23   marked Exhibit 82.                               23      Q. Is that what was going on at the time?
   24                                                    24      A. I can't answer that to be true or not.
                                             Page 119                                              Page 121
    1          (Exhibit No. 82 marked for                 1      Q. Okay. Did you -- read the next
    2   identification.)                                  2   sentence. It says, "Dean, there's a rewrite
    3                                                     3   we are trying to get approved for the
    4   BY MR. BAKER:                                     4   controlled drug IRR. The current report shows
    5      Q. And it's Bates Number 75542. The            5   controlled drugs by item instead of active
    6   e-mail is dated 10/12/2010 from John              6   ingredients, such as PSE."
    7   Mortelliti to Todd Janson within CVS.             7         Were you familiar with that, that the
    8         You know John Mortelliti, correct?          8   controlled drug IRR at the time did not show
    9      A. Yes, I know who he is.                      9   drugs by active ingredient?
   10      Q. And you know Todd Janson?                  10      A. I'm not familiar with the IRR report.
   11      A. I know who Todd Janson is?                 11      Q. Do you know the significance of not
   12      Q. Who was Todd Janson at the time this       12   having a drug described by active ingredient
   13   e-mail was written?                              13   in the context of suspicious order monitoring?
   14      A. I believe at the time he was loss          14      A. I can't say I'm familiar with it.
   15   prevention in Vero Beach.                        15      Q. As DEA compliance coordinator, is it
   16      Q. It goes on to state "Todd" -- this is      16   important for you to understand whether the
   17   from John Mortelliti, 10/12/2010 -- "Todd, I     17   DEA might require that in order to conduct
   18   sent you an e-mail about two weeks ago           18   suspicious order monitoring a drug needs to be
   19   explaining why I am handling the controlled      19   described by active ingredient?
   20   drug IRR for the time being."                    20             MR. BUSH: Objection.
   21         Did I read that correctly?                 21      A. I can't say. I was not responsible
   22      A. Yes.                                       22   for suspicious order monitoring.
   23      Q. Is it true that John Mortelliti was        23   BY MR. BAKER:
   24   singularly handling the controlled drugs IRR     24      Q. Do you know whether or not it's

   Golkow Litigation Services                                               Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further32Confidentiality
                                                       of 79. PageID #: 470149
                                                                           Review
                                             Page 122                                              Page 124
    1   required to describe a drug by active             1      A. Yes.
    2   ingredient in order to be in compliance with      2      Q. It says, "We need controlled drugs to
    3   DEA standards?                                    3   be monitored by active ingredient. Currently,
    4       A. I do not know.                             4   the controlled drugs are monitored by item.
    5              MR. BAKER: Let's take a short          5   The IRR loses all order history when the info
    6   break. This will count as my time.                6   on the team changes" --
    7              MR. BUSH: This will what?              7               MR. BUSH: The item, item on
    8              MR. BAKER: Count as my time.           8   the --
    9              MR. BUSH: Okay. So we're still         9   BY MR. BAKER:
   10   on the record?                                   10      Q. "The item changes, causing CVS to be
   11              MR. BAKER: Yes.                       11   noncompliant with DEA expectations." Is that
   12              MR. BUSH: All right.                  12   what it states?
   13              MR. BAKER: Off the record             13      A. That's what it states.
   14   insofar as --                                    14      Q. I made a grammatical error. Let me
   15              MR. BUSH: We can talk?                15   just repeat the sentence.
   16              MR. BAKER: Yes.                       16          "The IRR loses all history when the
   17         (Pause in proceedings.)                    17   info on the item changes causing CVS to be
   18   BY MR. BAKER:                                    18   noncompliant with DEA expectations."
   19       Q. I'm going to show you Exhibit No. 55.     19          Is that what the sentence says in that
   20   It's Bates Number 34175.                         20   document?
   21                                                    21      A. Yes.
   22          (Exhibit No. 55 marked for                22      Q. And this is John Mortelliti drafting
   23   identification.)                                 23   this sentence; is that correct?
   24                                                    24               MR. BUSH: Objection.
                                             Page 123                                              Page 125
    1   BY MR. BAKER:                                     1      A. I can't say for sure. That's what it
    2      Q. It's from CVS pharmacy. It's called a       2   looks like.
    3   Business Idea Description and it's from           3   BY MR. BAKER:
    4   Mr. John Mortelliti.                              4      Q. This -- this is a CVS document called
    5         Do you see that?                            5   a Business Idea Description?
    6      A. Yes.                                        6      A. Uh-huh.
    7      Q. Could you highlight in the summary          7      Q. Correct?
    8   description and objectives, please, in that       8      A. Uh-huh.
    9   box, the first box down?                          9      Q. Yes?
   10         So you see in the summary description      10      A. Yes.
   11   and objectives that John Mortelliti for CVS      11      Q. And so as DEA compliance coordinator,
   12   pharmacy -- he's saying that "DEA expects CVS    12   you know that CVS needs to -- needs controlled
   13   to prevent suspicious orders from being filled   13   drugs to be monitored by active ingredient in
   14   out of our DCs."                                 14   order to be compliant with DEA expectations,
   15         Is that correct that -- did I state        15   correct?
   16   that correctly?                                  16             MR. BUSH: Objection.
   17      A. Uh-huh.                                    17      A. I can't say I know.
   18      Q. Yes?                                       18   BY MR. BAKER:
   19      A. Yes.                                       19      Q. You cannot disagree with that
   20      Q. It says, "The current IRR does not         20   statement, can you?
   21   provide the proper information to meet the       21             MR. BUSH: Objection.
   22   DEA's needs."                                    22      A. I can't agree with it.
   23         Is that correct? Did I state that          23   BY MR. BAKER:
   24   correctly?                                       24      Q. You cannot disagree with that

   Golkow Litigation Services                                               Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further33Confidentiality
                                                       of 79. PageID #: 470150
                                                                           Review
                                                  Page 126                                             Page 128
    1   statement, can you, that the IRR loses all            1      A. Yes.
    2   history -- all order history when the info on         2      Q. Other than that, did you do anything
    3   the item changes causing CVS to be                    3   as a DEA compliance coordinator?
    4   noncompliant with DEA expectations? You don't         4      A. Not that I recall.
    5   disagree with that statement, do you?                 5      Q. Except for we know, according to the
    6              MR. BUSH: Objection.                       6   e-mails at least, you will agree with me, that
    7      A. I don't have enough information to              7   you --
    8   have an opinion on it.                                8      A. Updated SOPs.
    9   BY MR. BAKER:                                         9      Q. -- that you inserted the SOM --
   10      Q. So you can neither agree nor disagree,         10      A. Yes.
   11   with that statement; is that correct?                11      Q. -- into is SOP --
   12      A. That's correct.                                12      A. Yes.
   13      Q. Did you ever talk to John Mortelliti           13      Q. -- 8/25/10?
   14   as DEA compliance coordinator -- in your job         14      A. Yes. I was a central point of contact
   15   as DEA compliance coordinator about the              15   for SOPs.
   16   problems associated with controlled drugs            16      Q. Were you a central point of contact if
   17   being monitored -- not being monitored by            17   the DEA came for inspections?
   18   active ingredient?                                   18      A. I would be notified, yes.
   19      A. Not that I recall.                             19      Q. Would you inform the DEA what was
   20      Q. Did you ever get involved as a DEA             20   being done to be compliant with DEA
   21   compliance coordinator with CVS with anything        21   expectations --
   22   dealing with active ingredient?                      22      A. Would I --
   23      A. Not that I recall.                             23      Q. -- when the DEA came?
   24      Q. As DEA compliance coordinator, did you         24      A. Would I inform --
                                                Page 127                                               Page 129
    1   ever get involved with any activities that            1      Q. Yes, yes.
    2   caused CVS to be DEA complaint?                       2      A. -- the DEA?
    3              MR. BUSH: Objection.                       3      Q. Yes, yes.
    4   BY MR. BAKER:                                         4      A. No.
    5      Q. As DEA compliance coordinator, did you          5      Q. Did you ever represent CVS as DEA
    6   ever get involved in any activities that would        6   compliance coordinator when there were
    7   have caused CVS to be DEA compliant?                  7   inspections done of CVS distribution
    8              MR. BUSH: In any respect?                  8   centers?
    9              MR. BAKER: In any respect.                 9              MR. BUSH: Objection.
   10      A. In any respect?                                10      A. No.
   11   BY MR. BAKER:                                        11   BY MR. BAKER:
   12      Q. Yes, ma'am.                                    12      Q. Did you ever -- were you ever informed
   13      A. Yes. In some respects, yes.                    13   that there was a movement within CVS to try to
   14      Q. In some respects. Tell us exactly              14   get the controlled drug IRR described by
   15   what you did as DEA compliance coordinator to        15   active ingredient? Were you ever informed of
   16   cause CVS to be DEA compliant, if anything.          16   that?
   17      A. I submitted ARCOS reporting.                   17      A. Not that I recall.
   18      Q. Other than that?                               18      Q. Were you ever informed by CVS, as DEA
   19      A. Not that I can recall.                         19   compliance coordinator, that there was an
   20      Q. ARCOS reporting is simply what?                20   algorithm system that was attempted to be used
   21      A. Narcotic drug reporting.                       21   by CVS for suspicious order monitoring
   22      Q. Of how much is distributed by the              22   purposes?
   23   distribution center to the retail                    23      A. Not that I recall.
   24   pharmacies?                                          24      Q. Were you ever informed, as DEA

   Golkow Litigation Services                                                   Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further34Confidentiality
                                                       of 79. PageID #: 470151
                                                                           Review
                                                 Page 130                                                Page 132
    1   compliance coordinator at CVS, that there was        1     Q. As CVS compliance coordinator, would
    2   some scoring system used within the algorithm        2   you not be interested in knowing how a store
    3   system?                                              3   metrics system would affect a suspicious order
    4      A. Not that I recall.                             4   monitoring system for CVS?
    5      Q. Were you ever informed by CVS, as DEA          5             MR. BUSH: Objection.
    6   compliance coordinator, that there was a             6   BY MR. BAKER:
    7   request to change the parameters within that         7     Q. Would you not be interested in that?
    8   algorithm system?                                    8             MR. BUSH: Objection.
    9      A. Not that I recall.                             9     A. I didn't oversee SOM.
   10      Q. As DEA compliance coordinator, did you        10   BY MR. BAKER:
   11   ever review anything about the algorithm            11     Q. Have you ever seen a store metrics
   12   system that CVS was attempting to use for           12   sheet for CVS?
   13   suspicious order monitoring?                        13     A. Not that I recall.
   14      A. No, not that I recall.                        14     Q. Do you know what a LAG is?
   15      Q. As CVS DEA compliance coordinator, did        15     A. In reference to?
   16   you ever have anything to do with hiring or         16     Q. The suspicious order monitoring
   17   consulting with outside consultants for the         17   system?
   18   purpose of trying to develop a suspicious           18     A. No, I can't say that I do.
   19   order monitoring program?                           19     Q. Let me repeat the question.
   20      A. Not that I recall.                            20         Do you know what a LAG is in the
   21      Q. As DEA compliance coordinator, did you        21   context of a suspicious order monitoring
   22   ever have anything to do with retuning any of       22   system for CVS?
   23   the suspicious order monitoring programs that       23     A. No, I can't say that I do.
   24   had been developed by outside companies for         24     Q. Do you know what a threshold is in the
                                               Page 131                                                    Page 133
    1   CVS?                                                 1   context of a suspicious order monitoring
    2     A. Not that I recall.                              2   system for CVS?
    3     Q. As CVS compliance coordinator, did you          3      A. I can't say I know.
    4   ever see the CVS algorithm based suspicious          4      Q. As DEA compliance coordinator, you do
    5   order monitoring system implemented?                 5   not know what a threshold is in the context of
    6     A. No, not that I recall.                          6   suspicious order monitoring for CVS; is that
    7     Q. Are you familiar with the term "store           7   correct?
    8   metrics report"?                                     8      A. I can't say for certain what it is,
    9     A. No.                                             9   no.
   10     Q. You do not even know what a store              10      Q. As DEA compliance coordinator for CVS,
   11   metrics report is, do you?                          11   you do not know whether or not the threshold
   12     A. No.                                            12   system is the basis for the suspicious order
   13     Q. As CVS compliance coordinator, you             13   monitoring system, do you?
   14   were never informed by anybody within CVS or        14      A. No, I can't say.
   15   otherwise about the importance of a store           15      Q. As the -- as a --
   16   metrics report?                                     16               MR. BAKER: Let's go off record
   17     A. Not that I recall.                             17   for just a second. What time is it?
   18     Q. Do you even know what a store metrics          18               MR. BUSH: 11:42.
   19   report measures or how it is measured?              19               THE VIDEOGRAPHER: The time is
   20     A. I can't say that I do know.                    20   11:43 a.m. We're off the record.
   21     Q. Do you know the importance of store            21
   22   metrics within the context of operating a           22   (Off the record at 11:43 a.m.)
   23   suspicious order monitoring system?                 23
   24     A. No.                                            24             MR. BAKER: Let's go back on the

   Golkow Litigation Services                                                   Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further35Confidentiality
                                                       of 79. PageID #: 470152
                                                                           Review
                                             Page 134                                                   Page 136
    1   record.                                           1   Something else changed or just about every
    2               THE VIDEOGRAPHER: The time is         2   company we deal with has changed the
    3   11:43 a.m. and we're on the record.               3   description on their drugs. Whatever you can
    4   BY MR. BAKER:                                     4   do to help expedite this process would be
    5      Q. The place where you're considered DEA       5   greatly appreciated. I'm now reviewing the
    6   compliance coordinator is in the corporate        6   network control IRR on common sense as opposed
    7   office; is that correct?                          7   to IRR historical data. I know that is scary.
    8      A. In reference -- in SOP reference.           8   Be nice."
    9      Q. And corporate would mean CVS Pharmacy;      9         Were you familiar with that e-mail
   10   is that correct?                                 10   being sent?
   11      A. Yes.                                       11      A. No, I'm not.
   12      Q. Does CVS Pharmacy write these              12      Q. Do you know what a controlled drug IRR
   13   suspicious order monitoring policies for CVS     13   is as DEA compliance coordinator?
   14   distribution centers?                            14      A. No.
   15      A. I can't say that I know.                   15      Q. Were you aware that a person who was
   16      Q. As CVS corporate DEA compliance            16   reviewing LAGs on IRR reports for CVS, that
   17   coordinator, are you familiar with how the       17   being John Mortelliti, October 6, 2010,
   18   description of drugs by drug companies to CVS    18   according to this e-mail, was concerned to the
   19   Pharmacy and CVS distribution centers affects    19   point where he called it "scary" that he was
   20   the adequacy or efficacy of a suspicious order   20   reviewing drugs based upon changes of the
   21   monitoring program?                              21   names by the drug companies in the context of
   22      A. No, I can't say that I do.                 22   reviewing LAG reports? Do you know that?
   23      Q. Let me show you an e-mail that I'll        23             MR. BUSH: Objection.
   24   mark as Exhibit No. 54.                          24      A. No, I don't recall that.

                                             Page 135                                                 Page 137
    1                                                     1   BY MR. BAKER:
    2          (Exhibit No. 54 marked for                 2      Q. Did this issue that's described in
    3   identification.)                                  3   this e-mail dated October 6, 2010 from John
    4                                                     4   Mortelliti to Gary Misiaszek concern you as
    5   BY MR. BAKER:                                     5   DEA compliance coordinator?
    6      Q. And it's Bates Numbers 34168 through        6              MR. BUSH: Hold on for a second.
    7   34171. It's dated 10/14/2010 by a person          7      A. I can't say.
    8   named Gary --                                     8              MR. BUSH: Hold on.
    9      A. Misiaszek.                                  9              THE WITNESS: I'm sorry.
   10      Q. -- Misiaszek to John Mortelliti. I'll      10              MR. BAKER: I'll repeat the
   11   hand you a copy.                                 11   question.
   12         Go to the second page there, if you        12              MR. BUSH: Thank you.
   13   would. It's Bates Number 34169 and it's an       13   BY MR. BAKER:
   14   e-mail dated October 6, 2010 from John           14      Q. Did this e-mail dated October 6, 2010
   15   Mortelliti to Gary Misiaszek, copy to Frank      15   from John Mortelliti to Gary Misiaszek where
   16   Devlin, regarding "controlled drug IRR           16   he's describing the experience as being
   17   important info, importance high."                17   "scary," concern you as the DEA compliance
   18         Is that what that says?                    18   coordinator?
   19      A. Yes.                                       19              MR. BUSH: Objection.
   20      Q. Have you ever seen this e-mail before?     20      A. I can't say I was aware of the
   21      A. Not that I recall.                         21   situation.
   22      Q. Its starts with "Gary, all but one         22      Q. It was never brought to your attention
   23   item in the network was missing, three to four   23   as DEA compliance coordinator for the
   24   items of LAG info on today's report.             24   corporate office of CVS?

   Golkow Litigation Services                                                Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further36Confidentiality
                                                       of 79. PageID #: 470153
                                                                           Review
                                             Page 138                                              Page 140
    1      A. No, not that I recall.                      1       A. Yes.
    2              MR. BAKER: Before we move on           2       Q. Okay. And so you were responsible for
    3   into the next topic, which is going to take me    3   assuring compliance with applicable CSA
    4   a while, would this be a good lunch break time    4   requirements; is that correct?
    5   for everybody?                                    5       A. Yes.
    6              MR. BUSH: It's fine with me,           6       Q. Yes?
    7   although I guess we haven't ordered.              7       A. Yes.
    8         (Pause in proceedings.)                     8       Q. Okay. Could you read the 13A above
    9              THE VIDEOGRAPHER: The time is          9   it, where it says, "DC DEA Compliance
   10   11:48 a.m. and we're off the record.             10   Coordinator"?
   11                                                    11       A. "It means the individual designated as
   12           (Recess taken from 11:48 a.m.            12   responsible for assuring compliance with
   13           to 12:40 p.m.)                           13   applicable CSA requirements at each CVS
   14                                                    14   distribution center. This person will have
   15              THE VIDEOGRAPHER: The time is         15   the responsible to implement the required
   16   12:40 p.m. We're on the record.                  16   systems and procedures for controlled
   17              MR. GOETZ: Hi, Ms. Propatier.         17   substances in coordination with the CVS DEA
   18   My name is Dan Goetz and I'm going to ask you    18   Compliance Coordinator, the senior manager of
   19   questions for a few minutes.                     19   logistics, and the director of logistics loss
   20   BY MR. GOETZ:                                    20   prevention."
   21      Q. Could you go back to Exhibit 204,          21       Q. So part of what the -- DC is
   22   please? I believe you had testified earlier      22   distribution center. Part of what the
   23   that from 2008 through 2014 you had the same     23   distribution center DEA Compliance
   24   job title and responsibilities at CVS; is that   24   Coordinator -- part of their job, they worked
                                             Page 139                                              Page 141
    1   correct?                                          1   in coordination with you, right, to implement
    2      A. Yes.                                        2   all the regulations related to the CSA?
    3      Q. In Exhibit 204, could you look at           3      A. I didn't say -- some, that I can
    4   8510, please?                                     4   recall, yes.
    5              MR. BUSH: page 85?                     5      Q. Okay. They had the responsibility and
    6   BY MR. GOETZ:                                     6   you, as the CVS DEA Compliance Coordinator,
    7      Q. page 8510, please.                          7   had the responsibility, correct?
    8         And do you see where it says "CVS DEA       8              MR. BUSH: Objection.
    9   Compliance Coordinator"?                          9      A. Certain -- certain responsibilities.
   10      A. Uh-huh.                                    10   BY MR. GOETZ:
   11      Q. Could you read that please out loud?       11      Q. Well, the applicable CSA requirements
   12      A. "CVS DEA Compliance Coordinator            12   that were implemented by each CVS distribution
   13   reports to the senior manager of logistics       13   center, correct?
   14   planning and is designated as responsible for    14      A. Yes. Certain ones, yes.
   15   assuring compliance with applicable CSA          15      Q. You kept saying, "I'm only responsible
   16   requirements implemented by each CVS             16   for the SOP."
   17   distribution center. This person will have       17      A. Uh-huh.
   18   responsibility to monitor the required systems   18      Q. Do you remember that testimony?
   19   and procedures implemented by each DC for        19      A. Yes.
   20   controlled substance in coordination with        20      Q. The SOP is actually -- that's Exhibit
   21   senior manager of logistics planning and         21   204. And the title of that is actually
   22   director of logistics loss prevention."          22   Controlled Drug DEA Standard Operating
   23      Q. From 2008 to 2014, that was you,           23   Procedures Manual, correct?
   24   correct?                                         24      A. Correct.

   Golkow Litigation Services                                               Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further37Confidentiality
                                                       of 79. PageID #: 470154
                                                                           Review
                                                   Page 142                                               Page 144
    1      Q. And this document is actually all the              1   Manual."
    2   rules and regulations that CVS has passed to             2      Q. And it's the SOPs, right, that we were
    3   try to meet their requirements under the CSA             3   talking about earlier?
    4   and what the DEA requires as it relates to the           4      A. SOPs, yes.
    5   distribution of controlled substances,                   5      Q. Do you know when this version was
    6   correct?                                                 6   implemented?
    7      A. Can you say that again?                            7      A. I do not know.
    8      Q. Okay. This document, 204 --                        8      Q. I will represent to you that it's my
    9      A. Uh-huh.                                            9   understanding this is the December 1, 2007
   10      Q. -- is actually the standard operating             10   SOP.
   11   procedures and it is the rules and regulations          11      A. Okay.
   12   that CVS has passed to try to meet the                  12      Q. And so it's my belief that this is
   13   requirement of the DEA in the Controlled                13   actually the first standard operating
   14   Substances Act as it relates to distribution            14   procedure that existed relative to this, okay?
   15   of controlled substances, correct?                      15      A. Uh-huh, okay.
   16      A. I can't say for certain that it's                 16      Q. Are you aware -- are you aware of any
   17   everything, but it covers certain areas.                17   standard operating procedures related to the
   18      Q. Well, as the DEA Compliance                       18   distribution of controlled substances prior to
   19   Coordinator, what other document covers                 19   December 1 of 2007?
   20   anything from -- from 2008 -- or 12/1 of '07,           20      A. I can't say I recall.
   21   when this is implemented, until 2013, the end           21      Q. Can we agree, in your role as CVS DEA
   22   of 2013, what -- what else covers it? What              22   Compliance Coordinator, that an essential
   23   else governs it?                                        23   element of any compliance system is the
   24      A. I don't know if I know everything that            24   ability to audit that system?
                                                     Page 143                                             Page 145
    1   governs it.                                              1     A. Can I agree -- was that my role, for
    2      Q. As the DEA Compliance Coordinator, you             2   my role?
    3   can't say this isn't all the rules, can you?             3     Q. No. Do you agree with that, that an
    4              MR. BUSH: Objection.                          4   essential role -- an essential element of any
    5      A. I can't. No, I can't say if it's all               5   compliance system is the ability to audit that
    6   or not.                                                  6   system?
    7   BY MR. GOETZ:                                            7     A. For compliance system? I guess it
    8      Q. I'm going to hand you what's been                  8   would be.
    9   marked as Exhibit 203. And that begins at                9     Q. If you can't audit the system, we have
   10   Bates number 66576?                                     10   no idea if it's working or not working?
   11      A. Uh-huh.                                           11     A. Uh-huh.
   12              MR. BUSH: Do I get one of                    12     Q. Do you agree with that?
   13   those?                                                  13     A. I would --
   14              THE WITNESS: Is one of these                 14              MR. BUSH: Objection.
   15   for him?                                                15     A. I would agree.
   16              MR. BAKER: Yes.                              16   BY MR. GOETZ:
   17              MR. GOETZ: Yes, I have three of              17     Q. And would you agree that you have to
   18   them. I handed you three of them. I                     18   be able to audit the system, meaning audit the
   19   apologize for handing you everything at once.           19   processes and the output? Would you agree
   20   BY MR. GOETZ:                                           20   with that?
   21      Q. Can you read the cover of that, what              21              MR. BUSH: Objection.
   22   that says?                                              22     A. I guess for a system I would agree.
   23      A. "CVS Distribution Center Controlled               23   BY MR. GOETZ:
   24   Drug DEA Standard Operating Procedures                  24     Q. And part of this controlled drug

   Golkow Litigation Services                                                      Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further38Confidentiality
                                                       of 79. PageID #: 470155
                                                                           Review
                                             Page 146                                              Page 148
    1   operating, SOP -- a large part of this related    1      Q. Do you see that?
    2   to audits; is that correct?                       2      A. Okay.
    3                MR. BUSH: Take your time if you      3      Q. There has been testimony -- strike
    4   need to look through it.                          4   that.
    5                THE WITNESS: I am.                   5          Did you read Mr. Vernanza's (phonetic)
    6                (Witness reviews document.)          6   testimony?
    7   BY MR. GOETZ:                                     7      A. No, I did not.
    8       Q. And you can look through the whole         8      Q. I want you to assume what I tell you
    9   document. I'm totally fine with that. I'll        9   is true, and I want you to assume that until
   10   withdraw my question. But if you'd like the      10   August of 2010 there was no SOM, suspicious
   11   to look through the whole document, it's fine,   11   order monitoring, section in the SOP, okay, in
   12   but I would direct your attention to 66632 and   12   the standard operating procedures.
   13   I'll ask you what that is. But if you want to    13      A. Okay.
   14   peruse the whole document while you're doing     14      Q. Okay?
   15   it, that's fine.                                 15      A. Okay.
   16       A. (Witness reviews document.)               16      Q. Are you aware of that? I was unsure
   17       Q. Do you know what that is?                 17   this morning what you testified.
   18                MR. BUSH: Referring to 66632?       18      A. I had -- I know there was a
   19                MR. GOETZ: Yes, and --              19   placeholder while they were working on the
   20                MR. BUSH: And subsequent pages?     20   documents.
   21                MR. GOETZ: Yes.                     21      Q. And that placeholder was a placeholder
   22       A. It says it's an inspection report,        22   until when?
   23   DEA.                                             23      A. Until I was provided with the
   24   BY MR. GOETZ:                                    24   documents to update it.
                                             Page 147                                              Page 149
    1      Q. Do you know what that is?                   1      Q. And that was in August of 2010; is
    2      A. Do I know what it is? I believe it's        2   that correct?
    3   a form loss prevention used.                      3      A. I believe that was the date.
    4      Q. Do you have any -- as the CVS DEA           4      Q. And so from 12/1 of '07, we can agree,
    5   Compliance Coordinator, do you have any           5   until August of 2010, there was no SOM,
    6   knowledge beyond that?                            6   suspicious order monitoring, section in the
    7      A. No.                                         7   standard operating procedures, correct?
    8      Q. There was, at one time, when you were       8      A. There was a placeholder in the SOP.
    9   responsible for gathering these. Do you           9      Q. Were there any active policies in the
   10   remember that?                                   10   SOP --
   11      A. For gathering the reports?                 11             MR. BUSH: For SOM?
   12      Q. Yes.                                       12   BY MR. GOETZ:
   13      A. For the SOP?                               13      Q. -- for SOM?
   14      Q. Yes.                                       14      A. Not that I recall.
   15      A. I was responsible for -- yes, for          15      Q. There was nothing that somebody could
   16   updating the SOP.                                16   go to and say, here is our suspicious order
   17      Q. Do you remember that you were actually     17   monitoring process, if they went and read the
   18   responsible for gathering the results of this    18   standard operating procedure, correct?
   19   inspection report?                               19      A. Maybe outside of that manual, but not
   20      A. Not that I recall.                         20   within that manual.
   21      Q. Can you turn to 6606 of that document,     21      Q. Okay. And again, what was outside of
   22   please?                                          22   that manual prior to August of 2010? Can you
   23             MR. BUSH: 6606.                        23   direct me to anything as the CVS DEA
   24   BY MR. GOETZ:                                    24   Compliance Coordinator?

   Golkow Litigation Services                                               Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further39Confidentiality
                                                       of 79. PageID #: 470156
                                                                           Review
                                            Page 150                                                 Page 152
    1       A. No. I wasn't responsible for SOM.         1   also include a comparison of CVS's SOPs to the
    2       Q. You were responsible for CVS DEA          2   operations of the DC," correct?
    3   compliance, correct?                             3      A. Correct.
    4       A. Certain aspects of it.                    4      Q. Is that correct? Did I read that
    5       Q. When we went to 203 and 204, that         5   correctly?
    6   doesn't distinguish -- I'm talking about         6      A. Yes, you did.
    7   Exhibit 203 and 204 -- that doesn't              7      Q. So what they're speaking about is they
    8   distinguish your role as only being              8   compare how the distribution center operates
    9   responsible as the CVS DEA Compliance            9   to the requirements of this SOP; is that
   10   Coordinator for things other than SOM, does     10   correct?
   11   it?                                             11      A. I would assume that's what they're
   12       A. I'm sorry, like --                       12   referring to.
   13              MR. BUSH: Objection.                 13      Q. And so since we did not have any
   14       A. Can you repeat that? I don't know        14   written SOM as part of this SOP, would you
   15   what you're talk --                             15   agree with me that we could not do this in
   16       Q. You just said you were not responsible   16   2008?
   17   for the SOM.                                    17      A. I can't answer that.
   18       A. For managing the SOM program, no.        18      Q. Do you know of some SOM that they
   19       Q. Okay. So tell me, from 2008 through      19   could do a comparison to the CVS operations of
   20   2014, who was the CVS DEA Compliance            20   the DC?
   21   Coordinator for SOM?                            21      A. I don't recall. I can't answer that.
   22       A. For SOM specifically?                    22      Q. They couldn't do it in 2009 either,
   23       Q. Yes.                                     23   could they?
   24       A. I -- I don't know if there was a         24      A. I can't answer that.
                                            Page 151                                                  Page 153
    1   specific coordinator for SOM.                    1      Q. And they couldn't do it until at least
    2      Q. It's nowhere in the document, is it?       2   through August of 2010, could they?
    3      A. I don't recall.                            3      A. I can't answer that. I don't know
    4      Q. Okay. And these --                         4   what they were capable of.
    5      A. I would need to look through it.           5      Q. And we know they couldn't do it in
    6      Q. These are documents that you give to       6   2006 or 2007 because there was no written
    7   the DEA. Are you aware of that?                  7   procedure, correct?
    8      A. I've never given them to the DEA, but      8      A. I don't know that to be true.
    9   I can't say if they haven't been given to the    9      Q. Well, when you say that, what -- as
   10   DEA.                                            10   the compliance coordinator -- we're here
   11      Q. Are you aware if they've been given to    11   trying to find out information -- what do you
   12   the DEA?                                        12   think there was?
   13      A. Not specifically aware of someone         13      A. I can't answer that. I don't know.
   14   giving them to the DEA.                         14      Q. If we go back to the DC DEA Compliance
   15      Q. Can you go to page 6606 of 203,           15   Coordinator and the CVS DEA Compliance
   16   please? And do you see where it says,           16   Coordinator, were you the person responsible
   17   "Procedure"?                                    17   for assuring compliance with applicable CVS
   18      A. Uh-huh, yes.                              18   requirements --
   19      Q. And it says -- tell me if I'm reading     19              MR. BUSH: CSA.
   20   this correct in the first paragraph -- "Loss    20              MR. GOETZ: CSA requirements.
   21   prevention will conduct compliance reviews."    21   Thank you.
   22      A. Yes.                                      22   BY MR. GOETZ:
   23      Q. And then the last sentence of that        23      Q. -- implemented by each CVS
   24   paragraph says, "The compliance review will     24   distribution center, correct?

   Golkow Litigation Services                                               Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further40Confidentiality
                                                       of 79. PageID #: 470157
                                                                           Review
                                                 Page 154                                               Page 156
    1      A. Uh-huh.                                          1      Q. Ma'am, you used to send e-mails,
    2      Q. Is that correct?                                 2   right, with the tagline --
    3      A. That's what it says.                             3      A. Right.
    4      Q. Is that correct? Was that your role?             4      Q. -- CVS DEA Compliance Coordinator?
    5      A. I was responsible for being a liaison            5      A. Right.
    6   for the distribution centers.                          6      Q. Correct?
    7      Q. That's not what I asked.                         7      A. It was an identifying point of
    8          Were you responsible for assuring               8   contact, yes.
    9   compliance with applicable CSA requirements            9      Q. And so --
   10   implemented by each CVS distribution center?          10      A. For --
   11              MR. BUSH: Objection. Asked and             11              MR. BUSH: Wait a second.
   12   answered.                                             12              THE WITNESS: Sorry.
   13      A. I was responsible for working -- being          13              MR. BUSH: Wait. Don't talk
   14   a liaison with the distribution centers for           14   over each other.
   15   their compliance that they implemented                15              MR. GOETZ: I apologize, I'm
   16   themselves at the distribution center.                16   very sorry.
   17      Q. This is -- and I'm not trying to                17      A. No. It was identifying point of
   18   become hypertechnical. It's really a yes or a         18   contact for standard -- a standard contact in
   19   no.                                                   19   an SOP. People and titles change. They
   20          Were you responsible for assuring              20   implemented that point of contact in case I
   21   compliance with the applicable CSA                    21   was to leave and somebody else went into the
   22   requirements implemented by each CVS                  22   position with a different -- they have a
   23   distribution center?                                  23   different name. They also could have had a
   24              MR. BUSH: I object to that.                24   different title. It was a standard point of
                                                   Page 155                                             Page 157
    1   The question has now been answered twice.              1   contact that that referred to. My actual job
    2      A. Yes.                                             2   title was Logistics Rx Services Manager.
    3   BY MR. GOETZ:                                          3   BY MR. GOETZ:
    4      Q. Did you say yes?                                 4       Q. Did you put on your e-mails, as a
    5               MR. BUSH: No. You can answer               5   tagline, Corporate CVS DEA Compliance
    6   now. I just objected.                                  6   Coordinator?
    7      A. No. I said I was responsible, yes,               7       A. Yes.
    8   for being a liaison with the distribution              8       Q. Okay. And when you say this was put
    9   centers for compliance that they had                   9   in here as a point of contact, if I am at a
   10   implemented there on-site.                            10   distribution center and I go, I would like to
   11   BY MR. GOETZ:                                         11   know who is responsible for assuring
   12      Q. Is that a yes?                                  12   compliance with applicable CSA requirements
   13               MR. BUSH: Objection.                      13   implemented by each CVS distribution center, I
   14   BY MR. GOETZ:                                         14   would find you as that person, correct?
   15      Q. I'm just trying to find out, yes or             15       A. You may, yes.
   16   no, if that was your role as was told to the          16       Q. Who else would I find?
   17   DEA.                                                  17       A. There were -- there could be other
   18      A. My role --                                      18   people that were also involved in compliance.
   19               MR. BUSH: Objection.                      19   I can't recall off the top of my head, but,
   20      A. -- was a logistics pharmacy services            20   yes, you could reach out to me.
   21   manager. The CVS DEA Compliance Coordinator           21       Q. Were there other people from 2008 to
   22   refers to a title that was given as a                 22   2014 that were ever identified as holding that
   23   reference point in the SOP.                           23   title?
   24   BY MR. GOETZ:                                         24       A. Not that I recall.

   Golkow Litigation Services                                                    Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further41Confidentiality
                                                       of 79. PageID #: 470158
                                                                           Review
                                                 Page 158                                                   Page 160
    1      Q. It was only you that actually CVS              1      A. Yes you read it correctly.
    2   identified as holding that title?                    2   BY MR. GOETZ:
    3      A. I guess. The SOP, not CVS. Like as             3      Q. And assuming that there was no SOM in
    4   far as my job -- my job at CVS, my personnel         4   the SOP until August of 2010, that would not
    5   identified me as a logistics services. The           5   have been possible, would it have been? In
    6   SOP identifies me as the compliance                  6   2007, 2008, 2009 and through August of 2010,
    7   coordinator.                                         7   you could not do a comparison of the SOM to
    8      Q. You understand that the SOP is CVS             8   figure out if they were in compliance with SOP
    9   document --                                          9   requirements?
   10      A. Yes.                                          10      A. I can't answer that. I didn't conduct
   11      Q. -- a CVS document?                            11   the audits.
   12      A. Yes.                                          12      Q. You -- you received the audits at
   13      Q. And you understand that that SOP was          13   times?
   14   implemented, adopted by CVS?                        14              MR. BUSH: Objection.
   15      A. Yes.                                          15      A. No, not that I recall.
   16      Q. Okay. Could you go to 6608, please?           16   BY MR. GOETZ:
   17         Do you see where it says, "Report"?           17      Q. Did you ever review the audits?
   18   And it says, "After the review is complete, a       18      A. Not that I recall.
   19   detailed mock DEA audit will be prepared and        19      Q. As the CVS DEA Compliance Coordinator,
   20   furnished to the pharmacy manager" --               20   you never felt it necessary to review the
   21      A. Uh-huh.                                       21   audits?
   22      Q. -- "DC, DEA Compliance Director and DC        22      A. Not that I recall.
   23   Director"?                                          23      Q. Could you turn to 6619, please? And
   24      A. Uh-huh.                                       24   if you -- you go back to 6616, this section of

                                               Page 159                                                   Page 161
    1      Q. Did you ever receive that report as            1   the SOP deals with a DEA investigation,
    2   the CVS Compliance Director?                         2   correct?
    3      A. Not that I recall.                             3      A. Yes, correct.
    4      Q. So it was never important enough to            4      Q. Is that correct?
    5   give to the top person?                              5      A. Yes.
    6      A. I was not the top person. I would not          6      Q. And this section deals with what the
    7   refer to myself as the top person.                   7   DEA will do, what it's going to want to see,
    8      Q. Okay. It was never important enough            8   what it might find, those sorts of things,
    9   to give to the CVS director of compliance?           9   correct?
   10      A. I was not the director of compliance.         10      A. Correct.
   11      Q. I'll get it exactly right, I                  11      Q. Can you go to the Paragraph 13? And
   12   apologize.                                          12   the bottom of Paragraph 13, the last sentence,
   13         CVS DEA Compliance Coordinator.               13   it says, "The diversion investigators will
   14         Again, this report on Paragraph 3             14   also review the DC's registration and
   15   indicates that "There will be a comparison of       15   suspicious order monitoring systems and
   16   the operations of the CVS's SOPs and identify       16   programs to ensure compliance with the
   17   those areas that are not in compliance with         17   regulations."
   18   the SOP requirements."                              18         Do you see that?
   19         Did I read that correctly?                    19      A. I see that.
   20      A. Which part are you reading, I'm sorry?        20      Q. Prior to August of 2010, what would be
   21      Q. Paragraph 3.                                  21   provided to the DEA?
   22              MR. BUSH: It's on 08.                    22      A. I can't answer that. I didn't -- I
   23              THE WITNESS: Oh, this one.               23   wasn't there.
   24   Okay, sorry.                                        24      Q. Is it your testimony that you didn't

   Golkow Litigation Services                                                   Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further42Confidentiality
                                                       of 79. PageID #: 470159
                                                                           Review
                                             Page 162                                               Page 164
    1   know what would be told to the DEA during an      1          (Exhibit No. 205 previously marked
    2   audit when there weren't any SOM programs in      2   for identification.)
    3   the SOP?                                          3
    4      A. I don't recall that I would know.           4              MR. BAKER: Can I get a copy.
    5      Q. Do you know what SOM program was in         5   BY MR. GOETZ:
    6   the SOP before August of 2010?                    6      Q. Exhibit 205 is a document Bates
    7      A. I don't know.                               7   numbered 66574. Do you see the second e-mail,
    8      Q. Do you know anything about the              8   the e-mail on the bottom?
    9   suspicious order monitoring program, written      9      A. Yes.
   10   or unwritten, before August of 2010?             10      Q. And could you read that, please, the
   11      A. I don't recall.                            11   first paragraph?
   12      Q. Do you know, as you sit here today?        12      A. "Attached is the DEA SOP, which was
   13             MR. BUSH: Know what?                   13   implemented in December 2007. We have made
   14      A. No what?                                   14   recent updates to the SOP. Please note we
   15   BY MR. GOETZ:                                    15   have updated the record retention period from
   16      Q. Anything about any SOM program,            16   five years to two years. Also, the SOM
   17   written or unwritten, before August of 2010.     17   section is not included. In the event of an
   18      A. As far as?                                 18   audit and questions come up, please direct
   19      Q. Anything related to suspicious order       19   them to corporate (Frank or myself) for an
   20   monitoring.                                      20   explanation of the program. Please review
   21      A. I know there's a suspicious order          21   with your teams and forward to anyone I may
   22   monitoring program, but I can't speak to         22   have missed."
   23   the -- how the system works.                     23      Q. And this is April 3 of 2009, correct?
   24      Q. Pre-August of 2010, what was the           24      A. Yes, that's what it says.
                                             Page 163                                               Page 165
    1   suspicious order monitoring program?              1      Q. *And so this e-mail is to what I would
    2      A. I can't speak to how it worked.             2   consider a lot of people, but the document
    3      Q. How do you know then that one existed?      3   will speak for itself.
    4      A. I've heard them speak of it.                4          But you were telling all these people,
    5      Q. Who?                                        5   hey, if the DEA wants to know about what our
    6      A. Frank Devlin.                               6   SOM program is, have them contact me or Frank
    7      Q. What did he say?                            7   and we will give them an explanation, correct?
    8      A. I don't recall specifically. But I          8      A. This section, if a question comes up
    9   know I recall hearing about a suspicious order    9   it directed them to contact us.
   10   monitoring program, but I don't recall           10      Q. Was that a yes?
   11   specifically.                                    11              MR. BUSH: Objection.
   12      Q. Did you hear about that maybe there        12      A. I'm sorry, what was the question?
   13   wasn't one?                                      13              MR. GOETZ: Can you read it
   14      A. I don't recall that.                       14   back?
   15      Q. Is that -- could that have been what       15          *(Question read.)
   16   you heard?                                       16      A. No.
   17      A. I don't recall that.                       17   BY MR. GOETZ:
   18              MR. BUSH: Hold on, guys. Both         18      Q. No?
   19   of you need to wait for the other one to stop,   19      A. No.
   20   so we don't speak over each other.               20              MR. BUSH: I'm sorry, what was
   21   BY MR. GOETZ:                                    21   the answer?
   22      Q. You can keep those in front of you,        22              THE WITNESS: I said no.
   23   but I'm going to show you Exhibit 205.           23              MR. BUSH: No, okay.
   24                                                    24              THE WITNESS: It's -- his

   Golkow Litigation Services                                               Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further43Confidentiality
                                                       of 79. PageID #: 470160
                                                                           Review
                                             Page 166                                             Page 168
    1   question said program.                            1      A. Not that I recall, no.
    2              MR. BUSH: Right.                       2      Q. You never searched to see, hey, what
    3   BY MR. GOETZ:                                     3   was I going to tell the DEA in April of '09
    4      Q. I'll read it to you. "Also, the SOM         4   whether you had a document that might have
    5   section is still not included in the SOP. In      5   spoken to that?
    6   the event of an audit and questions come up,      6      A. No.
    7   please direct them to corporate (Frank or         7      Q. Do you know if Frank would be able to
    8   myself) for the explanation of the program."      8   tell us what was going to be told to the DEA?
    9         Did I read that correctly?                  9      A. I don't know. I can't speak for
   10      A. Yes.                                       10   Frank.
   11      Q. In the event of a DEA audit --             11          (Exhibit No. 203 previously marked
   12      A. Uh-huh.                                    12   for identification.)
   13      Q. -- what were you going to tell them in     13
   14   April of 2009?                                   14   BY MR. GOETZ:
   15      A. I don't recall.                            15      Q. And just so the record's clear -- we
   16      Q. You have no idea?                          16   talked about it earlier, but this has a
   17      A. I do not remember.                         17   tagline, right, as Logistics Rx Services
   18      Q. You can't remember anything? It            18   Manager Corporate CVS DEA Compliance
   19   was -- you or Frank were the only ones that      19   Coordinator, right?
   20   could give the explanation of the program and    20      A. Yes.
   21   you don't remember anything?                     21      Q. Would you agree with me if we go back
   22              MR. BUSH: Objection.                  22   to -- I apologize -- Exhibit 203 and --
   23      A. I do not remember.                         23      A. What page?
   24   BY MR. GOETZ:                                    24      Q. 6619.
                                             Page 167                                             Page 169
    1      Q. Did you have notes of the program in        1          Exhibit 203. And it's Bates number
    2   2009 so you could tell the DEA?                   2   6619 and we go back to Paragraph 13. And it
    3              MR. BUSH: Objection.                   3   says, "The diversion investigator will also
    4      A. Not that I recall.                          4   review the DC's registration and suspicious
    5   BY MR. GOETZ:                                     5   order monitoring systems and programs to
    6      Q. Okay. There was no written policy --        6   ensure compliance with the regulations," that
    7   written SOM policy as of April of 2009, was       7   that implies that there are written SOM
    8   there?                                            8   programs?
    9      A. I do not know.                              9             MR. BUSH: Objection.
   10      Q. Assuming there was no written policy,      10      A. What was the question?
   11   where were you going to get the information to   11   BY MR. GOETZ:
   12   tell the DEA what was happening?                 12      Q. If you read that last sentence --
   13              MR. BUSH: Objection.                  13      A. Yes.
   14      A. I do not recall.                           14      Q. -- of Paragraph 13 --
   15   BY MR. GOETZ:                                    15      A. (Witness reviews document.)
   16      Q. Do you, in your office, keep notes of      16         Okay.
   17   important things?                                17      Q. -- would you agree with me that that
   18      A. I may for certain things.                  18   implies that there are written SOM policies?
   19      Q. Do you keep handwritten notes or do        19             MR. BUSH: Objection.
   20   you keep notes on a computer?                    20      A. No, I wouldn't agree.
   21      A. I could have both.                         21   BY MR. GOETZ:
   22      Q. Did you ever search for any documents      22      Q. Okay. How would the DEA review the
   23   related to this litigation through your          23   suspicious order monitoring systems and
   24   office?                                          24   programs otherwise?

   Golkow Litigation Services                                              Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further44Confidentiality
                                                       of 79. PageID #: 470161
                                                                           Review
                                               Page 170                                                     Page 172
    1      A. I don't know. I can't speak for how            1      A. No, I did not. I did not work with
    2   the DEA reviews during an audit.                     2   the system.
    3      Q. Did you know that in April of 2009?            3      Q. Would you agree with me that the DEA
    4              MR. BUSH: Know what?                      4   requirements are not hard to meet?
    5              MR. GOETZ: How the DEA -- what            5               MR. BUSH: Objection.
    6   their expectations with were of an audit in          6      A. Would I agree? No, I wouldn't agree.
    7   April of 2009.                                       7   BY MR. GOETZ:
    8      A. I can't say that I recall or know.             8      Q. You wouldn't? Do you think that the
    9   BY MR. GOETZ:                                        9   DEA requirements are burdensome?
   10      Q. Did you know what they would be               10      A. I think it would depend on what
   11   looking for in April of 2009?                       11   capacity we're talking. There's lots of DEA
   12      A. I can't say I recall.                         12   requirements.
   13      Q. Could you turn to 6614, please, of            13      Q. The DEA requirements, as they relate
   14   this document just so we're clear?                  14   to controlled drug substances and the
   15          And Section D, which says, "suspicious       15   distribution of those, do you think they are
   16   order monitoring SOM," that is the section --       16   difficult to meet?
   17   this language is the section that is just a         17      A. I don't know if I can say if they're
   18   placeholder; is that correct?                       18   difficult to meet.
   19      A. From -- yeah. From what I believe,            19      Q. You --
   20   yes.                                                20      A. I don't know all of them.
   21      Q. And Paragraph B of that section, where        21      Q. As the CVS DEA Compliance Coordinator,
   22   it says, "These parameters are documented in        22   the ones that you know of, do you believe they
   23   SOP - 'order quantity parameters for                23   are difficult the meet?
   24   controlled drugs' - being developed and             24      A. The ones that I know of? I don't -- I

                                                 Page 171                                                 Page 173
    1   written."                                            1   don't myself feel they're -- they -- they're
    2          Did I read that correctly?                    2   difficult to meet.
    3      A. Yes.                                           3      Q. Okay. As the CVS DEA Compliance
    4      Q. So we know that, at this point at              4   Coordinator, do you believe that the
    5   least, any order quantity parameter was              5   requirements, as it relates to controlled
    6   unknown, correct?                                    6   substances distribution, are difficult to
    7      A. I can't agree with that.                       7   meet?
    8      Q. Okay. Well, how would you know it?             8      A. Speaking for CVS?
    9      A. I don't have enough information, like,         9      Q. Yes.
   10   to agree with it.                                   10      A. I mean, in my opinion, I would say no,
   11      Q. What information would you need?              11   they're not difficult to meet.
   12      A. I didn't own the program, so I can't          12      Q. They're relatively easy, correct?
   13   speak to it.                                        13      A. I -- I don't know if I would use the
   14      Q. As the CVS DEA Compliance Coordinator,        14   word "easy," but they're requirements.
   15   what information would you need to know             15      Q. You think they're lax?
   16   whether or not the order quantity parameters        16      A. I don't feel they're lax.
   17   for controlled drugs were finished?                 17      Q. Do you agree that the DEA's goals are
   18              MR. BUSH: I'm sorry, was                 18   to prevent diversion of controlled substances
   19   finished?                                           19   and to ensure an adequate supply?
   20      A. Finished?                                     20      A. Yes, I would agree.
   21   BY MR. GOETZ:                                       21      Q. And that's it, correct?
   22      Q. Yes, were established.                        22      A. Yes.
   23      A. I would need to know the system.              23      Q. And so everything that we relate to
   24      Q. Did you know the system?                      24   this document, the DEA Standard Operating

   Golkow Litigation Services                                                   Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further45Confidentiality
                                                       of 79. PageID #: 470162
                                                                           Review
                                             Page 174                                             Page 176
    1   Procedures Manual, is about controlling           1             MR. BUSH: I have 666 --
    2   diversion and an adequate supply, correct?        2             MR. GOETZ: You have no 66623?
    3      A. Yes.                                        3         (Pause in proceedings.)
    4      Q. And that is what your job was, right,       4             MR. BUSH: I have 66623, but it
    5   to manage that, to be the DEA Compliance          5   seems to follow 66624. Let's see.
    6   Coordinator for that?                             6             THE WITNESS: Yes, me too.
    7              MR. BUSH: Objection.                   7             MR. BUSH: They're out of order.
    8      A. No. I would not say that was my job.        8   I don't know why.
    9   My job was to be a central contact and keep a     9             THE WITNESS: So we're going to
   10   consolidated point of contact for all our        10   23?
   11   distribution centers to get information to       11             MR. BUSH: Ask him. He's in
   12   support them.                                    12   charge.
   13   BY MR. GOETZ:                                    13             MR. GOETZ: Yes, please.
   14      Q. Did you ever tell anybody at CVS, hey,     14             MR. BUSH: Do you see what's
   15   I don't think this being a DC or a DEA           15   going on? 6624, and then 6623 comes after it.
   16   Compliance Coordinator is actually my job?       16   Unclear why that happened, but there it is.
   17      A. Not that I recall.                         17             MR. GOETZ: My children might
   18      Q. Okay. And did you ever tell anybody        18   have numbered this.
   19   at CVS, hey, I don't think I'm responsible for   19   BY MR. GOETZ:
   20   assuring compliance with applicable CSA          20      Q. The first paragraph up top --
   21   requirements implemented by each CVS             21             MR. BUSH: So which one?
   22   distribution center?                             22             MR. GOETZ: 6623.
   23      A. Not that I recall.                         23             MR. BUSH: 23, okay, got it.
   24      Q. CVS believes you were doing that,          24   BY MR. GOETZ:
                                             Page 175                                             Page 177
    1   correct?                                          1       Q. The first paragraph up top, where it's
    2             MR. BUSH: Objection.                    2   Paragraph C. It says, "Use CVS's standard
    3      A. I don't know what CVS was -- I can't        3   operating procedures, SOPs, for all DEA
    4   speak for what CVS believed.                      4   requirements in our facility to ensure
    5   BY MR. GOETZ:                                     5   continuance and complete adherence to all
    6      Q. Did you ever get reprimanded for not        6   requirements," correct?
    7   doing it?                                         7               MR. BUSH: Okay. Wait a second.
    8      A. Not that I recall.                          8   Make sure you have the context for that. So
    9      Q. And they gave you that title in these       9   it's the carry over from X-3, which is
   10   documents, correct, CVS DEA Compliance           10   actually 6622.
   11   Coordinator?                                     11               THE WITNESS: I'm out of...
   12      A. They as in who?                            12               (Witness reviews document.)
   13      Q. CVS.                                       13       A. So does it read that?
   14      A. CVS -- I don't -- I don't know if --       14   BY MR. GOETZ:
   15   how to answer that. My boss, yes, I guess.       15       Q. Yes.
   16   If he's CVS, yes, my boss did.                   16       A. Yes, that's what it reads.
   17      Q. Could you go to 6623, please, of that      17       Q. And do you understand that what
   18   document?                                        18   they're talking about, where it says,
   19      A. What page?                                 19   "Adherence to all requirements," are all DEA
   20             MR. BUSH: 6623. Is that right?         20   requirements, correct?
   21             MR. GOETZ: Yes. I'm sorry, I           21       A. Yes, for all DEA requirements in our
   22   apologize, 66622 and 66623. So 66623, please.    22   facility.
   23             MR. BUSH: I'm sorry, 666 -- oh.        23       Q. And if you go to Paragraph 2, which
   24             THE WITNESS: 23.                       24   precedes this on 6622, you just looked at

   Golkow Litigation Services                                              Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further46Confidentiality
                                                       of 79. PageID #: 470163
                                                                           Review
                                             Page 178                                             Page 180
    1   it --                                             1      Q. Right.
    2       A. Paragraph 2, yes.                          2      A. -- into in SOP?
    3       Q. -- what that says is, "While               3      Q. Into this SOP.
    4   comprehensive, DEA requirements are not           4      A. Yes. But outside of this SOP, I can't
    5   difficult to meet if they are viewed as a         5   speak to if there was anything written.
    6   continuing -- continuous process. The             6      Q. Right. There might be some phantom
    7   following steps will help."                       7   document that we don't know about?
    8          So that Paragraph C that we just read,     8              MR. BUSH: Objection.
    9   it's fair to say, according to the CVS SOP,       9   BY MR. GOETZ:
   10   that that is one of the steps that needs to be   10      Q. But in this standard operating
   11   followed to meet -- to make it easy to meet      11   procedure in 2007, it was not possible to use
   12   the DEA requirements, correct?                   12   this SOP -- the 2007 SOP to meet the DEA
   13                MR. BUSH: Objection.                13   requirements in the facility to ensure
   14                MR. GOETZ: I butchered that         14   continuous and complete adherence to all
   15   question. I'll withdraw it.                      15   requirements because they didn't exist,
   16   BY MR. GOETZ:                                    16   correct?
   17       Q. If you read Paragraph 2 on 66622 --       17      A. The written part of SOM didn't exist
   18       A. Yes.                                      18   in this SOP.
   19       Q. -- that outlines, here are steps that     19      Q. So it was impossible to follow
   20   will make it easy to meet the DEA                20   Paragraph C, correct?
   21   requirements, correct?                           21      A. Correct.
   22       A. Yes.                                      22      Q. And it was impossible in 2008 to
   23       Q. And Paragraph C is one of those steps,    23   follow Paragraph C, correct?
   24   correct?                                         24      A. Correct.
                                             Page 179                                             Page 181
    1      A. Yes.                                        1      Q. And it was impossible in 2009 to
    2      Q. And Paragraph C talks about using the       2   follow Paragraph C, correct?
    3   CVS standard operating procedures to ensure       3      A. Correct.
    4   continuous and complete adherence to all DEA      4      Q. It was impossible at least through
    5   requirements, correct?                            5   August of 2010 to follow Paragraph C,
    6      A. Yes.                                        6   correct?
    7      Q. Correct?                                    7      A. Correct.
    8      A. Yes.                                        8      Q. Could you turn to 6628, please?
    9      Q. And would you agree with me that since      9      A. 28?
   10   there was no SOM until August of 2010, it was    10      Q. Yes. Who was the DC DEA Compliance
   11   impossible for CVS to use the SOP, standard      11   Coordinator for Indianapolis in 2007?
   12   operating procedures, for the DEA SOM            12      A. I don't recall.
   13   requirements to make it easy to meet the DEA     13      Q. What about 2006?
   14   requirements?                                    14      A. I don't recall.
   15             MR. BUSH: Objection.                   15      Q. What about 2008?
   16      A. What is the question?                      16      A. I don't recall.
   17   BY MR. GOETZ:                                    17      Q. What about 2009?
   18      Q. In 2007, there were no SOM written         18      A. I don't recall.
   19   requirements, correct?                           19      Q. '10?
   20      A. I don't know if -- I can't answer          20      A. I don't recall.
   21   that. I don't know for sure.                     21      Q. '11?
   22      Q. We established earlier that they           22      A. I don't recall.
   23   were -- they were put in in August of 2010?      23      Q. Do you recall any year?
   24      A. Into the --                                24      A. I don't remember.

   Golkow Litigation Services                                              Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further47Confidentiality
                                                       of 79. PageID #: 470164
                                                                           Review
                                                    Page 182                                             Page 184
    1      Q. Do you recall any year?                           1      Q. What -- I don't know what that means.
    2      A. For the compliance coordinator?                   2      A. Like picking store orders.
    3      Q. Yes.                                              3      Q. So the pharmacy manager would be a
    4      A. I can't remember.                                 4   picker?
    5      Q. The DC DEA Compliance Coordinator was             5      A. No, would oversee the pickers.
    6   actually kind of anybody they chose to pick,            6      Q. Would they actually be a picker or
    7   right, there were no requirements?                      7   would they work in an office somewhere?
    8               MR. BUSH: Objection.                        8      A. I don't believe they would be a
    9      A. I didn't pick them, so I can't speak              9   picker. I believe they would work in an
   10   to it. I think in general it would usually be          10   office.
   11   the pharmacy manager or supervisor, I would            11      Q. And how would they oversee a picker?
   12   think.                                                 12   Do you have any idea?
   13   BY MR. GOETZ:                                          13      A. I do not have any idea.
   14      Q. You don't know?                                  14      Q. Beyond what you've told me, do you
   15      A. I don't know for certain.                        15   have any idea what pharmacy store managers
   16      Q. There was nothing written about how to           16   were doing from '08 to '14?
   17   pick one, was there?                                   17      A. I can't answer that, no.
   18      A. Not that I recall.                               18      Q. No, you don't have any --
   19      Q. There were no requirements on what               19      A. No.
   20   type of role they were fulfilling in addition          20      Q. Could you go to 66628, please?
   21   to being the DC DEA Compliance Coordinator,            21      A. Uh-huh.
   22   was there?                                             22      Q. And do you see where it says,
   23      A. Not --                                           23   Paragraph A, "Policy review and revision for
   24               MR. BUSH: Objection.                       24   administrative actions"?
                                                  Page 183                                               Page 185
    1      A. Not that I recall.                                1      A. Uh-huh.
    2   BY MR. GOETZ:                                           2      Q. Could you read Paragraph A --
    3      Q. In fact, it was a tagalong position,              3   Paragraph 1 into the record?
    4   correct? It was just something that they                4      A. "The DC DEA Compliance Coordinator
    5   had -- someone else was doing a job and they            5   will insure that all CVS DC personnel involved
    6   said, hey, you're now the DC DEA Compliance             6   in the activities of controlled substances
    7   Coordinator?                                            7   read the CVS/DEA distributor standard
    8              MR. BUSH: Objection.                         8   operating procedure at least once a year and
    9      A. I can't speak to that. I don't know               9   receive the proper training in the
   10   how they were chosen.                                  10   requirements of the CVS/DEA distributor
   11      Q. Do you know that the distribution                11   standard operating procedures."
   12   centers chose them?                                    12      Q. Again, there were no SOM in these
   13      A. I can't recall.                                  13   standard operating procedures until August of
   14      Q. Do you know if there's any corporate             14   2010, correct, no suspicious order monitoring
   15   policy on how they were to be chosen?                  15   section?
   16      A. Not that I recall.                               16      A. Correct.
   17      Q. When you said it was -- did you say it           17      Q. And so it would be impossible -- even
   18   was usually the pharmacy manager?                      18   though it's here in a big paragraph, it would
   19      A. From what I can remember.                        19   be impossible to ensure that all CVS DC
   20      Q. And what -- what does the pharmacy               20   personnel involved in the activity of
   21   manager do at the DC?                                  21   controlled substances read the suspicious
   22      A. I don't know their specific job                  22   order monitoring section of the SOP, correct?
   23   functions, but they would usually oversee the          23   That would be impossible in 2007?
   24   pharmacy operation in the distribution center.         24      A. Correct.

   Golkow Litigation Services                                                     Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further48Confidentiality
                                                       of 79. PageID #: 470165
                                                                           Review
                                                  Page 186                                               Page 188
    1       Q. Correct?                                       1      A. 6628?
    2       A. Correct.                                       2      Q. 66628, please.
    3       Q. That would be impossible in 2008?              3          Do you see Paragraph 1?
    4       A. Correct.                                       4      A. Uh-huh, yes.
    5       Q. It would be impossible in 2009?                5      Q. Could you read that, please, into the
    6       A. Correct.                                       6   record?
    7       Q. It would be impossible in 2010 until           7      A. "The DC DEA Compliance Coordinator,
    8   August?                                               8   the pharmacy manager, and the operations
    9       A. Correct.                                       9   manager are responsible for assuring that the
   10       Q. An awful lot of the training, the             10   SOPs are implemented."
   11   auditing for compliance, making sure people          11      Q. And again, as the CVS DEA director
   12   comply, it was not possible in the DCs until         12   of -- I'm sorry, compliance coordinator, you
   13   August of 2010 because there was no written          13   would agree that the SOPs contained no
   14   SOM in the SOP; isn't that true?                     14   suspicious order monitoring program until
   15              MR. BUSH: Objection.                      15   August of 2010, correct?
   16       A. I can't speak to that.                        16      A. I would agree that this SOP did not
   17   BY MR. GOETZ:                                        17   contain an SOM portion.
   18       Q. What have I -- what have we gone              18      Q. And we don't know of any other SOP,
   19   through that could have been done before             19   correct?
   20   August of 2010?                                      20      A. I do not know of.
   21       A. I didn't oversee SOM, so I don't know         21      Q. Well, I --
   22   if there was something outside of this policy        22              MR. BUSH: That's all she can
   23   that existed.                                        23   answer, is what she knows.
   24       Q. As the CVS DEA Compliance Coordinator,        24      A. I can't -- I don't know.
                                                  Page 187                                                Page 189
    1   would it have been important for you to know          1   BY MR. GOETZ:
    2   that?                                                 2      Q. I also don't know.
    3      A. No, because I didn't work with the SOM          3         You would agree that then the DC DEA
    4   system.                                               4   Compliance Coordinator, the pharmacy manager,
    5      Q. As -- but again, we don't know who was          5   and the operations manager could not assure
    6   the SOM DEA Compliance Coordinator for CVS, do        6   that the SOM SOP was implemented in 2007
    7   we?                                                   7   because there was none?
    8      A. I can't say that I do.                          8      A. There was no SOM SOP in here, portion,
    9      Q. There was nobody that was ever listed           9   you mean?
   10   in the document as an SOM DEA Compliance             10      Q. Right. There was none, correct?
   11   Coordinator, was there?                              11              MR. BUSH: In this document.
   12      A. I don't think so no.                           12      A. In this document, there was not.
   13      Q. In fact, in every document given to            13   BY MR. GOETZ:
   14   the DEA, it's you who's listed as the CVS DEA        14      Q. And none that we know of?
   15   Compliance Coordinator, correct?                     15      A. None that I can speak to.
   16             MR. BUSH: Objection.                       16      Q. So in 2007, this was impossible,
   17   BY MR. GOETZ:                                        17   correct, to assure compliance?
   18      Q. Is that correct?                               18              MR. BUSH: Objection.
   19      A. I'm listed as the compliance                   19   BY MR. GOETZ:
   20   coordinator, yes.                                    20      Q. To assure that the SOP related to the
   21      Q. DEA Compliance Coordinator?                    21   SOM was implemented?
   22      A. DEA Compliance Coordinator.                    22      A. With this SOP, yes.
   23      Q. Can you go to staff training,                  23      Q. It was impossible?
   24   Paragraph B, please?                                 24      A. Yes.

   Golkow Litigation Services                                                   Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further49Confidentiality
                                                       of 79. PageID #: 470166
                                                                           Review
                                             Page 190                                              Page 192
    1      Q. 2008, impossible?                           1      Q. We haven't seen anything in here where
    2      A. With this SOP.                              2   they could do any compliance audits, correct?
    3      Q. 2009?                                       3   Everything we've read, it wouldn't be
    4      A. With this SOP, yes.                         4   possible, correct, because there was no
    5      Q. All the way through August of 2010,         5   document to audit it against?
    6   impossible?                                       6      A. From what I know in this SOP, there's
    7      A. With this SOP, yes.                         7   nothing written.
    8      Q. Assuming that we don't discover some        8      Q. Okay. Does that concern you?
    9   other SOP containing an SOM pre-August of         9      A. I'm not familiar enough to know, with
   10   2010, would you agree it's impossible? You       10   the system, if what was in place at that time.
   11   keep saying, "With this SOP."                    11      Q. Okay.
   12      A. If you don't find -- yes, if we don't      12      A. But as it refers to the SOP, there's
   13   have an SOP.                                     13   nothing written.
   14      Q. Right.                                     14      Q. If you -- if you take -- assume that
   15      A. (Witness nodding.)                         15   there's nothing else besides this document
   16      Q. And you have no evidence that you do       16   before August of 2010, does that concern you?
   17   have one?                                        17      A. I don't know if it concerns me at this
   18      A. I do not have one. I wasn't                18   point in time.
   19   responsible for the program.                     19      Q. I'm sorry?
   20      Q. Can you go to staff training Paragraph     20      A. At today's point in time, I don't know
   21   4 of that, please? Could you read that,          21   enough to say if it would have concerned me
   22   please?                                          22   that there wasn't a written document.
   23      A. "It is CVS's intention that the            23      Q. You looked at a bunch of charts
   24   training will be ongoing and continual. There    24   earlier, right, about the opioid crisis --
                                             Page 191                                              Page 193
    1   will be no exceptions to the training             1      A. Uh-huh.
    2   requirement."                                     2      Q. -- all encompassing this time period,
    3      Q. You would agree with me that it was         3   correct?
    4   impossible to do any training as it relates to    4               MR. BUSH: Well, objection.
    5   the SOM, suspicious order monitoring, in 2007?    5      A. I believe it was during this time
    6      A. As it refers to the SOP, yes.               6   period, yes.
    7      Q. Impossible in 2008 to do any training       7   BY MR. GOETZ:
    8   on this suspicious order monitoring?              8      Q. And you testified that you were aware
    9      A. With a written portion in this SOP,         9   of the opioid crisis at least ten years ago,
   10   yes.                                             10   correct?
   11      Q. Impossible in 2009?                        11      A. Yes.
   12      A. For a written portion, yes, in this        12      Q. And so being aware of the opioid
   13   SOP.                                             13   crisis and being the DEA Compliance
   14      Q. And impossible at least until August       14   Coordinator and if you assume and accept what
   15   of 2010?                                         15   I'm telling you, there was no other document
   16      A. For a written portion in this SOP,         16   before August of 2010, does it worry you that
   17   yes.                                             17   there was no ability to audit DEA compliance
   18      Q. As the DEA Compliance Coordinator,         18   as it relates to the suspicious order
   19   sitting here today, does it concern you that     19   monitoring?
   20   at least from January 1 of '06 until August of   20               MR. BUSH: Objection.
   21   2010 it was impossible to audit the suspicious   21      A. Does it concern me?
   22   order monitoring system?                         22   BY MR. GOETZ:
   23      A. I don't know if that's a true              23      Q. Yes.
   24   statement.                                       24      A. That there was none? At -- I -- I

   Golkow Litigation Services                                               Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further50Confidentiality
                                                       of 79. PageID #: 470167
                                                                           Review
                                             Page 194                                             Page 196
    1   don't know.                                       1      Q. Will that be the same all the way
    2      Q. Does it -- assuming all of those            2   through '14?
    3   former things are true, does it concern you       3      A. Yeah.
    4   that there was no written policy so that you      4      Q. And yet, we agreed earlier that the
    5   could do staff training as it relates to          5   entirety of this document and the entirety of
    6   suspicious order monitoring?                      6   the DEA, as it relates to controlled
    7               MR. BUSH: Objection.                  7   substances, is to prevent diversion?
    8      A. I don't know what was available.            8      A. Uh-huh.
    9   BY MR. GOETZ:                                     9      Q. And to make sure we have adequate
   10      Q. Assuming that there wasn't.                10   supply, correct?
   11               MR. BUSH: Objection.                 11      A. Correct.
   12   BY MR. GOETZ:                                    12      Q. Is that correct?
   13      Q. I'm sorry, did you answer?                 13      A. Yes.
   14      A. No. I don't know what's available for      14      Q. And a huge portion of preventing
   15   training.                                        15   diversion is this suspicious order monitoring
   16      Q. Okay. Assuming that we haven't seen        16   program, correct?
   17   any -- I'm telling you there wasn't any before   17              MR. BUSH: Objection.
   18   August of 2010 -- understanding there was an     18      A. I -- a huge portion? I don't know if
   19   opioid crisis, at least according to your        19   I could specifically say it's a huge
   20   testimony that you were aware of going back to   20   portion.
   21   August of -- or 2008 -- you were the DEA         21      Q. Significant portion?
   22   Compliance Coordinator -- does it concern you    22              MR. BUSH: Objection.
   23   that there was no documents upon which to        23   BY MR. GOETZ:
   24   train staff about suspicious order               24      Q. Strike that.
                                             Page 195                                             Page 197
    1   monitoring?                                       1          What is the importance of a suspicious
    2              MR. BUSH: Objection.                   2   order monitoring program in preventing
    3     A. I don't know if it concerns me.              3   diversion?
    4   BY MR. GOETZ:                                     4      A. What is the purpose of it?
    5     Q. Are you saying it does -- you don't          5      Q. No. What's the importance? How
    6   know if it concerns you today --                  6   important is it?
    7     A. Yes.                                         7      A. How do I feel how important it is?
    8     Q. -- or you don't know if it would have        8      Q. Uh-huh.
    9   concerned you in 2008?                            9              MR. BUSH: Are you talking --
   10     A. Today.                                      10              THE WITNESS: Personally how
   11     Q. What about in 2008, had you known           11   important?
   12   that?                                            12              MR. BUSH: I don't -- no. Just
   13     A. I don't recall what I remember about        13   are you talking about at CVS or generally?
   14   SOM in 2008, so I don't -- I can't say if it     14              THE WITNESS: Right. Thank you.
   15   would concern me then.                           15              MR. BUSH: In the whole world?
   16     Q. What about 2009?                            16              THE WITNESS: In the world or my
   17     A. I can't say what I recall about it          17   feeling like --
   18   back then.                                       18              MR GOETZ: Well, for one, it's
   19     Q. What about 2010?                            19   not a 30(b)(6), right? She's a fact
   20     A. Again, I can't say if -- what I recall      20   witness.
   21   about it back then.                              21              THE WITNESS: So just me?
   22     Q. '11?                                        22              MR. GOETZ: Yes.
   23     A. Same thing, I don't recall -- I can't       23              MR. BUSH: No, I understand
   24   say if I can recall.                             24   that, but you could still be asking about the

   Golkow Litigation Services                                              Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further51Confidentiality
                                                       of 79. PageID #: 470168
                                                                           Review
                                                 Page 198                                                 Page 200
    1   whole world or you could be asking how                 1   policy is important in preventing diversion,
    2   important was it for CVS to have it. That was          2   understanding that you were aware of the
    3   the distinction I was making. It doesn't have          3   opioid crisis at least until 2008, and
    4   to do whether she's a 30(b)(6), but I've               4   understanding that you were the CVS DEA
    5   already spoken too much.                               5   Compliance Coordinator, does it concern you
    6   BY MR. GOETZ:                                          6   that you had no written policy such that you
    7      Q. Do you remember the question?                    7   couldn't audit it and then you couldn't
    8      A. How important is suspicious order                8   correct any deficiencies as it related to your
    9   monitoring?                                            9   suspicious order monitoring?
   10      Q. Yes.                                            10               MR. BUSH: Objection.
   11      A. I don't know if I could put a weight            11      A. Yeah, I don't know if I can answer
   12   on it. I've never thought about it in those           12   that, like, for that point in time because I
   13   terms.                                                13   wouldn't have been looking at it to audit it.
   14      Q. It's critical in preventing diversion,          14   It didn't fall under my responsibility as far
   15   do you not agree with that?                           15   as managing the program.
   16              MR. BUSH: Objection.                       16      Q. I hate to keep doing this, but you --
   17      A. I believe it plays a piece in                   17   unless you tell me there's somebody else,
   18   identifying diversion.                                18   you're responsible for assuring compliance
   19   BY MR. GOETZ:                                         19   with applicable CSA requirements implemented
   20      Q. From a distribution perspective, okay,          20   by each CVS distribution center.
   21   from a distribution perspective, what else            21          And if they don't have a written SOM,
   22   plays a piece?                                        22   how can we assure compliance?
   23              MR. BUSH: Objection.                       23               MR. BUSH: Objection.
   24      A. Yeah, I can't speak to what else plays          24      A. I don't know what else was available
                                                   Page 199                                                Page 201
    1   a piece in the distribution. There could be            1   for SOM.
    2   multiple factors that play pieces.                     2      Q. Again, we're -- you don't know of
    3   BY MR. GOETZ:                                          3   anything else available?
    4      Q. As the CVS DEA Compliance Coordinator,           4      A. Yes.
    5   are you aware of any other system other than a         5      Q. Okay. How long have we been at
    6   suspicious order monitoring system that                6   this?
    7   prevents diversion?                                    7             MR. BUSH: I don't know. We've
    8               MR. BUSH: Objection.                       8   got --
    9      A. At CVS?                                          9             THE VIDEOGRAPHER: An hour and
   10   BY MR. GOETZ:                                         10   eight minutes.
   11      Q. Yes, or anywhere. Tell me anywhere.             11             MR. GOETZ: Let's take a
   12      A. Oh, I don't know.                               12   break.
   13      Q. What about at CVS?                              13             THE VIDEOGRAPHER: The time is
   14      A. I don't know. I don't think so. I               14   1:48 p.m. We're off the record.
   15   think it's just SOM.                                  15
   16      Q. Right. So SOM is -- we can agree it's           16              (Recess taken from 1:48 p.m.
   17   critical. You can't think of anything else.           17              to 2:04 p.m.)
   18   We can at least agree it's critical?                  18
   19      A. It's important.                                 19             THE VIDEOGRAPHER: The time is
   20               MR. BUSH: Objection.                      20   2:04 p.m. and we're on the record.
   21   BY MR. GOETZ:                                         21
   22      Q. It's important?                                 22        CONTINUED DIRECT EXAMINATION
   23      A. (Witness nodding.)                              23   BY MR. BAKER:
   24      Q. Okay. Understanding that an SOM                 24    Q. Ms. Propatier, Bill Baker back asking

   Golkow Litigation Services                                                    Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further52Confidentiality
                                                       of 79. PageID #: 470169
                                                                           Review
                                             Page 202                                             Page 204
    1   you questions.                                    1   BY MR. BAKER:
    2          Are you familiar with the term             2      Q. It's Exhibit 53 and it's Bates number
    3   "Outside vendors"?                                3   33579, correct, at the bottom?
    4      A. Yes.                                        4      A. Yes.
    5      Q. Outside vendors means that -- well,         5      Q. And it is an e-mail dated 10/8/2012
    6   let's take some history.                          6   from Pamela Hinkle to Aaron Burtner.
    7          CVS distribution centers distribute --     7         Do you see that?
    8   or distributed Schedule III through Schedule V    8      A. Yes.
    9   drugs to CVS retail pharmacies, correct?          9      Q. And this says, "Regarding conference
   10      A. Yes.                                       10   call notes, 10/5/12."
   11      Q. CVS distribution centers never             11         Do you see that?
   12   distributed or housed Schedule II drugs. That    12      A. Conference call notes, 10/5 yes.
   13   was always something that was purchased from     13      Q. Do you know Pamela Hinkle?
   14   outside vendors by the retail stores, correct?   14      A. Yes, I know Pam.
   15      A. Correct.                                   15      Q. Who is Pamela Hinkle?
   16      Q. And with respect to the suspicious         16      A. In 2012?
   17   order monitoring policy that was first           17      Q. Yes, ma'am.
   18   inserted by you into the SOP, which was August   18      A. She worked in loss prevention.
   19   25, 2010, that dealt with the suspicious order   19              MR. BUSH: Wait for --
   20   monitoring of Schedule III narcotics that were   20      A. Sorry, she was based in Tennessee.
   21   distributed and supplied out of the CVS          21              MR. BUSH: I was asking him to
   22   distribution centers to the CVS retail           22   let you finish your answer.
   23   pharmacies; is that correct?                     23   BY MR. BAKER:
   24      A. Yes, III through V.                        24      Q. I'm sorry if I overstepped your
                                             Page 203                                             Page 205
    1      Q. To the extent that CVS retail               1   answer.
    2   pharmacies also purchased either Schedule III     2      A. That's okay.
    3   narcotics or Schedule II narcotics from           3      Q. So who was Pamela Hinkle?
    4   outside vendors, that would not be something      4      A. She worked in loss prevention out of
    5   that CVS Pharmacy or CVS distribution centers     5   Tennessee.
    6   would be able to monitor; is that correct?        6      Q. Who was Aaron Burtner at that time?
    7             MR. BUSH: Objection.                    7      A. I know the name Aaron, but I don't
    8      A. From what I know, I wouldn't think so       8   know -- I don't know the specifics about
    9   by.                                               9   Aaron.
   10   BY MR. BAKER:                                    10      Q. Would you turn to the next page? Do
   11      Q. In fact, that's something that they        11   you see at the bottom there it says -- we'll
   12   don't monitor; is that right?                    12   highlight this if you would, technology --
   13             MR. BUSH: Objection.                   13   "All orders," where it says -- now this --
   14      A. Yeah I don't believe so, no.               14   taken in context, is an AGI CVS discussion on
   15   BY MR. BAKER:                                    15   10/5/12; is that correct?
   16      Q. Okay. Let me show you what is marked       16      A. Yes, that's what it says.
   17   as Exhibit 53.                                   17              MR. BUSH: This does not reflect
   18                                                    18   she participated in it, correct?
   19          (Exhibit No. 53 marked for                19              THE WITNESS: Correct.
   20   identification.)                                 20              MR. BAKER: I'm sorry?
   21                                                    21              MR. BUSH: I mean, I'm just
   22             MR. BUSH: I'm sorry, you said          22   noting she's not on this list.
   23   this was 53?                                     23              THE WITNESS: No.
   24             MR. BAKER: Yes, sir.                   24              MR. BAKER: No.

   Golkow Litigation Services                                              Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further53Confidentiality
                                                       of 79. PageID #: 470170
                                                                           Review
                                             Page 206                                                  Page 208
    1   BY MR. BAKER:                                     1   BY MR. BAKER:
    2      Q. This is for pharmacy DC ordering            2      Q. Because you can't speak to it, that
    3   process, conference call recap, correct, at       3   doesn't give you any reason at all to disagree
    4   the top?                                          4   with it, correct?
    5      A. Yes, that's what it says.                   5              MR. BUSH: Objection.
    6      Q. And it says here, "All orders               6      A. It also doesn't give me reason to
    7   generated from outside vendors are not pushed     7   agree with it.
    8   through the SOM process," correct?                8   BY MR. BAKER:
    9      A. That's what it says.                        9      Q. So you can neither agree nor
   10      Q. And that would be an accurate              10   disagree?
   11   statement, that at no time have outside vendor   11      A. Correct.
   12   orders for CVS retail pharmacies been pushed     12      Q. But you will agree that this is a CVS
   13   through the SOM process that CVS had in place;   13   document that does say that as of October 5,
   14   is that correct?                                 14   2012, all orders generated from outside
   15              MR. BUSH: Objection.                  15   vendors are not pushed through the SOM
   16      A. I cannot speak to that.                    16   process? You would agree with that,
   17   BY MR. BAKER:                                    17   correct?
   18      Q. Well, as of 2012, this document            18      A. I can agree that this says that.
   19   clearly indicates that all orders generated      19      Q. And you did not know the process to be
   20   from outside vendors are not pushed through      20   any different than what is stated on this
   21   the SOM process, correct?                        21   document; is that correct?
   22      A. This line says all orders generated        22      A. I cannot speak to the process.
   23   from outside vendors have not pushed through     23      Q. Because you can't speak to the
   24   SOM, but I --                                    24   process, you can't speak to the process as
                                             Page 207                                                    Page 209
    1      Q. That would be as late as October 5,         1   being any different than what's stated on the
    2   2012, that was still an issue, correct?           2   document, correct?
    3      A. I can't speak --                            3      A. Yeah, I cannot speak to it either way.
    4             MR. BUSH: Objection. Go                 4      Q. As CVS DEA Compliance Coordinator, you
    5   ahead.                                            5   were aware, as late as October 5, 2012, that
    6      A. I can't speak to if that was an issue.      6   all orders generated for outside vendors were
    7   BY MR. BAKER:                                     7   not pushed through the suspicious order
    8      Q. It --                                       8   monitoring process, correct?
    9      A. I have no idea.                             9              MR. BUSH: Objection.
   10      Q. It was still a fact, as of October 5,      10      A. I can't agree with that.
   11   2012, that all orders generated for outside      11   BY MR. BAKER:
   12   vendors were not pushed through the SOM          12      Q. Well, tell me, what process was there
   13   process, correct?                                13   for suspicious order monitoring at CVS for
   14             MR. BUSH: Objection.                   14   outside vendors as of 10/5/12?
   15      A. I can't speak to that.                     15      A. I cannot speak to that. I do not
   16   BY MR. BAKER:                                    16   know.
   17      Q. The document says that, correct?           17      Q. As CVS DEA Compliance Coordinator,
   18      A. Correct, the document says that.           18   shouldn't you have known one way or the other,
   19      Q. And you would have no reason to            19   in your duties as CVS DEA Compliance
   20   disagree with what this document says; is that   20   Coordinator in 2012, whether or not outside
   21   correct?                                         21   vendor orders would or would not be pushed
   22             MR. BUSH: Objection.                   22   through the SOM process?
   23      A. I can't speak to it. I don't know the      23              MR. BUSH: Objection.
   24   context.                                         24      A. I can't agree with that or not. I

   Golkow Litigation Services                                                Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further54Confidentiality
                                                       of 79. PageID #: 470171
                                                                           Review
                                             Page 210                                              Page 212
    1   wasn't -- I wasn't involved in the SOM            1   future, is it not, logistics planning?
    2   management.                                       2               MR. BUSH: Objection.
    3   BY MR. BAKER:                                     3      A. I cannot speak to this.
    4     Q. Let me show you what's marked as             4   BY MR. BAKER:
    5   Exhibit No. 45.                                   5      Q. At the time this document was written
    6                                                     6   though, there was not already in place a
    7          (Exhibit No. 45 marked for                 7   suspicious order monitoring system by CVS for
    8   identification.)                                  8   outside vendors; is that correct?
    9                                                     9               MR. BUSH: Objection.
   10   BY MR. BAKER:                                    10      A. I can't speak to that. I don't know.
   11      Q. Now, this is a document dated              11   BY MR. BAKER:
   12   5/8/2013, Bates number 22896, an e-mail from     12      Q. I'll hand you that. So hand it to the
   13   Dean Vanelli to Christopher Tulley regarding a   13   court reporter, please?
   14   staff meeting update and logistics planning.     14      A. Do you want this back?
   15   Do you know Dean Vanelli?                        15      Q. Yes, please, ma'am.
   16      A. Yes, I do.                                 16         Let's go to Exhibit 104.
   17      Q. Who was he at the time of this e-mail?     17
   18      A. He was the director in logistics           18          (Exhibit No. 104 marked for
   19   planning.                                        19   identification.)
   20      Q. And who was Christopher Tulley at the      20
   21   time of this e-mail?                             21               MR. BUSH: Guys, could we go off
   22      A. Christopher Tulley worked in               22   the record for one second? I just got a phone
   23   logistics, I believe, as a project manager.      23   call that I really need to take.
   24      Q. May I see the copy that I've just          24               MR. BAKER: Yes, no problem.
                                             Page 211                                              Page 213
    1   handed you, please, ma'am?                        1             THE VIDEOGRAPHER: The time is
    2      A. Yes.                                        2   2:14 p.m. and we're off the record.
    3      Q. I'll give you another copy.                 3
    4              MR. BUSH: A better copy.               4           (Recess was taken from 2:14 p.m.
    5   BY MR. BAKER:                                     5           to 2:16 p.m.)
    6      Q. If you would, under the suspicious          6
    7   order monitoring page, page 2 of the document,    7               THE VIDEOGRAPHER: The time is
    8   at the top, if you would highlight the fifth      8   2:16 p.m. and we're on the record.
    9   bullet down, about SOM process.                   9   BY MR. BAKER:
   10         Now, if you go back to the beginning       10      Q. Yes. I'm showing you right now
   11   of this document, this document is a logistics   11   Exhibit 104. It is Bates number 103329. It
   12   planning document dated May 13, 2013,            12   is an e-mail, 1/18/2013, of Mr. Craig Schiavo
   13   correct?                                         13   to Mr. Tom Bourque.
   14      A. Yes.                                       14         Who was Craig Schiavo at the time of
   15      Q. And if you page in to that document,       15   this e-mail?
   16   it shows that the SOM process will include       16      A. I believe Craig worked in compliance.
   17   store controlled-substance orders placed with    17      Q. And who was Tom Bourque at the time of
   18   CVS warehouses and outside vendors, Cardinal     18   this e-mail?
   19   and McKesson, as well as store orders of DEA     19      A. I believe he was the director in
   20   listed chemicals, which is PSEE acetone,         20   compliance.
   21   iodine, known meth precursors. That's what it    21      Q. The e-mail says -- if you would
   22   says, correct?                                   22   highlight this, please. Highlight everything
   23      A. That's what it says, yes.                  23   in the first two paragraphs.
   24      Q. So this is a planning document for the     24         It begins with "Tom, below are some

   Golkow Litigation Services                                               Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further55Confidentiality
                                                       of 79. PageID #: 470172
                                                                           Review
                                                 Page 214                                                   Page 216
    1   bullets on the importance of including OV            1   process going on at that time?
    2   orders in the SOM algorithm."                        2              MR. BUSH: Objection.
    3         That's what it says, correct?                  3      A. No.
    4      A. Correct.                                       4   BY MR. BAKER:
    5      Q. OV orders means outside vendor orders,         5      Q. As DE -- as CVS DEA Compliance
    6   correct?                                             6   Coordinator, you could not tell us what the
    7      A. Correct.                                       7   role of dispensing data was as contained in
    8      Q. It says, "Why it is needed: DEA know           8   the algorithm for suspicious order
    9   your customer requirements," correct?                9   monitoring?
   10      A. Correct.                                      10              MR. BUSH: Objection.
   11      Q. And do you remember, earlier in your          11      A. No.
   12   deposition today, when I asked had you              12   BY MR. BAKER:
   13   familiarized yourself with the                      13      Q. Okay. Would you agree that -- as CVS
   14   know-your-customer requirement of the DEA? Do       14   DEA Compliance Coordinator, that CVS must
   15   you remember that?                                  15   account for all controlled substances ordered
   16      A. Yes.                                          16   inclusive of outside vendor orders?
   17      Q. Okay. Do you remember your answer to          17              MR. BUSH: Objection.
   18   that question?                                      18      A. Would I agree -- I'm sorry.
   19      A. Yes. I believe I said I don't                 19      Q. Would you agree, as CVS DEA Compliance
   20   remember.                                           20   Coordinator, that CVS must account for all
   21      Q. You weren't familiar with it?                 21   controlled substances ordered by CVS
   22      A. Yeah.                                         22   pharmacies inclusive of outside vendor
   23      Q. Were you?                                     23   orders?
   24      A. Yeah.                                         24              MR. BUSH: Objection.

                                                Page 215                                                  Page 217
    1      Q. But you know from reading this e-mail,         1      A. I don't know if I would agree with
    2   at least that -- according to Mr. Schiavo            2   that.
    3   within CVS, that including outside vendor            3      Q. Does this document indicate that CVS
    4   orders in the SOM algorithm is needed in order       4   must account for all controlled substances
    5   to meet the DEA know-your-customer                   5   ordered, including outside vendor orders? Is
    6   requirement, correct?                                6   that what this document indicates?
    7              MR. BUSH: Objection.                      7              MR. BUSH: Objection.
    8      A. I -- I don't know if I can say reading         8      A. His document states we must account
    9   from this e-mail.                                    9   for all control substance ordered, so
   10      Q. Well, that's what it says. It                 10   according to Craig, yes.
   11   says --                                             11   BY MR. BAKER:
   12      A. He says --                                    12      Q. Okay. It also says that why it is
   13      Q. -- why it is needed because DEA               13   needed is to track all NDC numbers. Do you
   14   know-your-customer requirements, correct?           14   know what NDC numbers are?
   15   Doesn't it say that?                                15      A. Yes, I know what a NDC is.
   16      A. Craig says it, correct.                       16      Q. What is an NDC?
   17      Q. Okay. And it also says why it is              17      A. The identifying number on the bottles.
   18   needed is "In order for dispensing data             18      Q. Ordered by -- it says "To track all
   19   contained in the algorithm to be useful, we         19   NDC numbers ordered by store and have the
   20   must account for all controlled substances          20   ability to add unknown first-time item orders
   21   ordered," correct?                                  21   into our SOM system," correct?
   22      A. According to Craig's e-mail, yes.             22      A. That's what it says, yes.
   23      Q. Do you even know how dispensing data          23      Q. It says potential issues, if not
   24   was used in the algorithm within the SOM            24   accounted for in realtime. First is "store

   Golkow Litigation Services                                                   Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further56Confidentiality
                                                       of 79. PageID #: 470173
                                                                           Review
                                             Page 218                                                 Page 220
    1   may order a little from both the outside          1   happened in the potential issues, if not
    2   vendor and the distribution center to stay        2   accounted for in realtime.
    3   under the radar," correct?                        3          Could you highlight that last sentence
    4      A. That's what it says, correct.               4   where it says, "Stores can place phone
    5      Q. So let me give you an example               5   orders," then the two bullets below it?
    6   hypothetically. So suppose you have a CVS         6          It says, "Stores can place phone
    7   retail store that decides it wants to order --    7   orders which have no visibility to -- until a
    8   the pharmacist wants to order 30,000              8   later time," and then as a bullet, "currently
    9   hydrocodone-combination pills from the            9   have a store which had a 68,000 hydrocodone
   10   distribution center that CVS actually owns,      10   pill loss and was placing phone orders to
   11   whether it be Indiana or Chemung, New York,      11   outside vendor." Isn't that what it says?
   12   all right.                                       12      A. That's what it says.
   13          In this hypothetical, let's suppose       13      Q. This is a CVS store, correct?
   14   that 30,000 runs through the SOM system and is   14      A. That's what it says.
   15   not flagged as an irregular order. Are you       15      Q. And when CVS pharmacies lose 68,000
   16   with me so far?                                  16   hydrocodone pills, that's diversion, is it
   17      A. Uh-huh.                                    17   not?
   18      Q. And I want you to assume that when the     18               MR. BUSH: Objection.
   19   pharmacist hangs up the phone, the pharmacist    19      A. I can't speak to that.
   20   then orders 30,000 more from McKesson or         20      Q. That's classic diversion, is it not?
   21   Cardinal of the same drug, high hydrocodone      21               MR. BUSH: Objection.
   22   combination products.                            22      A. I can't speak to that. I don't have
   23          That's the premise of the hypothetical    23   enough information.
   24   facts that I want you to assume. Are you with    24   BY MR. BAKER:
                                             Page 219                                                   Page 221
    1   me so far?                                        1       Q. Did CVS corporate or CVS at any level,
    2      A. I'm with you.                               2   distribution center, pharmacy or any level,
    3      Q. The question is: If outside vendor          3   report that loss of 68,000 hydrocodone pills
    4   orders of that store are not being monitored      4   to the DEA, yes or no?
    5   by CVS corporate or CVS distribution centers,     5              MR. BUSH: Objection.
    6   then how would CVS monitor that extra 30,000      6       A. I don't know. I'm not familiar with
    7   pills that are being ordered from an outside      7   it.
    8   vendor by that pharmacy?                          8   BY MR. BAKER:
    9               MR. BUSH: Objection.                  9       Q. As CVS DEA Compliance Coordinator,
   10      A. I don't know. I can't speak to the         10   would you expect somebody within CVS to report
   11   system.                                          11   that 68,000 hydrocodone pill loss to the DEA
   12      Q. This system didn't monitor it at all,      12   to be in compliance with the DEA
   13   did it, the -- CVS's system?                     13   regulations?
   14               MR. BUSH: Objection.                 14              MR. BUSH: Objection.
   15      A. I don't know.                              15       A. I don't know. I don't know what the
   16   BY MR. BAKER:                                    16   circumstances are regarding it.
   17      Q. And when things like that aren't           17   BY MR. BAKER:
   18   monitored, it can lead to diversion, can it      18       Q. 68 -- according to this document,
   19   not?                                             19   ma'am, you're looking at 68,000 hydrocodone
   20               MR. BUSH: Objection.                 20   pills that were lost, correct?
   21      A. I assume if something's not monitored      21       A. That's what this says, but I don't
   22   it could.                                        22   know what the circumstances are.
   23   BY MR. BAKER:                                    23       Q. And if those pills are lost, that
   24      Q. Okay. In fact, let's look at what          24   means they're unaccounted for in some way,

   Golkow Litigation Services                                                Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further57Confidentiality
                                                       of 79. PageID #: 470174
                                                                           Review
                                                   Page 222                                                   Page 224
    1   shape or form, correct?                                1   BY MR. BAKER:
    2              MR. BUSH: Objection.                        2      Q. If this happened today and you were
    3      A. I don't know.                                    3   the CVS DEA Compliance Coordinator, would you
    4      Q. And as CVS DEA Compliance Coordinator,           4   report it to the DEA?
    5   you don't know whether or not a 68,000                 5               MR. BUSH: Objection.
    6   hydrocodone pill loss should be reported to            6      A. I don't know the circumstances
    7   the DEA?                                               7   surrounding it, if it's reportable or not.
    8      A. I don't enough information --                    8   BY MR. BAKER:
    9              MR. BUSH: Objection.                        9      Q. A 68,000 hydrocodone pill loss,
   10      A. -- to -- to know.                               10   irrespective of circumstances, if they remain
   11   BY MR. BAKER:                                         11   lost and unaccounted for, that is something
   12      Q. Well, in 2013, when this occurred,              12   that you should report to the DEA; am I
   13   were you the CVS DEA Compliance Coordinator in        13   correct?
   14   corporate headquarters?                               14               MR. BUSH: Objection.
   15      A. I was the CVS DEA Compliance                    15      A. If I had the correct information and
   16   Coordinator, yes.                                     16   knew what I was reporting, yes, potentially it
   17      Q. And was this brought to your attention          17   would be reported. I don't know the
   18   by anybody, that there was a 68,000                   18   circumstances.
   19   hydrocodone pill loss?                                19   BY MR. BAKER:
   20      A. Not that I recall.                              20      Q. Who, if anybody, within CVS, CVS
   21              MR. BUSH: Objection.                       21   corporate, CVS Pharmacy, or any other portion
   22   BY MR. BAKER:                                         22   of CVS, whether it be the distribution centers
   23      Q. If this had been brought to your                23   or any other entity of CVS, reported this
   24   attention, would you have reported it to the          24   68,000 hydrocodone pill lost to the DEA?

                                                   Page 223                                                 Page 225
    1   DEA as CVS DEA Compliance Coordinator?                 1     A. I do not know.
    2               MR. BUSH: Objection.                       2           MR. BUSH: Objection.
    3      A. I don't know the circumstances.                  3   BY MR. BAKER:
    4   BY MR. BAKER:                                          4     Q. Let's go to the next numbered exhibit,
    5      Q. If the pills remained unaccounted                5   No. 76.
    6   for -- that means lost -- would you, as CVS            6
    7   DEA Compliance Coordinator, have an obligation         7          (Exhibit No. 76 marked for
    8   to report that to the drug enforcement agency          8   identification.)
    9   of the United States of America, yes or no?            9
   10               MR. BUSH: Objection.                      10   BY MR. BAKER:
   11      A. My position -- at the time I didn't             11      Q. Now, do you remember, back when I
   12   work with the stores directly.                        12   showed you the logistics planning update,
   13   BY MR. BAKER:                                         13   and -- there was consideration in the prior
   14      Q. But you're the CVS DEA Compliance               14   document -- that is Exhibit No. 45 -- that May
   15   Coordinator. If this had been brought to your         15   13, 2013, there was consideration for putting
   16   attention and nobody else within CVS had              16   into the SOM -- into the future SOM, a process
   17   reported it up until the time that you became         17   for monitoring outside vendor orders? Do you
   18   knowledgeable of it, would you, in carrying           18   remember that?
   19   out your duties as CVS DEA Compliance                 19      A. Yes.
   20   Coordinator, feel an obligation to report it          20      Q. Now, fast-forward to February 10 of
   21   to the DEA, yes or no?                                21   2014. And this is the document that you're
   22               MR. BUSH: Objection.                      22   looking at right now, marked Exhibit No. 76,
   23      A. I can't say what I would have done              23   that begins with Bates number 59258 through
   24   then. I don't know.                                   24   Bates number 59260, correct?

   Golkow Litigation Services                                                     Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further58Confidentiality
                                                       of 79. PageID #: 470175
                                                                           Review
                                            Page 226                                                 Page 228
    1       A. Yes.                                      1      A. Correct.
    2       Q. Turn to page 2 of that document,          2      Q. Okay. And you're familiar with the
    3   because this is a string of e-mails. I'd like    3   fact that in 2014 there was an update of the
    4   you to go down to the bottom of page 2, and      4   SOM inserted into the SOP once again; is that
    5   the top of page 3, okay?                         5   correct?
    6          At the bottom of page 2, it says from     6              MR. BUSH: February of '14.
    7   Caitlyn Batty, B-a-t-t-y, to Dean Vanelli,       7      A. February of 2014?
    8   Craig Schiavo, Noah Zimmerman, and Amy           8   BY MR. BAKER:
    9   Propatier. That's you, right?                    9      Q. Yes, ma'am.
   10       A. Uh-huh.                                  10          That's what this is discussing and
   11       Q. Yes?                                     11   that's what's being done, right?
   12       A. Yes.                                     12      A. I don't recall it.
   13       Q. February 5, 2014, "I think the SOP       13      Q. At the time were you CVS DEA
   14   looks good. I just had a couple of comments.    14   Compliance Coordinator or not?
   15   Please see attached."                           15      A. At this time I was transitioning to
   16          That's what it says, correct?            16   another position.
   17              MR. BUSH: I think you misspoke       17      Q. Well, you're included on the e-mail?
   18   about who that's from. You said from Batty.     18      A. Yes, I'm on the e-mail.
   19   It's from Vanelli, right?                       19      Q. So if you're included on the e-mail,
   20              THE WITNESS: This one,               20   you presume that you're familiar with it,
   21   Caitlyn.                                        21   right?
   22              MR. BAKER: No. It's from             22      A. Yes.
   23   Caitlyn Batty. I'm looking right here.          23              MR. BUSH: Objection.
   24              MR. BUSH: Maybe I'm on the           24      A. I don't recall this e-mail.
                                            Page 227                                                   Page 229
    1   wrong page.                                      1   BY MR. BAKER:
    2              THE WITNESS: Second page.             2      Q. But did you review the SOM that was to
    3              MR. BUSH: I've got it. I'm            3   be inserted into the SOP on an updated basis
    4   sorry, I apologize.                              4   in February of 2014 as reflected in this
    5   BY MR. BAKER:                                    5   e-mail?
    6      Q. I stated it correctly. This is from        6      A. I don't recall.
    7   Caitlyn Batty to Dean Vanelli, Craig Schiavo,    7      Q. Well, then let's take a look. If you
    8   Noah Zimmerman, and Amy Propatier. That's        8   continue down the bottom of the page, it
    9   you, correct?                                    9   says -- there's an e-mail sent from Dean
   10      A. Correct.                                  10   Vanelli to Craig Schiavo, Noah Zimmerman, and
   11      Q. And this is February 5, 2014, correct?    11   Amy Propatier, which is you, correct?
   12      A. Correct.                                  12      A. Correct.
   13      Q. And what you're discussing here,          13      Q. And it's regarding SOM SOP for posting
   14   throwing around with each other in these        14   to P and P portal, correct?
   15   e-mails, is the SOM SOP on an updated basis     15      A. Correct.
   16   that's going to be posted to the portal in      16      Q. P and P portal is CVS's policies and
   17   February of 2014, correct?                      17   procedures portal, correct?
   18      A. I believe so.                             18      A. Correct.
   19      Q. Well, that's what it says. If you         19      Q. And it says here, at the top of the
   20   look right above there, it says, "Regarding     20   next page, "Please review and provide Noah
   21   SOM SOP for posting to the portal," correct?    21   with feedback." Then it says -- and let's
   22      A. Correct.                                  22   highlight this sentence please.
   23      Q. And that's what this is discussing,       23         It says, "We should ensure there is no
   24   correct?                                        24   mention of OV orders as suspicious,"

   Golkow Litigation Services                                               Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further59Confidentiality
                                                       of 79. PageID #: 470176
                                                                           Review
                                                   Page 230                                             Page 232
    1   correct?                                               1      Q. When did you take the last name
    2      A. That's what it says.                             2   Propatier?
    3      Q. And this is something that -- you were           3      A. May of 2008.
    4   a party to this e-mail; is that correct?               4      Q. So any time in these e-mails we see
    5      A. I don't recall this e-mail.                      5   the name Amy Lynn Brown up to that date, it's
    6      Q. Well, aren't you a party on the                  6   you. And then after that date, it's Amy
    7   e-mail, Ms. Amy Propatier?                             7   Propatier, correct?
    8      A. I'm on the e-mail.                               8      A. Correct.
    9      Q. At the time were you DEA Compliance              9      Q. So in 2008, when you received this
   10   Coordinator for CVS?                                  10   from Ron Buzzeo, you were the CVS DEA
   11      A. I believe I may have been.                      11   Compliance Coordinator, correct?
   12      Q. And at the time did you -- did you              12      A. Correct.
   13   condone, as CVS DEA Compliance Coordinator,           13      Q. And that's why Mr. Buzzeo was
   14   the notion that, as indicated in this e-mail,         14   communicating with you, correct?
   15   CVS should ensure there's no mention of               15               MR. BUSH: Objection.
   16   outside -- outside vendor orders as                   16      A. I can't answer that. I don't know why
   17   suspicious? Do you agree with that?                   17   he sent it.
   18              MR. BUSH: Objection.                       18   BY MR. BAKER:
   19      A. I don't recall this.                            19      Q. Mr. Buzzeo on the company that -- or
   20      Q. Do you agree that that is a position            20   strike that.
   21   that should be taken by a CVS DEA Compliance          21         Mr. Buzzeo was affiliated with the
   22   Coordinator, that "We should ensure there is          22   company that CVS had hired to help write
   23   no mention of outside vendor orders as                23   suspicious order monitoring policies, correct?
   24   suspicious"?                                          24      A. I don't know specifically what he was
                                                   Page 231                                             Page 233
    1            MR. BUSH: Objection.                          1   hired for. I can't speak to what he was
    2     A. I can't answer that because I don't               2   specifically hired for.
    3   know the context.                                      3      Q. The e-mail says, "Amy, as we
    4   BY MR. BAKER:                                          4   discussed, I've attached the DEA letters that
    5     Q. Well, you're on the e-mail, so I'm                5   address suspicious orders. The letter dated
    6   asking you the context.                                6   12/07 is especially interesting."
    7     A. I don't recall the e-mail.                        7          And, of course, we've already gone
    8                                                          8   over the letter dated 12 of '07 because that's
    9          (Exhibit No. 102 marked for                     9   the one that we previously went over, December
   10   identification.)                                      10   27, 2007. But there's also one dated February
   11                                                         11   7, 2007 and there's also one dated September
   12   BY MR. BAKER:                                         12   27, 2006 attached to this e-mail, correct?
   13      Q. Next is Exhibit No. 102. It is an               13      A. Correct.
   14   e-mail from Ron Buzzeo to Amy Lynn Brown dated        14      Q. So let's just get it straight. There
   15   2/21/08. It begins with Bates number 91508.           15   are three letters from the DEA attached to
   16   It has an attachment of a DEA letter dated            16   this e-mail dated 2/21 of 2008 from Ron Buzzeo
   17   September 27, 2006. And the last page on the          17   to you, correct?
   18   Bates is 91518. Could you take a look at              18      A. Correct.
   19   that, please?                                         19      Q. And those letters sequentially are
   20         Now, this is an e-mail that is dated            20   dated September 27, 2006 -- that's the first
   21   2/21/08 from Ron Buzzeo to Amy Lynn Brown.            21   letter. The second letter is dated February
   22   That would be your last name at the time this         22   7, 2007 and the third letter is dated December
   23   e-mail was written, correct?                          23   27, 2007, correct?
   24      A. Correct.                                        24      A. Correct.

   Golkow Litigation Services                                                    Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further60Confidentiality
                                                       of 79. PageID #: 470177
                                                                           Review
                                                    Page 234                                             Page 236
    1      Q. So we know that the CVS DEA Compliance            1   looking at the letter dated September 27,
    2   Coordinator, which is you, was aware of the             2   2006. I'm going to read this to you and I
    3   contents of all three of these letters from             3   want you to tell me if I've accurately stated
    4   the DEA that are dated as such, correct?                4   what this letter says.
    5               MR. BUSH: Objection.                        5         It says, "Background: The CSA was
    6      A. I don't recall seeing this.                       6   designed by congress to combat diversion by
    7   BY MR. BAKER:                                           7   providing for a closed system of drug
    8      Q. Well, they were sent to you to read,              8   distribution in which all legitimate handlers
    9   correct?                                                9   of controlled substances must obtain a DEA
   10               MR. BUSH: Objection.                       10   registration and as a condition of maintaining
   11      A. They were -- sorry, they were sent to            11   such registration must take reasonable steps
   12   me. I can't recall if -- what I did or if I            12   to ensure that the registration is not being
   13   read them.                                             13   utilized as a source of diversion."
   14      Q. If you had received these letters from           14         Isn't that what it says?
   15   the DEA, at least from Mr. Buzzeo, these -- he         15      A. Yes.
   16   sent you these DEA letters on 2/21/08. And at          16      Q. So you know from reading this, you're
   17   the time you were CVS DEA Compliance                   17   informed by reading this, that the purpose of
   18   Coordinator, didn't you have a duty to read            18   the Controlled Substances Act is, in part, to
   19   these letters?                                         19   prevent diversion of narcotics, correct?
   20               MR. BUSH: Objection.                       20              MR. BUSH: Objection.
   21      A. I can't answer if I did have a duty.             21   BY MR. BAKER:
   22   I don't -- I don't know if I did.                      22      Q. You know that from reading this,
   23      Q. Didn't you part as the -- as part of             23   right?
   24   your job have an obligation to make it your            24              MR. BUSH: Objection.
                                                  Page 235                                               Page 237
    1   business to read these letters from the DEA             1       A. (Witness reviews document.)
    2   that were being sent to you by Mr. Buzzeo?              2         Yes. From reading this, it says that.
    3              MR. BUSH: Objection.                         3   BY MR. BAKER:
    4      A. I don't recall receiving this e-mail.             4       Q. And this is something that was
    5   BY MR. BAKER:                                           5   available for you to read, whether you did or
    6      Q. Okay. Did these letters just have of              6   not, when it was sent to you February 21 of
    7   no concern to you?                                      7   2008, correct?
    8              MR. BUSH: Objection.                         8       A. I don't recall it.
    9      A. I don't remember this e-mail, so I                9       Q. Go to the next page of that letter.
   10   don't know if they were of concern to me.              10   And about halfway down it begins with, "The
   11   BY MR. BAKER:                                          11   DEA regulations require." If you could
   12      Q. Have you ever seen these three letters           12   highlight that in the subparagraph right below
   13   before?                                                13   it.
   14      A. I mean, I saw one earlier. I don't --            14         This says, "The DEA regulations
   15   I don't recall seeing them.                            15   require all distributors to report suspicious
   16      Q. Okay. Well, let's just go over them,             16   orders of controlled substances, specifically
   17   if we could, beginning with the letter dated           17   the regulations within 21 CFR 1301.74 B, the
   18   September 26, of 2007. It talks about the              18   registrant shall design and operate a system
   19   background on the first page. We go to                 19   to disclose to the registrant suspicious
   20   background and we'll go to Paragraph 2 and             20   orders of controlled substances. The
   21   talk about what the purpose of the Controlled          21   registrant shall inform the field division
   22   Substances Act is.                                     22   office of the administration in his area of
   23         If you highlight under background --             23   suspicious orders when discovered by the
   24   Paragraph 2 starts with "thus CSA." We're              24   registrant. Suspicious orders include orders

   Golkow Litigation Services                                                     Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further61Confidentiality
                                                       of 79. PageID #: 470178
                                                                           Review
                                                  Page 238                                                 Page 240
    1   of unusual size, orders deviating                     1
    2   substantially from a normal pattern, and              2   BY MR. BAKER:
    3   orders of unusual frequency."                         3       Q. And it's CVS Bates number 57736
    4         That's what that letter says,                   4   through 57738. Please review that with me.
    5   correct?                                              5           Now, this is an e-mail from Frank
    6      A. Yes.                                            6   Devlin who, at the time this was written in
    7      Q. And so it gives you a clear definition          7   May of 2011, held what position with CVS?
    8   of what a suspicious order is, correct?               8       A. I believe he was the Director of Loss
    9             MR. BUSH: Objection.                        9   Prevention.
   10      A. It gives a definition, yes.                    10       Q. And Judith Hughes, who at the time
   11      Q. Okay. And the definition that they             11   this was written, held what position with CVS?
   12   gave you is that suspicious orders include           12       A. I do not know what her exact position
   13   orders of unusual size, orders deviating             13   was. I believe she worked in loss prevention
   14   substantially from a normal pattern, and             14   also.
   15   orders of unusual frequency, correct?                15       Q. Okay. If you could highlight on the
   16      A. Correct.                                       16   next page -- is it already highlighted under
   17      Q. So tell me, how was it that you, as            17   "process of identifying suspicious order"?
   18   CVS DEA Compliance Coordinator, defined a            18           This is -- if you look at the top,
   19   suspicious order in the context of suspicious        19   it's talking about the components of control
   20   order monitoring?                                    20   IRR report, correct?
   21             MR. BUSH: Objection.                       21       A. That's what it says yes.
   22      A. What was your question?                        22       Q. Do you even know what a control IRR
   23   BY MR. BAKER:                                        23   report is?
   24      Q. Tell me how you, as CVS DEA Compliance         24       A. I've never seen one, that I can
                                                  Page 239                                                   Page 241
    1   Coordinator, defined a suspicious order within        1   recall.
    2   the CVS suspicious order monitoring system            2      Q. As CVS DEA Compliance Coordinator, at
    3   while you were in your role as CVS DEA                3   that time were you ever presented with what a
    4   Compliance Coordinator.                               4   control IRR report was or what it looked
    5              MR. BUSH: Objection.                       5   like?
    6       A. I did not work with the SOM system.            6      A. Not that I recall.
    7   BY MR. BAKER:                                         7      Q. As CVS DEA Compliance Coordinator,
    8       Q. As CVS DEA Compliance Coordinator, are         8   were you familiar with what the process of
    9   you telling me you had nothing at all to do           9   identifying suspicious orders was at CVS?
   10   with the SOM system?                                 10      A. No, not that I recall.
   11       A. Correct.                                      11      Q. Let me read it to you.
   12       Q. You're the one that implemented it.           12          It says, "Process of identifying
   13   You're the one that put it into the SOP, am I        13   suspicious orders: In order to determine
   14   right, 8/25 of '10, right?                           14   which items on the control IRR report are
   15       A. I did not implement the system. I put         15   suspicious, the orders-quantity field is
   16   the document on SOM into the SOP.                    16   observed by the DC IRR analyst for a quantity
   17       Q. This definition of suspicious order,          17   ordered of ten or more. The month-to-date
   18   it's discussed by CVS in what I'm going to           18   field is then observed and compared to LAGs 1,
   19   mark as Exhibit No. 68 which is an e-mail            19   2, and 3. If the month-to-date quantity is at
   20   dated 5/6/2011 from Frank Devlin to Judy             20   least three times greater than the quantities
   21   Hughes.                                              21   in LAGs 1, 2 or 3, then that item is labeled
   22                                                        22   as being suspicious."
   23          (Exhibit No. 68 marked for                    23          Did I read that correct?
   24   identification.)                                     24      A. You did.

   Golkow Litigation Services                                                    Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further62Confidentiality
                                                       of 79. PageID #: 470179
                                                                           Review
                                             Page 242                                              Page 244
    1      Q. So the way it was defined by CVS at         1      A. I see a definition for LAG. I don't
    2   this time, according to this document, if the     2   see it saying it's CVS.
    3   month-to-date quantity at least three times       3   BY MR. BAKER:
    4   greater than the quantities in LAGs 1, 2 or 3,    4      Q. I want you to assume that this is a
    5   three times greater, then that item is labeled    5   CVS document, okay?
    6   as being suspicious; is that correct?             6      A. Uh-huh.
    7               MR. BUSH: Objection.                  7      Q. Assume that that definition -- LAG 1
    8      A. That's what this says.                      8   is the amount ordered the month before, LAG 2
    9   BY MR. BAKER:                                     9   is the amount ordered two months before, and
   10      Q. Now, go to the paragraph above that,       10   LAG 3 is the amount ordered three months
   11   where it describes what a LAG is. If you look    11   before.
   12   at the last two sentences of the components of   12      A. Uh-huh.
   13   the control IRR report, it says, "The            13      Q. If you assume this is a CVS document,
   14   month-to-date order quantity states the amount   14   then that gives you the definition of what
   15   of the item in question ordered during the       15   LAGs are as it relates to CVS and the IRR
   16   current month. LAG 1 is the amount ordered       16   report, correct?
   17   the month before, LAG 2 is the amount ordered    17              MR. BUSH: Objection.
   18   two months before, and LAG 3 is the amount       18      A. According to this, yes.
   19   ordered three months before."                    19   BY MR. BAKER:
   20          Is that what it states?                   20      Q. Okay. And then the next paragraph
   21      A. That's what it says.                       21   tells you how LAGs are used in order to
   22      Q. So now you know what LAGs are,             22   determine what is or is not a suspicious order
   23   correct?                                         23   by definition within CVS, correct?
   24               MR. BUSH: Objection.                 24              MR. BUSH: Objection.
                                             Page 243                                              Page 245
    1   BY MR. BAKER:                                     1   BY MR. BAKER:
    2       Q. You know what they are from reading        2      Q. Do you not know the answer to that
    3   this now?                                         3   question?
    4              MR. BUSH: Objection.                   4              MR. BUSH: Objection.
    5       A. All I know is this saying -- is LAG.       5      A. Yeah, I'm not familiar with this,
    6       Q. Right. And this a CVS document,            6   so --
    7   correct?                                          7   BY MR. BAKER:
    8       A. I can't say for sure, but...               8      Q. Well, let's get familiar. Okay. It
    9       Q. Well, let's say this: It has CVS           9   says, "The month-to-date field is then
   10   Bates number written on it and it's also         10   observed and compared to LAGs 1, 2 and 3. If
   11   attached to a CVS e-mail 5/16/2011 from Frank    11   the month-to-date quantity is at least three
   12   Devlin to Judith Hughes, correct?                12   times greater than the quantities in LAGs 1, 2
   13       A. It's -- yeah, it's an e-mail from         13   or 3, then that item is labeled as being
   14   Frank to Judy.                                   14   suspicious."
   15       Q. Right. And this is the attachment to      15          Do you understand those words?
   16   it, correct?                                     16      A. Yes.
   17       A. Yeah.                                     17              MR. BUSH: Objection.
   18       Q. Okay. And so you know from at least       18   BY MR. BAKER:
   19   two people inside of CVS who hold positions      19      Q. Do you comprehend those words?
   20   that deal with these issues of an IRR and a      20              MR. BUSH: Objection.
   21   suspicious order that there's been a             21      A. Yes.
   22   definition of LAG laid out for you in writing    22   BY MR. BAKER:
   23   right there, correct?                            23      Q. Okay. Do you understand that is how
   24              MR. BUSH: Objection.                  24   CVS defined a suspicious order within its

   Golkow Litigation Services                                               Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further63Confidentiality
                                                       of 79. PageID #: 470180
                                                                           Review
                                            Page 246                                              Page 248
    1   system at the time this was written? Do you      1      A. Was I present at the DC?
    2   understand that --                               2      Q. When the Indianapolis distribution
    3              MR. BUSH: Objection.                  3   center was visited by the DEA in August of
    4   BY MR. BAKER:                                    4   2013.
    5      Q. -- now?                                    5      A. Was I --
    6              MR. BUSH: I'm sorry, objection.       6               MR. BUSH: Present where?
    7   BY MR. BAKER:                                    7      A. -- at the distribution center?
    8      Q. Yes or no?                                 8   BY MR. BAKER:
    9      A. No. I don't know if this is how CVS        9      Q. Were you present at the distribution
   10   identified it. It's not saying it's --          10   center?
   11      Q. According to this --                      11      A. No.
   12      A. -- the SOP.                               12      Q. Did you participate in any way with
   13      Q. According to this document, that's how    13   the DEA visit to the Indianapolis facility for
   14   they defined a suspicious order, correct?       14   an inspection in August of 2013?
   15              MR. BUSH: Objection.                 15      A. No.
   16      A. I don't know that to be true.             16      Q. Were you informed about the results of
   17   BY MR. BAKER:                                   17   the DEA inspection of the Indianapolis
   18      Q. Well, doesn't the document                18   facility -- distribution center facility from
   19   specifically in plain English say it in plain   19   their August 13 visit?
   20   words that you understand?                      20      A. I don't recall.
   21              MR. BUSH: Objection.                 21      Q. Is that something that you, as CVS DEA
   22      A. I don't see where it says this is the     22   Compliance Coordinator, would expect to be
   23   CVS policy we're using to identify suspicious   23   informed about?
   24   orders.                                         24      A. No.
                                            Page 247                                              Page 249
    1   BY MR. BAKER:                                    1      Q. Let me make sure I understand. The
    2       Q. If you assume this is what Frank          2   DEA, the Drug Enforcement agency, is visiting
    3   Devlin attached to his e-mail, if you assume     3   a distribution center of a -- of CVS. At the
    4   it's a CVS definition, then that's plain         4   time they're visiting the distribution center
    5   English for you to say yes or no. Do you         5   of CVS, you are CVS DEA Compliance
    6   understand it, yes or no?                        6   Coordinator. Are you telling me that you
    7              MR. BUSH: Objection.                  7   don't have any knowledge of that or that
    8       A. If I'm assuming it's an SOP, but it       8   you're not informed of it?
    9   doesn't state that this is the operating         9      A. I may have been informed that there
   10   procedure.                                      10   was someone auditing on-site, but I wasn't
   11       Q. Do you understand the plain English of   11   involved in audits. It wasn't my area of
   12   that sentence?                                  12   responsibility.
   13              MR. BUSH: Objection.                 13      Q. Were you involved, as CVS DEA
   14       A. I understand the sentence.               14   Compliance Coordinator, with trying to
   15   BY MR. BAKER:                                   15   understand the results of that visit?
   16       Q. Is there anything ambiguous about that   16      A. No, I was not.
   17   sentence to you?                                17      Q. Was that of no concern to you as DEA
   18       A. No, I understand the sentence.           18   Compliance Coordinator?
   19              MR. BUSH: Objection.                 19      A. It wasn't in my responsibilities.
   20   BY MR. BAKER:                                   20      Q. Isn't the DEA visiting these
   21       Q. Okay. Thank you. So let's move on.       21   facilities to determine compliance, or lack
   22          Were you present at the time the         22   thereof, with DEA regulations?
   23   Indianapolis facility was visited by the DEA    23      A. Was it my responsibility?
   24   in August of 2013?                              24      Q. Isn't that something the DEA is doing

   Golkow Litigation Services                                              Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further64Confidentiality
                                                       of 79. PageID #: 470181
                                                                           Review
                                                Page 250                                               Page 252
    1   when they're visiting these facilities?               1     Q. So let me have you review Exhibit 103
    2      A. Is the DEA looking at compliance?               2   with me, if you would.
    3      Q. Yes.                                            3
    4      A. Yes.                                            4          (Exhibit No. 103 marked for
    5      Q. Okay. And you are the DEA Compliance            5   identification.)
    6   Coordinator at the time, correct?                     6
    7      A. Yes, that was my title.                         7   BY MR. BAKER:
    8      Q. But you're neither there at the time            8      Q. This is an e-mail dated May 15, 2014
    9   the compliance visit is going on, correct?            9   from Andy Echt (phonetic)to John Mortelliti
   10      A. Correct.                                       10   and Brian Morrison and Jerome Kerry (phonetic)
   11      Q. Nor are you informed of the results of         11   and several other people on copy. Do you see
   12   the compliance visit, correct?                       12   that?
   13      A. Correct.                                       13      A. Yes, I do.
   14      Q. Nor did you even seek to try to                14      Q. Those are all CVS employees, correct?
   15   determine the results of the DEA compliance          15      A. Yes.
   16   visit, correct?                                      16      Q. And this deals with DEA closing
   17      A. Not that I recall.                             17   remarks relative to the DEA visit back in
   18      Q. Now, these DEA compliance visits don't         18   August of 2013, correct?
   19   occur every year, do they?                           19      A. That's what it says, yes.
   20      A. No. I believe they're random.                  20      Q. And it says -- starts out, "Today, May
   21      Q. The last time the Indianapolis                 21   15, 2014, Dan Gillen, supervisor" -- that's
   22   distribution center had been visited by the          22   DEA supervisor, correct?
   23   DEA for a compliance visit before August 2013        23      A. I believe so.
   24   was three years earlier, in 2010, correct?           24      Q. -- "and Andrew Radcliffe,

                                                  Page 251                                             Page 253
    1              MR. BUSH: Objection.                       1   investigator" -- that's DEA investigator,
    2      A. I don't recall.                                 2   correct?
    3   BY MR. BAKER:                                         3      A. I believe so.
    4      Q. About the time this August 2013 visit           4      Q. -- "came in Indi to do their closing,"
    5   was going on, this is the time that you, as           5   correct?
    6   DEA Compliance Coordinator, was attempting to         6      A. That's what it says, yes.
    7   insert the SOM into the SOP for the first             7      Q. Look down under the area of suspicious
    8   time; is that correct?                                8   order monitoring at the bottom. Would you
    9              MR. BUSH: Objection.                       9   take a look at that?
   10      A. I don't recall.                                10      A. Yes.
   11   BY MR. BAKER:                                        11      Q. Could you highlight that, those two
   12      Q. You don't recall if it was done as             12   bullets, for me, please?
   13   either a tool or a prop? You remember that           13         It says, "Suspicious order monitoring,
   14   e-mail?                                              14   DEA thought this process was not sufficient."
   15      A. I don't recall.                                15          Isn't that correct?
   16      Q. You don't recall whether or not you            16      A. That's what it says.
   17   were attempting to do it to make it look like        17      Q. And this is the suspicious order
   18   it had been in existence and had been used as        18   monitoring process that you put into the SOP
   19   a tool at the time this August 2013 inspection       19   as a written policy beginning 8/25 of 2013,
   20   was going on by the DEA? You don't recall            20   correct?
   21   that?                                                21              MR. BUSH: Objection.
   22              MR. BUSH: Objection.                      22      A. I cannot speak to it that's what
   23      A. No, I don't recall that.                       23   they're referring to, but...
   24   BY MR. BAKER:                                        24   BY MR. BAKER:

   Golkow Litigation Services                                                   Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further65Confidentiality
                                                       of 79. PageID #: 470182
                                                                           Review
                                                  Page 254                                             Page 256
    1      Q. Well, we're talking about a visit in            1      Q. Was your title a tool or a prop?
    2   August of 2013 and we're talking about the SOM        2              MR. BUSH: Objection.
    3   that you put into the SOP -- inserted into the        3      A. It was a tool.
    4   SOP August 25 2013, correct?                          4   BY MR. BAKER:
    5              MR. BUSH: Objection.                       5      Q. And how did you use that tool, as DEA
    6      A. I updated the SOP in 2013.                      6   Compliance Coordinator, to monitor suspicious
    7   BY MR. BAKER:                                         7   orders? How did you personally use that tool
    8      Q. Did you insert the SOM into the SOP             8   to monitor suspicious orders?
    9   August 25, 2013, yes or no?                           9              MR. BUSH: Objection.
   10      A. Yes.                                           10      A. I was not responsible for suspicious
   11              MR. BUSH: Objection.                      11   orders.
   12   BY MR. BAKER:                                        12      Q. So in actuality, calling you DEA
   13      Q. Yes, you did, correct?                         13   Compliance Coordinator was really a prop, was
   14      A. Uh-huh, yes.                                   14   it not?
   15      Q. And it -- what they're saying is that          15      A. No.
   16   the DEA thought this process was not                 16              MR. BUSH: Objection.
   17   sufficient, correct, because they're looking         17      A. It was not.
   18   at it and doing closing remarks many months          18              MR. BUSH: Please give me time
   19   later, in 2014, correct?                             19   to object.
   20      A. Yes.                                           20              THE WITNESS: Sorry, sorry.
   21      Q. Okay. By that time, there's been an            21   BY MR. BAKER:
   22   opportunity to go see whether or not this is a       22      Q. What they said in this document at the
   23   tool or whether or not it is a prop,                 23   bottom -- these are people from CVS -- they
   24   correct?                                             24   said, "Suspicious order monitoring, DEA
                                                Page 255                                               Page 257
    1              MR. BUSH: Objection.                       1   thought this process was not sufficient."
    2      A. I'm sorry, I don't understand your              2   Correct?
    3   question.                                             3      A. That's what it says.
    4   BY MR. BAKER:                                         4      Q. It talks about -- they question --
    5      Q. Do you remember that e-mail about the           5   "There's a question on the number of inventory
    6   tool versus the prop? Do you remember that?           6   that leaves our facility." Correct?
    7      A. Yes.                                            7      A. Yes, that's what it says.
    8      Q. And the context of whether or not this          8      Q. And then on the next page, if you
    9   SOM being inserted into the SOP, as timely as         9   highlight that bullet, it says, "Concerned
   10   it was around the time that this August visit        10   that their office did not receive any
   11   is going on by the DEA, was actually a tool or       11   communication of suspicious ordering in the
   12   a prop? Do you remember that?                        12   last three years." Is that correct?
   13              MR. BUSH: Objection.                      13      A. That's what it says.
   14   BY MR. BAKER:                                        14      Q. Let's move on to the next one please.
   15      Q. Do you remember that e-mail?                   15          Now, you remember in this last exhibit
   16              MR. BUSH: Objection.                      16   I -- No. 103, there were questions on the
   17      A. I don't remember the tool or the prop          17   number of inventory that leaves the facility,
   18   referring to the SOM process. I remember the         18   correct?
   19   tool or the prop as in regards to you saying         19      A. Yes.
   20   my title.                                            20      Q. That would deal with quantity of
   21      Q. That, too.                                     21   narcotic drugs, correct?
   22              MR. BUSH: Objection.                      22      A. I believe that's what they're
   23      A. I don't remember the SOM part.                 23   referring to.
   24   BY MR. BAKER:                                        24      Q. So let's look at that. This is a

   Golkow Litigation Services                                                  Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further66Confidentiality
                                                       of 79. PageID #: 470183
                                                                           Review
                                              Page 258                                            Page 260
    1   document that I'll mark as Exhibit No. 34.        1     A. Yes.
    2                                                     2     Q. If you highlight where it says,
    3          (Exhibit No. 34 marked for                 3   "quantity going out is concerning."
    4   identification.)                                  4         Do you see that sentence where it
    5                                                     5   says, "QTY," which is a abbreviation for
    6   BY MR. BAKER:                                     6   quantity, "going out is concerning"?
    7      Q. It is Bates numbered 10529 through          7         Do you see that?
    8   10532. And these are CVS documents because        8     A. Yes, I do.
    9   they're Bates-stamped as such. You recognize      9     Q. Let's move to the next document.
   10   that, correct?                                   10
   11              MR. BUSH: Recognize what?             11          (Exhibit No. 33 marked for
   12      A. The document or the stamp?                 12   identification.)
   13   BY MR. BAKER:                                    13
   14      Q. The CVS stamp at the bottom?               14   BY MR. BAKER:
   15      A. Yeah. The stamp, yes.                      15      Q. This is Exhibit Number -- give me a
   16      Q. And you know that to mean that these       16   second to find the exhibit number. This will
   17   document were produced to the plaintiffs         17   be Exhibit No. 35 -- I'm sorry, it's going to
   18   counsel during the discovery phase of this       18   be Exhibit No. 33.
   19   cases in response to our request for             19          Are you familiar with the concept of
   20   production? You know that, right?                20   doing physical inventories of narcotic drugs
   21      A. Yes.                                       21   at distribution centers?
   22      Q. So the U.S. Department of Justice, DEA     22      A. Yes, I'm familiar with the concept.
   23   employees, the investigators and supervisor      23      Q. Is that part of what you do?
   24   and diversion investigator who came to the       24      A. Did I do physical inventories? No.
                                              Page 259                                            Page 261
    1   Indianapolis facility, their cards are            1      Q. Is that part of your job, to monitor
    2   attached to that first page of that document,     2   that, as DEA Compliance Coordinator?
    3   correct?                                          3      A. No.
    4      A. Correct.                                    4      Q. If you would go to page 2 of that
    5      Q. And then these are handwritten notes,       5   document, it is -- at the bottom it is Bates
    6   correct?                                          6   number 10558. Could you pull that one up,
    7      A. Correct.                                    7   please?
    8      Q. And it talks about -- this is being         8          So if you look at the inventory of CVS
    9   generated by a CVS employee, correct?             9   Indiana, that's what this is, CVS Indiana,
   10              MR. BUSH: Objection.                  10   LLC. And that's the distribution center that
   11      A. I can't tell from this.                    11   we're talking about that was being
   12              MR. BUSH: What's the date of          12   investigated by the DEA in August of 2013,
   13   this?                                            13   correct?
   14              THE WITNESS: 5/14/14.                 14      A. Yes, correct.
   15              MR. BAKER: 5/14/14, consistent        15      Q. And that's the one that -- in the
   16   with when the closing was done that we           16   closing statements, there was a suggestion
   17   discussed in just the prior e-mail.              17   that there was concern about the quantity of
   18   BY MR. BAKER:                                    18   product leaving that distribution center,
   19      Q. You remember the closing remarks?          19   correct?
   20      A. Yes.                                       20      A. That's --
   21      Q. So I'd like you to look at the last        21              MR. BUSH: Objection.
   22   page of those closing notes where at the top,    22   BY MR. BAKER:
   23   it says, "SOM."                                  23      Q. Yes?
   24         Do you see that?                           24      A. That's what the paper said.

   Golkow Litigation Services                                              Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further67Confidentiality
                                                       of 79. PageID #: 470184
                                                                           Review
                                             Page 262                                             Page 264
    1      Q. Yes. And if you look at this quantity       1   two products on hand in the inventory,
    2   of initial inventory beginning in the upper       2   correct?
    3   right-hand column on 12/31/05 and -- that's       3               MR. BUSH: Objection.
    4   the initial inventory. The ending inventory       4      A. I can't answer that.
    5   is 8/28/06.                                       5   BY MR. BAKER:
    6         Do you see that?                            6      Q. Now, let's fast-forward to 2012.
    7      A. Yes.                                        7          In 2012, if you go to the initial
    8               MR. BUSH: Objection.                  8   inventory, 8/5/12 and then highlight the
    9   BY MR. BAKER:                                     9   inventory 8/5/13 and then you follow those
   10      Q. Do you see that right here?                10   columns down sequentially, if you highlight
   11      A. Yes.                                       11   the numbers below 8/25/12 and highlight the
   12      Q. Yes?                                       12   numbers below 8/5/13, that's the report --
   13      A. Yes.                                       13   this is the physical inventory done at CVS
   14      Q. Okay. It talks about controlled            14   Indiana on those dates, correct?
   15   substances hydrocodone 7.5, 500 milligrams,      15               MR. BUSH: Objection.
   16   then below that is hydrocodone 10, 650           16   BY MR. BAKER:
   17   milligrams, both Schedule III narcotics,         17      Q. Yes?
   18   correct?                                         18      A. Correct.
   19      A. Correct.                                   19      Q. And it talks about hydrocodone 7.5,
   20      Q. And it says that there were 1,920          20   325 milligrams, which is Schedule III, that
   21   bottles of these on hand, 12/31 of '05,          21   this is -- these are 100-count bottles and
   22   correct?                                         22   that -- at the beginning inventory, 8/25/12,
   23               MR. BUSH: Objection.                 23   there's 36,187 whereas at the ending
   24      A. Yes, that's what it says.                  24   inventory, 8/5/13, it's increased to 58,784,
                                             Page 263                                             Page 265
    1   BY MR. BAKER:                                     1   correct?
    2      Q. What does COB stand for?                    2              MR. BUSH: Objection.
    3      A. I don't know.                               3     A. That's what it says.
    4      Q. And then it says 3,735 were all of a        4   BY MR. BAKER:
    5   sudden there on 8/28 of '06, correct?             5     Q. Okay. And then it talks about
    6              MR. BUSH: Objection.                   6   hydrocodone 5, 325 milligrams. The beginning
    7      A. Yes.                                        7   inventory, 8/25/12 is 26,654 and the ending
    8   BY MR. BAKER:                                     8   inventory, 8/5/13, is 101,192 bottles,
    9      Q. So roughly double the inventory is          9   correct?
   10   there at that point, just from the period of     10              MR. BUSH: Objection.
   11   12/31/05 to 8/28/06, correct?                    11     A. That's what it says.
   12              MR. BUSH: Objection.                  12   BY MR. BAKER:
   13      A. Yes.                                       13     Q. Then it talks about hydrocodone 10,
   14   BY MR. BAKER:                                    14   500 milligrams, there were zero bottles of
   15      Q. And then it talks about the tablets        15   that at the beginning inventory, 8/25/12, and
   16   for hydrocodone 10, 650 milligrams, increasing   16   then 8/5 of '13, there's 6,083 bottles,
   17   from 12/31/05, 4,520 bottles to 6,693 bottles,   17   correct?
   18   8/28/06, correct?                                18              MR. BUSH: Objection.
   19              MR. BUSH: Objection.                  19     A. That's what it says.
   20   BY MR. BAKER:                                    20   BY MR. BAKER:
   21      Q. Correct?                                   21     Q. And this is -- this is the same month
   22      A. Yeah.                                      22   that the DEA is paying a visit to the
   23      Q. So between '05 and '06, there's a          23   Indianapolis facility saying that these are
   24   substantial increase in the quantity of those    24   the inventories of these opioids, correct?

   Golkow Litigation Services                                              Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further68Confidentiality
                                                       of 79. PageID #: 470185
                                                                           Review
                                             Page 266                                              Page 268
    1              MR. BUSH: Which is the same            1     Q. Let's move to Exhibit No. 92.
    2   month. There's multiple dates on this.            2
    3   BY MR. BAKER:                                     3         (Exhibit No. 92 marked for
    4      Q. 8/5 of '13 is August of '13 which is        4   identification.)
    5   the same month we've been talking about that      5
    6   the DEA paid Indi a visit, correct?               6   BY MR. BAKER:
    7      A. Yes.                                        7      Q. Exhibit No. 92 is an e-mail dated July
    8      Q. And so this is the same time frame          8   10, 2012 from Pamela Hinkle to Ronald
    9   that we're seeing substantial increases in the    9   McCreery, is that correct? At e-SupplyLink,
   10   inventory of hydrocodone combination products    10   is that correct? With a copy to John Andretti
   11   between August of 2012 and August of '13,        11   and a blind copy to Pamela Hinkle, correct?
   12   according to this document, correct?             12      A. Where are we looking?
   13      A. I can't say it's a substantial             13      Q. Yes, that's the top.
   14   increase.                                        14      A. Not on mine. I don't think I have the
   15      Q. Well, it's -- it's a notable increase,     15   right -- I think I'm missing a page or
   16   is it not?                                       16   something. Is that the right one?
   17      A. It's an increase. I can't say if it's      17               MR. BUSH: Maybe --
   18   substantial.                                     18               MR. BAKER: No, that's the wrong
   19      Q. Well, when you increase from zero of       19   one.
   20   hydrocodone 10, 500 milligrams -- zero bottles   20               MR. BUSH: I've got the second
   21   to 6,083 bottles, that's a substantial           21   copy of what I think you were intending to
   22   increase, is it not?                             22   give her. Do you want to put a mark on it?
   23      A. It may not have been carried in the        23               MR. BAKER: Let me do this. I'm
   24   previous year.                                   24   sorry, let me re-mark it. This is Exhibit 92.
                                             Page 267                                              Page 269
    1      Q. When you increase the hydrocodone 5,        1
    2   325 milligrams, 100-count bottles from 26,654     2   BY MR. BAKER:
    3   in August of 2012 to a count of 101,192           3      Q. If you look at the e-mail at the
    4   bottles in August of 2013, that's a               4   bottom there, it's an e-mail July 10, 2012
    5   substantial increase, is it not?                  5   from John Andretti to Pamela Hinkle,
    6      A. I can't say if it's substantial. I          6   correct?
    7   don't know the factors and how many stores        7      A. Correct.
    8   they're servicing at each time.                   8      Q. All right. It says, "There are 18 CVS
    9      Q. Is this the inventory that was on hand      9   distribution centers. 11 are DEA licensed to
   10   when the DEA paid a visit to Indi -- to the      10   ship controlled substances III through V. CVS
   11   Indianapolis distribution center in August of    11   does not ship Schedule II products," correct?
   12   2013?                                            12   That's what it says?
   13               MR. BUSH: Objection.                 13      A. Correct.
   14      A. I can't speak to that. I wasn't            14      Q. Then if you turn over to the next
   15   there.                                           15   page, under volume of orders, it says, "Volume
   16   BY MR. BAKER:                                    16   of orders, Rx controls, Schedule III through V
   17      Q. The count on that I want to correct        17   and PSE comprises 30,000 to 40,000 line
   18   because I'm looking at the transcript. The       18   items."
   19   count of the bottles from 8/25/12 was 26,654     19         And then it says, "No. 2, front store
   20   bottles, the count on 8/5 of 2013 was 101,192    20   Rx promo, et cetera, total approximately to
   21   bottles; is that correct?                        21   six to eight million records nightly."
   22               MR. BUSH: Objection.                 22         Is that correct?
   23      A. That's what this says.                     23      A. That's what it says, yes.
   24   BY MR. BAKER:                                    24      Q. That's what's going on in the

   Golkow Litigation Services                                               Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further69Confidentiality
                                                       of 79. PageID #: 470186
                                                                           Review
                                                  Page 270                                                Page 272
    1   distribution centers nightly; is that                 1      Q. Then "Rx controls" -- that's drug
    2   correct?                                              2   controls, is that not?
    3              MR. BUSH: Objection.                       3              MR. BUSH: Objection.
    4      A. I can't speak to what this means.               4      A. I -- assuming that's what they're
    5   BY MR. BAKER:                                         5   referring to.
    6      Q. It speaks to the volume of the orders           6   BY MR. BAKER:
    7   that are being processed out of the                   7      Q. Okay. -- "comprises 30 to 40 line
    8   distribution centers for CVS, does it not?            8   items."
    9              MR. BUSH: Objection.                       9         Is that correct?
   10      A. I do not know.                                 10              MR. BUSH: Objection.
   11   BY MR. BAKER:                                        11      A. That's what the e-mail says.
   12      Q. Is there any other context that you            12      Q. That's a very high volume, is it not?
   13   could take that e-mail other than it speaking        13      A. I don't know --
   14   to the volume of orders coming out of CVS            14              MR. BUSH: Objection.
   15   distribution centers?                                15      A. -- what it relates to. I can't answer
   16              MR. BUSH: Objection. She's not            16   that.
   17   even on this e-mail.                                 17   BY MR. BAKER:
   18      A. Yeah, I don't know.                            18      Q. Are you familiar with the concept of
   19   BY MR. BAKER:                                        19   due diligence?
   20      Q. I know you're not on it. But you're            20      A. I've heard due diligence, yes.
   21   the CVS DEA Compliance Coordinator, so I have        21      Q. Do you know what due diligence is in
   22   a right to ask you questions about the               22   the context of implementing an SOM policy?
   23   volume --                                            23      A. I can't say I know off the top of my
   24      A. I don't know what it refers --                 24   head, no.
                                                Page 271                                                    Page 273
    1              MR. BUSH: Wait, wait, wait.                1       Q. As CVS DEA Compliance Coordinator, is
    2   BY MR. BAKER:                                         2   it true that you do not know what due
    3      Q. -- I have the right to ask you                  3   diligence is in the context of implementing an
    4   questions about the volume of product being           4   SOM policy?
    5   slipped out of your distribution centers. You         5       A. I didn't -- did not manage SOMs, so,
    6   understand that, don't you?                           6   no, I don't know.
    7              MR. BUSH: Understand what, that            7       Q. So you don't know what CVS did or
    8   you have the right to ask her the question?           8   failed to do with respect to due diligence
    9              MR. BAKER: Yes.                            9   during the entire time that you were the CVS
   10   BY MR. BAKER:                                        10   DEA Compliance Coordinator, true?
   11      Q. So whether you got the e-mail or not           11       A. I did not manage SOMs, so I do not
   12   is not a valid objection. I'm just asking            12   know what they did.
   13   about your reiteration of the volume that's          13       Q. Okay. Earlier you were asked several
   14   going out of your distribution centers of the        14   questions about whether or not you could audit
   15   company that you work for. Do you understand         15   a system that was not already in place,
   16   that?                                                16   specifically referencing the suspicious order
   17      A. I understand what you're saying.               17   monitoring system that was first put into
   18      Q. Okay.                                          18   the -- that was put into the standard
   19      A. But --                                         19   operating procedure 8/25/10. Do you recall
   20      Q. So what we're talking about is a               20   that line of questions?
   21   volume of orders of approximately six to eight       21               MR. BUSH: I object to that. I
   22   million records nightly; is that correct?            22   don't think that's an accurate account of what
   23              MR. BUSH: Objection.                      23   the questions were, but --
   24      A. That's what this e-mail says.                  24               MR. BAKER: I'll withdraw the

   Golkow Litigation Services                                                    Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further70Confidentiality
                                                       of 79. PageID #: 470187
                                                                           Review
                                             Page 274                                             Page 276
    1   question.                                         1   please? Go to the portion that has
    2   BY MR. BAKER:                                     2   Subparagraph B at the bottom.
    3     Q. Let me show you Exhibit No. 100.             3         Now, you see there where it talks
    4                                                     4   about suspicious order monitoring. It says,
    5          (Exhibit No. 100 marked for                5   "These parameters are documented in SOP," and
    6   identification.)                                  6   then it's blank.
    7                                                     7         And then it says, "Order quantity
    8   BY MR. BAKER:                                     8   parameters for controlled drugs," then it
    9      Q. This is an e-mail by you dated 8/26 of      9   says, "developed and written," correct?
   10   '08. Have you seen this e-mail before?           10      A. That's what it says.
   11      A. I don't recall it.                         11      Q. So there was no SOM to insert into the
   12      Q. Do you recall sending this e-mail?         12   SOP as of 2/20/09. It's because you were
   13      A. I don't recall.                            13   working on it, correct?
   14      Q. Did you send this e-mail?                  14      A. I can't say that I was working on it.
   15      A. This says I did. I don't recall.           15   People were working on it.
   16      Q. Does it look like you sent this            16      Q. Who is "we"?
   17   e-mail? Is that your name, Amy Propatier?        17      A. I said people were working on it.
   18      A. Yes.                                       18               MR. BUSH: Excuse me, I'm just
   19      Q. And is this referencing the final DEA      19   trying to understand the document which
   20   SOP of 2008?                                     20   looks -- I'm not sure I've got what -- this
   21      A. That's what it looks like it's             21   looks like a --
   22   referencing, yes.                                22               THE WITNESS: It's the -- just a
   23      Q. There was no suspicious order              23   portion of the SOP.
   24   monitoring program described in the DEA SOP of   24               MR. BAKER: Correct.
                                             Page 275                                             Page 277
    1   2008, correct?                                    1              MR. BUSH: Right, but the -- I
    2      A. Correct.                                    2   got two pages.
    3      Q. In fact, this e-mail says it doesn't        3              MR. BAKER: Here you go, here,
    4   include SOM, which is suspicious order            4   here. That's what you should be looking at.
    5   monitoring, because we were still working on      5              THE WITNESS: It's just a
    6   that piece, correct?                              6   portion. They just pulled out a page. They
    7      A. That's what it says.                        7   didn't print the full SOP.
    8      Q. Let's move to Exhibit No. 101.              8              MR. BUSH: Why does it have the
    9                                                     9   same Bates number for two different pages
   10          (Exhibit No. 101 marked for               10   though?
   11   identification.)                                 11              MR. BAKER: I do not know.
   12                                                    12              MR. BUSH: 90582, whatever.
   13   BY MR. BAKER:                                    13              MR. BAKER: It's probably a
   14      Q. This is an e-mail dated 2/24/09 from       14   pullout, 90582.
   15   you, Amy Propatier, correct --                   15              MR. BUSH: Okay.
   16      A. Yes.                                       16              MR. BAKER: The Bates number
   17      Q. -- to Laura Miranda; is that correct?      17   90581, 582, and 90620. So there's -- not the
   18      A. She's cc'd on it.                          18   same.
   19      Q. And in that e-mail it says, "Regarding     19               MR. BUSH: Yeah, it's not
   20   the DEA SOP 2/20/09." It says, "Attached         20   sequential. I don't know what's going on, but
   21   is the Rx SOP."                                  21   it's okay.
   22         And you see it is attached, correct?       22              MR. BAKER: It's okay.
   23      A. Correct.                                   23   BY MR. BAKER:
   24      Q. And could you pull up that attachment,     24       Q. So we know that there really is no SOM

   Golkow Litigation Services                                              Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further71Confidentiality
                                                       of 79. PageID #: 470188
                                                                           Review
                                                  Page 278                                              Page 280
    1   to insert into the SOP, 2/20/09, correct?              1      Q. And of course, on the next page, it
    2      A. SOM document.                                    2   says, "We are still in the process of writing
    3      Q. Correct. It's being worked on at that            3   the suspicious order monitoring section of the
    4   time, correct?                                         4   SOP. We will forward it once it is
    5      A. Document, correct.                               5   completed," correct?
    6      Q. Correct?                                         6      A. Yeah, correct.
    7      A. Correct.                                         7      Q. So we know historically now that there
    8      Q. If you go back to 2007, we'll look at            8   was no suspicious order monitoring document
    9   Exhibit No. 99.                                        9   that was inserted into the SOP at 2007,
   10                                                         10   correct?
   11          (Exhibit No. 99 marked for                     11      A. For this SOP, no.
   12   identification.)                                      12      Q. We know, from looking at Exhibit 101
   13                                                         13   that I just showed you, as of 2/24/09, when
   14   BY MR. BAKER:                                         14   there was a DEA SOP dated 2/20/09, that there
   15     Q. This is an e-mail dated November 28,             15   was no suspicious order monitoring document
   16   2007 from Amy Lynn Brown to James Morris,             16   inserted into that SOP either, correct?
   17   correct?                                              17      A. Correct.
   18     A. Yes.                                             18      Q. Because it was being developed and
   19     Q. That's when you were going by the last           19   written, correct?
   20   name Brown before you took the name Propatier,        20      A. The written portion, yes.
   21   correct?                                              21      Q. And we know that -- from the documents
   22     A. Correct.                                         22   presented today that there was no suspicious
   23     Q. And this is regarding the new Rx DEA             23   order monitoring system in a written form put
   24   SOP, correct?                                         24   into the SOP, the standard operating
                                                   Page 279                                             Page 281
    1      A. Yes, correct.                                    1   procedure, until August 25 of 2010, correct?
    2      Q. And the reason it's new is because               2     A. The written portion, right, 2010.
    3   there wasn't one in existence beforehand,              3             MR. BUSH: Do you want a break?
    4   correct?                                               4             THE WITNESS: We can keep
    5      A. This SOP, no.                                    5   going.
    6      Q. And it says that -- at the bottom it             6             MR. BAKER: I'm going to take a
    7   says, from Amy Lynn Brown, Tuesday, November           7   break.
    8   27, 2007. It says, "In late August, we meet            8             THE VIDEOGRAPHER: The time is
    9   to review a new SOP in development for the DEA         9   3:23 p.m. and we're off the record.
   10   and controlled drug process," correct?                10
   11      A. Correct.                                        11            (Recess taken from 3:23 p.m.
   12      Q. This is August of when -- or late               12            to 3:37 p.m.)
   13   August we meet -- should it have said "in late        13
   14   August we met"? Is that what it probably              14             THE VIDEOGRAPHER: The time is
   15   should have said?                                     15   3:37 p.m. and we're on the record.
   16      A. It's probably what it should have               16   BY MR. BAKER:
   17   said.                                                 17      Q. We're back on record. William Baker.
   18      Q. It says, "Not all Rx DCs had a                  18   I'm talking to Amy Propatier.
   19   representative at the meeting, so I'm                 19         Ms. Propatier, I'm going to show you
   20   forwarding a copy for your review. We are             20   what's marked as Exhibit 78.
   21   looking to implement the new SOP in early             21
   22   December."                                            22          (Exhibit No. 78 marked for
   23         That's what it says, correct?                   23   identification.)
   24      A. Correct.                                        24


   Golkow Litigation Services                                                    Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further72Confidentiality
                                                       of 79. PageID #: 470189
                                                                           Review
                                             Page 282                                                 Page 284
    1              MR. BAKER: Excuse me, we're            1   settlement agreement with Long Island?
    2   back on the record. If you all could put your     2             MR. BAKER: I'm sorry, let me
    3   phones on mute, we would appreciate it. Could     3   repeat the question.
    4   you do that, please?                              4   BY MR. BAKER:
    5              MR. BUSH: I have some extra            5      Q. This is Document No. 60839. It's part
    6   documents from you at one point.                  6   of Exhibit 78 composite. It's a settlement
    7         (Pause in proceedings.)                     7   agreement with CVS for violations that
    8              MR. BAKER: Back on the record.         8   occurred in Nassau and Suffolk counties in
    9   BY MR. BAKER:                                     9   Long Island in the State of New York.
   10      Q. Ms. Propatier, I handed you Exhibit        10         Do you see that?
   11   78. This is a settlement agreement.              11             MR. BUSH: Objection. Go ahead.
   12         Have you ever seen this settlement         12      A. Yes, I see it.
   13   agreement before?                                13   BY MR. BAKER:
   14      A. No.                                        14      Q. This resulted in a fine of $1.5
   15      Q. The first one is Bates Number 60805.       15   million to CVS regarding thefts and losses of
   16   Do you see that? It's a settlement agreement     16   controlled substances and, in particular,
   17   with -- in Maryland with a CVS entity that was   17   hydrocodone.
   18   fined $8 million for dispensing drugs with no    18         Are you familiar with this?
   19   valid prescription.                              19      A. No, I am not.
   20         Do you see that?                           20      Q. Were you informed about this
   21              MR. BUSH: Objection.                  21   settlement agreement when it occurred?
   22      A. I don't see where it says that, I'm        22      A. No, I was not.
   23   sorry.                                           23      Q. The date on this settlement agreement,
   24   BY MR. BAKER:                                    24   on Bates No. 60846, is June 15 2018. What was
                                             Page 283                                                   Page 285
    1      Q. Have you ever seen this settlement          1   your position with the company at that point?
    2   agreement before?                                 2      A. I'm sorry, June 15 2018?
    3              MR. BUSH: Objection.                   3      Q. Yes, ma'am.
    4      A. No, I have not.                             4      A. Pharmacy inventory manager.
    5   BY MR. BAKER:                                     5      Q. Did you cease to be CVS DEA Compliance
    6      Q. As CVS DEA Compliance Coordinator,          6   Coordinator?
    7   were you ever told about this settlement          7      A. Yes.
    8   agreement?                                        8      Q. The next agreement is dated 7, August
    9      A. No, I was not.                              9   2015. It's Bates number 60847. Do you see
   10      Q. Okay. Are you familiar with CVS being      10   that?
   11   fined that amount of money, $8 million, for      11      A. Yes.
   12   dispensing controlled substances without a       12      Q. It's a settlement agreement between
   13   valid prescription for legitimate medical        13   CVS and the United States Attorney's Office
   14   purposes?                                        14   for the District of Rhode Island on behalf of
   15              MR. BUSH: Objection.                  15   the United States DEA.
   16      A. No, I am not.                              16         Do you see that in the first
   17   BY MR. BAKER:                                    17   paragraph?
   18      Q. Let me ask you to look at the next         18      A. Oh, all right, sorry. Yes, I see
   19   one. It's Bates number 60839. This is a          19   that.
   20   settlement agreement with Long Island,           20      Q. And this is related to filling
   21   New York.                                        21   prescriptions without a legitimate medical
   22         Have you ever seen this document?          22   purpose on October 2013 through March of 2015
   23      A. No, I have not.                            23   and the Rhode Island CVS pharmacies being
   24              MR. BUSH: You said it's a             24   investigated.

   Golkow Litigation Services                                                Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further73Confidentiality
                                                       of 79. PageID #: 470190
                                                                           Review
                                                  Page 286                                                Page 288
    1          Are you familiar with this?                       1             MR. BUSH: Objection. I think
    2      A. I am not.                                          2   that misstates the dates in the record.
    3      Q. Were you at the time that                          3             MR. BAKER: I think --
    4   investigation was going on, between October of           4             MR. BUSH: I'm looking at the
    5   2013 and March 2015, the CVS DEA Compliance              5   same document you are.
    6   Coordinator?                                             6             MR. BAKER: Let me go back on
    7      A. I left that position in February of                7   record. The objection's well taken.
    8   2014.                                                    8   BY MR. BAKER:
    9      Q. During a portion of the time, were you             9      Q. If you look at Page 2 of the
   10   then CVS DEA Compliance Coordinator at least            10   agreement, Paragraph F, it says, "The United
   11   between October 2013 and the month of '14 that          11   States contends that in early 2012 DEA
   12   this investigation was going on?                        12   Sacramento Field Division noticed an increased
   13      A. Yes.                                              13   number of thefts and unexplained losses of
   14      Q. The violation is -- according to this             14   hydrocodone, a Schedule III controlled
   15   agreement is for filling prescription without           15   substances, at that time reported by numerous
   16   a valid -- without valid DEA numbers                    16   EDCA CVS pharmacy retail stores."
   17   associated with the prescriptions.                      17         Do you see that?
   18          Are you familiar with that?                      18      A. I see that.
   19      A. I am not.                                         19      Q. And do you remember earlier I was
   20      Q. And these were for Class III drugs or             20   showing you a document where 68,000
   21   Schedule III drugs, which are hydrocodone.              21   hydrocodone pills had disappeared?
   22   Did you know that?                                      22         Do you remember that?
   23              MR. BUSH: Objection.                         23      A. I remember that.
   24      A. I did not.                                        24      Q. Here's another example of it occurring
                                                     Page 287                                             Page 289
    1      Q. And the fine was $450,000. Are you                 1   in California, correct?
    2   familiar with that, according to this                    2              MR. BUSH: Objection.
    3   agreement?                                               3   BY MR. BAKER:
    4      A. I am not.                                          4      Q. Is that correct?
    5      Q. The next is a settlement agreement                 5              MR. BUSH: Objection.
    6   Bates 60856. And this is a settlement                    6      A. It's showing a theft.
    7   agreement between CVS and the Eastern District           7   BY MR. BAKER:
    8   of California on behalf of the Drug                      8      Q. Is that diversion?
    9   Enforcement Administration for the United                9              MR. BUSH: Objection.
   10   States of America.                                      10      A. I don't have enough information.
   11         Do you see that in the first paragraph            11   BY MR. BAKER:
   12   there?                                                  12      Q. Okay. If you look at Paragraph G, it
   13      A. Yes.                                              13   says, "United States contends that the
   14      Q. And the document describes the                    14   violations were failure to maintain Schedule
   15   violations as theft and unexplained losses of           15   III to V invoices, failure to maintain
   16   hydrocodone reported by numerous CVS stores in          16   Schedule III to V records separate from
   17   early 2012 in the State of California.                  17   noncontrolled substance record, failure to
   18         Have you ever been informed of this?              18   conduct a biennial inventory on one specific
   19      A. No, not that I recall.                            19   day, failure to maintain complete and accurate
   20      Q. As CVS DEA Compliance Coordinator,                20   records, failure to record the date of
   21   holding that title at the time this settlement          21   acquisition of controlled substances. CVS
   22   agreement was entered into, was this part of            22   failed to record the amount received on
   23   what the CVS DEA Compliance Coordinator would           23   Schedule III to V invoices. CVS failed to
   24   have been responsible for handling?                     24   record the amount received and the date

   Golkow Litigation Services                                                      Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further74Confidentiality
                                                       of 79. PageID #: 470191
                                                                           Review
                                            Page 290                                                    Page 292
    1   received on DEA 222 forms. CVS failed to         1      A. I -- yeah, I see they settled into an
    2   maintain DEA 222 forms and CVS failed to         2   agreement.
    3   maintain DEA 222 forms separate from other       3      Q. The next one is a settlement agreement
    4   records."                                        4   that begins on Bates number 60872. "This is a
    5         Do you see those are the violations        5   settlement agreement entered into between the
    6   recorded?                                        6   United States of America acting through the
    7             MR. BUSH: Excuse me, objection.        7   United States Department of Justice and its
    8   Those are -- this is contentions of the U.S.     8   DEA for the New England Field Division, Boston
    9   BY MR. BAKER:                                    9   Office of Diversion, collectively the United
   10      Q. Do you see those are the contentions      10   States and CVS Pharmacy, Inc., hereafter
   11   within the settlement agreement?                11   referred to as the parties."
   12      A. I see that.                               12         Do you see that?
   13      Q. And do you have any reason to disagree    13      A. I see.
   14   that CVS committed those contentious            14      Q. And it talks about the CVS being a
   15   violations?                                     15   Rhode Island corporation, headquarters located
   16             MR. BUSH: Objection.                  16   in Woonsocket, Rhode Island.
   17      A. Do I have any reason to believe what,     17         Do you see that?
   18   I'm sorry?                                      18      A. Yes, I do.
   19   BY MR. BAKER:                                   19      Q. That's where you work; is that
   20      Q. CVS did not commit those violations       20   right?
   21   within those contentions.                       21      A. It is.
   22      A. I don't know enough about this to         22      Q. Were you not familiar with this
   23   answer that.                                    23   settlement agreement?
   24      Q. Do you see that -- on Page 60859 of       24      A. I don't recall ever seeing this.

                                            Page 291                                                  Page 293
    1   that agreement that CVS was fined $5 million     1      Q. You see that on the terms of the
    2   for those contentions of violations?             2   settlement agreement, on Paragraph 1, it says,
    3              MR. BUSH: Objection.                  3   "No later than ten days after the date on
    4      A. I see a settlement agreement for           4   which this agreement is signed by all parties,
    5   5,000.                                           5   CVS shall pay the United States $3.5 million."
    6      Q. $5 million?                                6           Do you see that?
    7      A. I mean, 5 million.                         7      A. I see that.
    8      Q. It says, "In consideration of the          8      Q. And these were for alleged violations
    9   obligations of the parties set forth in this     9   of the Controlled Substances Act.
   10   settlement agreement, CVS shall pay to the      10          Are you familiar with that?
   11   United States the total sum of $5 million       11              MR. BUSH: Objection.
   12   within fourteen days after the effective date   12      A. Am I familiar with these violations?
   13   of this agreement."                             13   BY MR. BAKER:
   14         Is that what it says?                     14      Q. Yes, ma'am?
   15      A. Yes.                                      15      A. No, I'm not.
   16      Q. So CVS was fined $5 million by the        16      Q. It says here, in Paragraph E, in the
   17   DEA, correct?                                   17   recitals on Page 1, that "United States
   18              MR. BUSH: Objection. Misstates       18   contends that it has certain civil claims
   19   the document.                                   19   against CVS arising from CVS having filled --
   20      A. I don't know if that's a fine.            20   filled the 523 forged opioid prescriptions
   21      Q. CVS entered into settlement agreement     21   listed in Attachment A hereto."
   22   and paid $5 million for contended violations,   22          Do you see that?
   23   correct?                                        23      A. I see that.
   24              MR. BUSH: Objection.                 24      Q. And it says, "The filling of these 523

   Golkow Litigation Services                                               Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further75Confidentiality
                                                       of 79. PageID #: 470192
                                                                           Review
                                             Page 294                                                    Page 296
    1   forged prescriptions is referred to below as      1      A. I do.
    2   the covered conduct."                             2      Q. Now, go to Paragraph 7 on Page 2. It
    3         Do you see that?                            3   says, "The United States contends that it has
    4      A. I see that.                                 4   certain civil claims against CVS for engaging
    5      Q. And that's what CVS was fined $3.5          5   in the following conduct from April 1, 2012 to
    6   million for in this settlement agreement; is      6   July 31, 2012," and then it lists those.
    7   that correct?                                     7          Do you see those?
    8              MR. BUSH: Objection.                   8      A. Yes.
    9      A. I -- I don't know.                          9      Q. The question is: Were you the acting
   10   BY MR. BAKER:                                    10   CVS DEA Compliance Coordinator during the time
   11      Q. That's what CVS --                         11   that these alleged civil claims occurred?
   12              MR. BUSH: Let her finish the          12      A. Yes.
   13   answer, okay.                                    13      Q. It says here -- describes the civil
   14              MR. BAKER: She said she didn't        14   claims. It says "During a DEA investigation
   15   know.                                            15   into the prescription writing practice of
   16   BY MR. BAKER:                                    16   Dr. Pedro Garcia, it was discovered that eight
   17      Q. That's -- that is the contention of        17   separate CVS pharmacies filled 153
   18   violation that resulted in a terms of            18   prescriptions for controlled substances
   19   agreement for CVS to pay $3.5 million to the     19   written by Dr. Garcia during a time period
   20   DEA, correct --                                  20   during which his Texas Department of Public
   21              MR. BUSH: Objection.                  21   Safety Controlled Substances registration was
   22   BY MR. BAKER:                                    22   expired."
   23      Q. -- according to this?                      23         Is that correct? That's what it
   24              MR. BUSH: Objection.                  24   says?

                                             Page 295                                                    Page 297
    1      A. I mean, I'm not really sure what I'm        1      A. That's what it says.
    2   reading, so I can't say.                          2      Q. It says "Specifically the following
    3   BY MR. BAKER:                                     3   CVS pharmacies filled the invalid
    4      Q. Well, the agreement will speak for          4   prescriptions for controlled substances issued
    5   itself, but it does say, "No later than ten       5   by Dr. Garcia: CVS Pharmacy 06989 at 4102
    6   days after the date on which this agreement is    6   Ayers Street, Corpus Christi, Texas, 7841 DEA
    7   signed by all parties, CVS shall pay the          7   registration number," and it gives it; CVS
    8   United States $3.5 million." Does it not say      8   Pharmacy 06911, Corpus Christi, Texas, gives
    9   that?                                             9   DEA registration number; CVS Pharmacy 07004 in
   10      A. It does say that.                          10   Corpus Christi, Texas and it gives its DEA
   11      Q. The next is an agreement stipulated        11   registration; CVS Pharmacy in Portland, Texas
   12   September 2, 2014, between United States of      12   and it gives its DEA registration; CVS
   13   America and the Southern District of Texas       13   pharmacy in Corpus Christi, Texas and it gives
   14   acting on behalf of the DEA.                     14   the DEA registration number; CVS Pharmacy in
   15          Do you see that?                          15   Edinburg, Texas and gives its DEA registration
   16      A. I do.                                      16   number; CVS pharmacy in Corpus Christi, Texas;
   17      Q. And also includes, in the settlement       17   CVS Pharmacy 02580 in Corpus Christi, it gives
   18   agreement, "CVS Pharmacy, Inc., whose            18   its DEA registration number; and CVS Pharmacy
   19   corporate headquarters are in Woonsocket,        19   07080 in Robstown, Texas, giving its CVS
   20   Rhode Island."                                   20   registration number.
   21          Do you see that?                          21         Did you see those listed pharmacies
   22      A. Yes.                                       22   where the alleged violations occurred within
   23      Q. And that's where you work; is that         23   the agreement?
   24   correct?                                         24      A. Yes.

   Golkow Litigation Services                                                Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further76Confidentiality
                                                       of 79. PageID #: 470193
                                                                           Review
                                             Page 298                                                  Page 300
    1      Q. And it says "The above detailed             1             (Recess taken from 3:56 p.m.
    2   actions were in violation of 21 U.S.C. 829 and    2             to 3:57 p.m.)
    3   842, A.1, and the applicable regulations          3
    4   promulgated thereunder," correct?                 4                THE VIDEOGRAPHER: The time
    5              MR. BUSH: You're asking whether        5   is 3:57 p.m. We're on the record.
    6   it says that?                                     6
    7   BY MR. BAKER:                                     7                CROSS-EXAMINATION
    8      Q. Does it say that?                           8   BY MR. GOETZ:
    9      A. I'm sorry, where does --                    9      Q. Good afternoon, Ms. Propatier. I will
   10      Q. It says that "Above detailed actions       10   only be a few minutes. Who is Ron Link?
   11   were in violation of 21 U.S.C, Section 829 and   11      A. Ron Link was the vice president of
   12   842, A.1."                                       12   logistics.
   13         Does it say that?                          13      Q. Pretty high-up individual at CVS?
   14      A. It does say that.                          14      A. Yes.
   15      Q. And under the terms and conditions, it     15      Q. And what is VAWD?
   16   says that -- under Paragraph 13, "CVS will pay   16      A. Verified accredited wholesale
   17   the sum of $1,912,500 to the United States by    17   distributor.
   18   electronic funds transfer pursuant to written    18      Q. And the CVS distribution centers would
   19   instructions provided by the United States,"     19   want to be VAWD certified, correct?
   20   correct?                                         20      A. Correct.
   21      A. It does say that.                          21      Q. And that was a big deal, correct?
   22      Q. Were you informed about this when you      22      A. It was -- it was nice to have.
   23   were CVS DEA Compliance Coordinator?             23      Q. And, in fact, some states, it's
   24      A. No, I was not.                             24   necessary in order to distribute drugs. Are
                                             Page 299                                                    Page 301
    1      Q. Were you informed, while you were CVS       1   you aware of that?
    2   DEA Compliance Coordinator, that there were       2      A. I'm not sure.
    3   violations in the State of Florida alleged by     3      Q. Do you remember, in 2010, when CVS had
    4   the United States DEA through the Department      4   a problem with its VAWD certification?
    5   of Justice against Florida distribution           5      A. I don't recall.
    6   centers related to failure to timely and          6      Q. Do you -- are you aware that VAWD
    7   detect and report suspicious orders?              7   resurveys the facilities every three years?
    8      A. Not that I recall.                          8      A. Yes.
    9      Q. Were you aware that $22 million fine        9      Q. And so if there was a survey in mid to
   10   was issued against CVS for those violations in   10   late 2010, we can assume that the earlier
   11   Florida?                                         11   survey was mid to late 2007, correct?
   12      A. Not that I recall.                         12      A. I would imagine, yes.
   13      Q. Has CVS been guilty of diversion with      13      Q. I'm going to show you what's been
   14   respect to hydrocodone combination products      14   marked as Exhibit 203 and -- 223. And I
   15   during the past six years?                       15   apologize, I only have two copies. I haven't
   16      A. I can't answer that. I don't know.         16   marked it.
   17              MR. BAKER: I'm going to turn it       17
   18   over to my partner and I'm finished with my      18         (Exhibit No. 223 marked for
   19   questions.                                       19   identification.)
   20              THE WITNESS: Thank you.               20
   21              THE VIDEOGRAPHER: The time is         21            VOICE: Is there a Bates number?
   22   3:56 p.m. We're off the record.                  22            MR. GOETZ: There is a Bates
   23                                                    23   number, 66963.
   24                                                    24            VOICE: Thank you.

   Golkow Litigation Services                                                Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further77Confidentiality
                                                       of 79. PageID #: 470194
                                                                           Review
                                                 Page 302                                              Page 304
    1              MR. BUSH: To 66966.                         1   issues that have to be resolved?
    2   BY MR. GOETZ:                                          2      A. Uh-huh.
    3      Q. Are you done reviewing it? Take your             3      Q. Correct?
    4   time.                                                  4      A. Yes.
    5      A. (Witness reviews document.)                      5      Q. And the last e-mail of the string is
    6         Yeah.                                            6   actually from Frank Devlin.
    7      Q. Did you have a chance to review                  7         Do you see that?
    8   that?                                                  8      A. The at the very top?
    9      A. I looked at it, yes.                             9      Q. Yes.
   10      Q. Do you recognize that document?                 10      A. Yes.
   11      A. I don't recall it.                              11      Q. It's to Ron Link, correct?
   12      Q. It's an e-mail that you are copied on,          12      A. Uh-huh, yes.
   13   at least part of the string, correct?                 13      Q. And it says, "VAWD items," correct?
   14      A. Yes.                                            14      A. Yes.
   15      Q. And it's an e-mail related to the VAWD          15      Q. And it has an importance of high?
   16   recertification where CVS was having problems         16      A. Yes.
   17   with VAWD recertification, correct?                   17      Q. And if you're sending something to Ron
   18      A. I don't know if it's problems, but it           18   Link who's high up at CVS, it has to be
   19   talks about, yes, recertification.                    19   important if you're sending it high
   20      Q. Well -- I'm sorry, did I cut you off?           20   importance. Do you agree?
   21      A. No, no, I'm okay.                               21      A. I don't know if I disagree, so.
   22      Q. If you -- let's -- instead of going             22      Q. Did you send much e-mail to Ron Link?
   23   through all three pages, if you --                    23      A. I've sent him e-mails. I can't recall
   24      A. Yeah.                                           24   specifically how many or what they regarded,
                                                   Page 303                                            Page 305
    1      Q. -- look at 66965 --                              1   but I did send him e-mails.
    2      A. Okay.                                            2      Q. It was unusual?
    3      Q. -- there's an e-mail from Paul Hamby.            3      A. I don't know -- I wouldn't say if it
    4   Do you know who Paul Hamby is?                         4   was unusual.
    5      A. I don't recall who he is.                        5      Q. Okay. It says -- this is what Frank
    6      Q. Do you know who Cegedim is?                      6   says: "Ron, we need to get our VAWD
    7      A. I don't think that's how you say it,             7   recertification completed. Amy is continuing
    8   but you've seen the name, yeah.                        8   to run into issues. I have enlisted Buzzeo's
    9      Q. Do you know how to say it?                       9   group to work with her, Frank."
   10      A. I think they say it Cegedim, Cegedim            10         Can you tell me what issues you were
   11   Dendrite.                                             11   running into?
   12      Q. We've been call it CCS because I don't          12      A. I don't recall.
   13   know how to say it.                                   13      Q. Do you remember that a report was
   14      A. Don't worry.                                    14   generated?
   15      Q. It's Paul Hamby to Frank Devlin. And            15      A. I remember they gave, like, a report.
   16   it says, "Hi, Frank. I understand you guys            16      Q. Okay. And do you remember what that
   17   may need some help with NABP/VAWD. I think I          17   report said?
   18   understand from Ron you need assistance with          18      A. I don't recall.
   19   resolving some items to get your VAWD renewals        19
   20   processed."                                           20         (Exhibit No. 224 marked for
   21         Did I read that correctly?                      21   identification.)
   22      A. You did.                                        22
   23      Q. Okay. And so that is the first e-mail           23   BY MR. GOETZ:
   24   in this string that relates to some VAWD              24    Q. I'm going to hand you what has been

   Golkow Litigation Services                                                   Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further78Confidentiality
                                                       of 79. PageID #: 470195
                                                                           Review
                                             Page 306                                              Page 308
    1   marked as Exhibit 224 and it is Bates             1   product, not controlled product there.
    2   number -- begins at 66969. Do you recognize       2      Q. So what is the difference?
    3   that document as the VAWD report?                 3      A. They're nonregulated. They're just
    4      A. Yes. It looks like a VAWD report,           4   regular noncontrolled drugs.
    5   yes.                                              5      Q. I appreciate that. I didn't know
    6      Q. And this is a VAWD report from              6   that.
    7   September 16 of 2010, correct?                    7      A. Yeah, that's -- C6s.
    8      A. Yes.                                        8      Q. Does this at all relate, this
    9      Q. And it relates to different facilities      9   document -- was any of the VAWD certification
   10   -- CVS distribution facilities, correct?         10   related to the controlled substances?
   11      A. I think it relates to Indianapolis,        11              MR. BUSH: You want her to look
   12   but -- it says "Indianapolis" at the top, yes.   12   through the whole document?
   13      Q. And could you go to -- feel free to        13   BY MR. GOETZ:
   14   read the whole thing, if you want. I have        14      Q. Or do you remember?
   15   time.                                            15      A. Do any of their --
   16      A. Where did you want me to go?               16      Q. Yes. Do you remember that?
   17      Q. Could you go to 66972, please? And,        17      A. (Witness reviews document.)
   18   the last block where it says, "reviewer          18      Q. Let me ask you a question.
   19   comments"?                                       19      A. Yes.
   20      A. Yes.                                       20      Q. We can maybe make this quicker.
   21      Q. And those are comments that are            21      A. Yes.
   22   actually made by VAWD, correct?                  22      Q. Is it your understanding that VAWD
   23      A. I don't recall.                            23   requirements would require your SOP to contain
   24      Q. I think if you read the whole              24   a section on prescription products?
                                             Page 307                                              Page 309
    1   structure of this document, that would become     1     A. Yes --
    2   apparent?                                         2     Q. Okay. And --
    3      A. Okay.                                       3     A. -- or its own SOP.
    4      Q. But here's what it says. Could you          4     Q. And was that ever changed?
    5   read that into the record?                        5     A. I don't recall.
    6      A. Starting at the -- that bullet?             6     Q. Was there a separate SOP for
    7      Q. Yeah, where it says "applicant," yes.       7   prescription products ever?
    8      A. "Applicant has provided a response          8     A. I don't remember.
    9   that inventory controls are addressed in drug     9             MR. GOETZ: That is all I have.
   10   enforcement administration SOP, 8/25/10. This    10   Thank you for clearing that up.
   11   is a well-written document, but it does not      11             THE WITNESS: Oh, thank you.
   12   address prescription products for                12             MR. BUSH: Anybody else? All
   13   authentication of order -- suspicious orders,    13   done?
   14   reporting of suspicious orders, losses, record   14             MR. BAKER: I'm done.
   15   retention, and the entire disposal process       15
   16   including documentation and witnessing."         16          (Exhibit No. 62 marked for
   17      Q. And so part of the VAWD problem --         17   identification.)
   18   does this refresh your recollection since you    18
   19   were working on this -- Ron Link, who's high     19             THE VIDEOGRAPHER: The time is
   20   up, was aware of it -- part of the VAWD issue    20   4:07 p.m. This deposition has concluded and
   21   was that their feeling that suspicious and       21   we are off the record.
   22   reporting of suspicious orders were              22
   23   inadequate?                                      23          (Deposition concluded at 4:07 p.m.)
   24      A. They were referring to prescription        24


   Golkow Litigation Services                                               Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-8 Filed:
                               Subject   to 12/19/19
                                             Further79Confidentiality
                                                       of 79. PageID #: 470196
                                                                           Review
                                                             Page 310                                                    Page 312
    1                CERTIFICATION                                       1           CORRECTION PAGE
    2      I, DARLENE M. COPPOLA, a Notary Public, do hereby             2   DEPONENT: AMY PROPATIER
    3   certify that AMY PROPATIER, after having satisfactorily          3   DATE TAKEN: NOVEMBER 29, 2018
    4   identifying herself, came before me on the 29th day of           4   CASE:    NATIONAL PRESCRIPTION OPIATE LITIGATION
    5   November, 2018 in Providence, Rhode Island, Massachusetts,       5   ************************************************
    6   and was by me duly sworn to testify to the truth and             6   PAGE / LINE / SHOULD READ/REASON
    7   nothing but the truth as to her knowledge touching and           7   _____/______/___________________________________
    8   concerning the matters in controversy in this cause; that        8   _____/______/___________________________________
    9   she was thereupon examined upon her oath and said                9   _____/______/___________________________________
   10   examination reduced to writing by me; and that the              10   _____/______/___________________________________
   11   statement is a true record of the testimony given by the        11   _____/______/___________________________________
   12   witness, to the best of my knowledge and ability.               12   _____/______/___________________________________
   13        I further certify that I am not a relative or              13   _____/______/___________________________________
   14   employee of counsel/attorney for any of the parties, nor a      14   _____/______/___________________________________
   15   relative or employee of such parties, nor am I financially      15   _____/______/___________________________________
   16   interested in the outcome of the action.                        16   _____/______/___________________________________
   17      WITNESS MY HAND THIS 2nd day of December, 2018.              17   _____/______/___________________________________
   18                                                                   18   _____/______/___________________________________
   19                                                                   19   _____/______/___________________________________
   20                                                                   20   _____/______/___________________________________
   21   DARLENE M. COPPOLA                    My commission expires:    21   _____/______/___________________________________
   22   NOTARY PUBLIC                 November 11, 2022                 22   _____/______/___________________________________
   23   REGISTERED MERIT REPORTER                                       23   _____/______/___________________________________
   24   CERTIFIED REALTIME REPORTER                                     24   _____/______/___________________________________


                                                             Page 311
    1         IN THE UNITED STATES DISTRICT COURT
    2          FOR THE NORTHERN DISTRICT OF OHIO
    3              EASTERN DIVISION
    4
    5
    6   **********************************
    7   IN RE:
    8   NATIONAL PRESCRIPTION OPIATE
        LITIGATION
    9
        This document relates to:
   10
        All cases
   11
        **********************************
   12
   13        I, AMY PROPATIER, say that I have read the
   14   foregoing deposition and hereby declare under penalty of
   15   perjury the foregoing is true and correct:
   16   (as prepared) (as corrected on errata.)
   17         Executed this ______ day of ____________ 20____,
   18   at ____________, __________________________.
   19
   20
   21
   22          __________________________________
   23             AMY PROPATIER
   24


   Golkow Litigation Services                                                                 Page 79 (310 - 312)
